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 LITE DEPALMA GREENBERG & AFANADOR, LLC
 Bruce D. Greenberg
 570 Broad Street, Suite 1201
 Newark, New Jersey 07102
 Telephone: (973) 623-3000
 Facsimile: (973) 623-0858
 bgreenberg@litedepalma.com

 Liaison Counsel for Lead Plaintiff Diana Deidan

 HAGENS BERMAN SOBOL SHAPIRO LLP
 Reed R. Kathrein (admitted Pro Hac Vice)
 715 Hearst Avenue, Suite 202
 Berkeley, CA 94710
 Telephone: (510) 725-3000
 Facsimile: (510) 725-3001
 reed@hbsslaw.com

 Lead Counsel for Lead Plaintiff Diana Deidan

 [Additional Counsel Appear on Signature Page]

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


  IN RE: RENOVACARE,               Master File No. 2:21-cv-13766(BRM)(ESK)
  INC. SECURITIES
  LITIGATION                       SECOND AMENDED COMPLAINT

                                   CLASS ACTION
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       Lead Plaintiff Diana Deidan (“Lead Plaintiff”), individually and on behalf of

 all others similarly situated, by and through Lead Plaintiff’s attorneys, alleges the

 following upon information and belief, except as to those allegations concerning

 Lead Plaintiff, which are alleged upon personal knowledge. Lead Plaintiff’s

 information and belief is based upon, among other things, the investigation

 conducted by and through Lead Plaintiff’s counsel, which includes without

 limitation: (a) review and analysis of regulatory filings made by RenovaCare, Inc.

 (“RenovaCare” or the “Company”) with the United States (“U.S.”) Securities and

 Exchange Commission (“SEC”); (b) pleadings, papers, investigations, and any

 documents filed, and publicly available, in SEC v. Rayat, et al., No. 1:21-cv-

 04777-LJL (S.D.N.Y.); (c) review and analysis of press releases and media reports

 issued by and disseminated by RenovaCare; (d) news stories, analyst reports, and

 other public information concerning RenovaCare and/or the industry within which

 it operates; (e) information obtained from confidential witnesses; and (f) review of

 other publicly available information concerning RenovaCare.

                        I.     NATURE OF THE ACTION
       1.     This is a federal securities class action on behalf of persons and

 entities that purchased or otherwise acquired RenovaCare securities between

 August 14, 2017, and May 28, 2021, inclusive (the “Class Period”). Lead Plaintiff

 pursues claims against Defendants RenovaCare, Harmel Rayat (“Rayat”), Thomas



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 Bold (“Bold”), Jatinder Bhogal (“Bhogal”), Jeetenderjit Singh Sidhu (“Sidhu”),

 Sharon Fleming (“Fleming”), Capitol Information Group, Inc. d/b/a

 StreetAuthority.com (formerly StreetAuthority, LLC) (“StreetAuthority”), Lou

 Betancourt (“Betancourt”), Treadstone Financial Group Ltd. (“Treadstone Ltd.”),

 Treadstone Financial Group LLC (“Treadstone LLC”), Blackbriar Asset

 Management Ltd. (“Blackbriar Ltd.”), and 1420527 Alberta Ltd. (“Alberta Ltd.”)

 (collectively, “Defendants”) under Sections 9(e), 10(b), 20(a), and 20(b) of the

 Securities Exchange Act of 1934 (the “Exchange Act”), and SEC Rule 10b-5(b)

 and Rule 10b-5(a) and (c) for making false and misleading statements regarding

 RenovaCare’s business, disclosure controls, and procedures in various public

 statements and SEC filings. Specifically, this case concerns a longstanding,

 concealed, and wide-reaching fraudulent stock promotion scheme to increase the

 share price and trading volume of RenovaCare’s common stock that was never

 disclosed to investors.

       2.     RenovaCare is a purported medical and development stage company

 that has not generated any revenue since its inception and has no commercialized

 products. Its activities primarily consist of research and development, business

 development, and capital raises. It owns the CellMist System, which consists of a

 treatment method for cell isolation for the regeneration of human skin cells and

 other tissues (the “CellMist Solution”), and an experimental solution sprayer



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 medical device to deliver healing cells to burn wound treatment areas (the

 “SkinGun”).

       3.      From at least 2007 to 2018, Rayat, a majority and controlling

 shareholder of RenovaCare, set the foundation for and orchestrated the concealed

 scheme along with three long-time friends and business associates—Bhogal,

 Sidhu, and Fleming. This foundation included the arranged sale of below-market

 value RenovaCare stock to certain Defendants associated with Rayat, the

 establishment of an aggressive investor relations program, and the establishment of

 brokerage accounts held by various entities so that RenovaCare’s stock could be

 sold once the Company’s stock price was pumped.

       4.      With this foundation in place, Defendants Fleming, Betancourt, and

 StreetAuthority assisted in the fraudulent scheme by acting as paid RenovaCare

 stock promoters who acted at Rayat’s direction. The scheme was concealed and

 perpetrated through false and misleading disclosures to the market in violation of

 Rule 10b-5(b). Additionally, Defendants Treadstone Ltd., Treadstone LLC,

 Blackbriar Ltd., and Alberta Ltd. were entities controlled by Bhogal and Sidhu and

 assisted in the fraud by transacting in RenovaCare stock once the stock price

 became artificially inflated due to the stock promotion campaign. Bhogal, Sidhu,

 and Fleming also engaged in manipulative trading to maintain RenovaCare's

 artificially inflated stock price in violation of Section 9(e). Ultimately, this



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 coordinated scheme led by Rayat, whereby Defendants acted directly and

 indirectly with each other, caused Defendants Bhogal, Sidhu, and Fleming to be

 illegally enriched with more than $7 million in trading proceeds; caused Rayat’s

 financial interests to be illegally enriched; and caused RenovaCare to pay over

 $90,000 in service fees to Fleming, Betancourt, StreetAuthority,1 and other

 investor relations consultants to execute the concealed stock promotion

 campaign—all without investors’ knowledge and in violation of Rule 10b-5(a) and

 (c), Section 20(a), and Section 20(b).

         5.     When the concealed stock promotion campaign was finally discovered

 in January 2018, the discovery triggered a regulatory investigation, the initiation of

 a pending lawsuit by the SEC, and a downgrade of RenovaCare’s stock by OTC

 Markets Group, Inc. (“OTC Markets”),2 the entity that supervised the exchange on

 which RenovaCare stock was listed, in February 2018, thereby causing harm to

 investors because of a significant drop in RenovaCare’s stock price in reaction to

 these revelations.

         6.     Defendants’ fraudulent scheme, which was essentially a “pump and

 dump” designed to artificially increase the share price and trading volume of



    1
        https://www.streetauthority.com/ (last accessed Nov. 11, 2022).
    2
      OTC Markets Group, Inc. is an American financial market providing price and
 liquidity information for almost 10,000 over-the-counter securities. See
 https://www.otcmarkets.com/index.html (last accessed Nov. 9, 2022).

                                            4
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 RenovaCare stock to permit Defendants to sell shares at an inflated price, involved

 a number of steps, including: (i) accumulating millions of shares of RenovaCare

 stock at below-market prices and distributing them among the Defendants and

 Rayat’s associates; (ii) coordinating the registration of restricted shares for resale

 and depositing them as “free trading” shares in brokerage accounts in the United

 States and Canada; (iii) promoting RenovaCare stock to investors through a paid

 third-party promotional campaign via Defendants StreetAuthority and Betancourt

 while intending to sell and selling the Company’s stock—a practice known as

 “scalping”; (iv) disseminating materially false statements in a Company press

 release and a Form 8-K filed with the SEC, both of which denied any involvement

 in the promotional campaign orchestrated and funded by Defendants RenovaCare,

 Rayat, Bhogal, Sidhu, and Fleming; (v) orchestrating RenovaCare press releases to

 coincide with the third-party promotion; and (vi) manipulative trading across

 multiple accounts to support the share price and trading volume of RenovaCare

 stock while selling over one million of shares to monetize the scheme.

       7.     In organizing and executing this fraudulent scheme, Rayat and his

 associates (Bhogal, Sidhu, and Fleming) were playing a long game that started in

 2007 and lasted until the scheme finally collapsed after the StreetAuthority

 promotional campaign was revealed and OTC Markets downgraded RenovaCare’s

 stock in February 2018.



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       8.     Initially, and no later than 2007, Rayat transferred shares of

 RenovaCare and other penny stocks to Sidhu, Bhogal, and others. Rayat retained a

 financial interest in the shares he transferred—either in the form of debt

 obligations or preferred shares in the entities that received the shares. This allowed

 Rayat to profit from the sale of shares by others during subsequent promotional

 activity for RenovaCare’s stock.

       9.     As part of their long game, Rayat, Bhogal, Sidhu, and Fleming acted

 through and used RenovaCare as a vehicle for fraud, including during the

 StreetAuthority campaign in partnership with Betancourt. Bhogal—Rayat’s friend

 and long-time business associate, and a large shareholder of RenovaCare stock

 who also served as a consultant to the Company—played a central part in creating

 and maintaining RenovaCare’s “investor relations” operation, including

 developing a company website, managing a series of third-party investor relations

 consultants, and managing the timing and content of RenovaCare’s public press

 releases. Sidhu—Rayat’s long-time business associate, and a former member of

 RenovaCare’s board of directors—coordinated the registration and deposit of

 Defendants’ RenovaCare shares. Fleming—a third party investor relations

 consultant to RenovaCare—was an active participant in promoting and facilitating

 the concealment of RenovaCare’s funding of the StreetAuthority promotional

 campaign.



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        10.   No later than 2015, RenovaCare’s investor relations program was in

 place, and Defendants Rayat, Bhogal, Sidhu, and Flemming engaged a series of

 third-party promoters to tout the Company and its common stock in focused

 promotional campaigns intended to increase its stock price and trading volume to

 permit them to profit. This experience would prove useful when RenovaCare

 engaged StreetAuthority in July 2017—the basis of the scheme in this lawsuit.

        11.   Between July 2017 and February 2018, Rayat, unbeknownst to

 investors, arranged, and caused RenovaCare to pay for, a stock promotional

 campaign with StreetAuthority, an online financial publishing and research

 company based in Austin, Texas, that sold subscriptions to its investment research

 bulletins and newsletters.

        12.   Notably, StreetAuthority was co-founded, owned, and operated by

 Betancourt, 3 a long-time friend of Rayat. The secret promotional campaign was

 led by Rayat and was designed to increase RenovaCare’s stock price and trading

 volume.

        13.   Specifically, the promotional campaign focused on RenovaCare stock

 and the Company’s experimental medical device called the “SkinGun.” Each year,

 StreetAuthority built a promotional campaign called the “Predictions Campaign”



    3
      See https://www.loubetancourt.com/about (last accessed Nov. 9, 2022);
 https://www.linkedin.com/in/lou-betancourt-44a7554 (last accessed Nov. 9, 2022).

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 around an annual “Predictions Report” for the next calendar year. After Rayat

 approached StreetAuthority and offered to fund the campaign, RenovaCare and

 another company owned by Rayat, SolarWindow Technologies, Inc., became

 StreetAuthority’s lead “predictions.”

       14.   Rayat was closely involved in directing the promotion, distribution,

 and editing of promotional materials, and arranged to funnel payments to

 StreetAuthority through third-party companies—one being owned by Fleming—to

 conceal RenovaCare’s involvement in the publishing campaign. He organized,

 financed, and directed StreetAuthority’s efforts, which included a steady stream of

 “research” reports, emails, and advertisements that encouraged investors to buy

 RenovaCare stock.

       15.   During this RenovaCare-funded promotional blitz, Bhogal was

 responsible for and worked on several misleading press releases issued by the

 Company that did not disclose the publishing campaign, all while knowing that

 StreetAuthority was promoting RenovaCare. Meanwhile, Fleming was busy

 concealing RenovaCare’s involvement with and funding of StreetAuthority’s

 promotional campaign by acting as an investor relations consultant that prepared

 and routed payments between the Company and StreetAuthority.

       16.    Rayat also knowingly provided materially false information to

 StreetAuthority for use in its promotional campaign aimed at “pumping” the share



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 price and trading volume of RenovaCare stock. This included false “before and

 after” pictures of a burn patient that was treated with a SkinGun prototype.

       17.    In the end, Defendants Rayat, Bhogal, Sidhu, and Fleming sought to

 profit from StreetAuthority’s promotional campaign as they had done in prior

 campaigns. Rayat, Bhogal, Sidhu, and Fleming intended to sell, and all but Rayat

 sold, RenovaCare stock while the StreetAuthority promotional campaign was

 ongoing—the textbook definition of scalping. During this time, Bhogal, Sidhu, and

 Fleming’s RenovaCare stock trading tracked key events in the StreetAuthority

 promotional campaign as well as each other’s trading activity.

       18.    While the Predictions Campaign was active, Bhogal sold millions-of-

 dollars of RenovaCare shares through Defendant Alberta Ltd., a company in which

 Rayat held a substantial financial interest. Later in the scheme, Bhogal also placed

 at least two orders to buy RenovaCare stock that were intended to manipulate the

 market and maintain the Company’s artificially inflated share price.

       19.    Sidhu also sold millions-of-dollars of RenovaCare shares during the

 fraudulent scheme, using multiple brokerage accounts, and engaged in

 manipulative trading to further artificially inflate the market for RenovaCare stock.

       20.    Fleming sold over 50,000 RenovaCare shares during the fraudulent

 scheme, and engaged in manipulative trading to further artificially inflate the

 market for RenovaCare stock.



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        21.    While the scheme was ongoing, Defendants RenovaCare, Rayat,

 Bhogal, Sidhu, and Fleming also took steps to deny and conceal their role in the

 Predictions Campaign when confronted by OTC Markets. On January 8, 2018,

 when OTC Markets requested that RenovaCare explain its relationship to the

 promotional campaign, Rayat, Bhogal, and RenovaCare drafted and issued a press

 release and a Form 8-K that contained material misrepresentations and omissions

 denying and concealing any involvement in the promotion.

        22.    After issuing their January 8, 2018 response to OTC Markets,

 Defendants Rayat, Bhogal, Sidhu, and Fleming—undeterred in their efforts to

 profit from the scheme—continued onward with their promotional campaign;

 heavily traded RenovaCare’s stock in order to profit from the promotion’s positive

 effect on the stock price; and engaged in manipulative trading practices to maintain

 the stock’s artificially inflated price.

        23.    During this time, Bhogal, Sidhu, and Fleming sold millions of shares

 of RenovaCare stock at artificially inflated prices and made over $7 million in ill-

 gotten gains, either directly or through Defendants Treadstone Ltd., Treadstone

 LLC, Blackbriar Ltd., and Alberta Ltd., which were entities they owned and

 controlled and in which Rayat had substantial financial interests. At this point,

 Fleming, Betancourt, StreetAuthority, and other investor relations consultants had

 also been paid over $90,000 by RenovaCare in service fees.



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        24.   On February 23, 2018, Defendants’ scheme came crashing down

 when OTC Markets downgraded RenovaCare’s stock to the OTC Pink Open

 Market Tier and placed a “Caveat Emptor” skull and crossbones label on

 RenovaCare’s company profile due to the ongoing promotional activity. The

 Company’s stock price simultaneously dropped approximately 30 percent, from $9

 per share to $6.28 per share.

        25.   On April 12, 2019, over a year after RenovaCare issued the January 8,

 2018 Press Release denying the statements in OTC Markets’s letter, RenovaCare

 admitted in SEC filings that its disclosure controls and procedures were

 ineffective. However, by this time, the damage had already been done to

 RenovaCare investors; RenovaCare’s stock price had not recovered since the OTC

 Markets downgrade in February 2018 due to the undisclosed stock promotion

 scheme.

        26.   Then, on May 28, 2021, part of the truth was revealed to investors. On

 that day, the SEC issued a litigation release stating that RenovaCare was being

 charged with securities fraud because of the undisclosed promotional campaign.4




    4
       See https://www.sec.gov/litigation/litreleases/2021/lr25102.htm (last accessed
 Nov. 11, 2022);
 https://www.renovacareinc.com/2021/06/renovacare_responds_to_sec_complaint/
 (last accessed Nov. 9, 2022) (describing SEC’s “three-plus years” investigation
 and documents provided to the SEC to date).

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 On this news, the Company’s stock price fell $0.66, or 24.8 percent, over three

 consecutive trading sessions to close at $2.00 per share on June 2, 2021.

       27.    Throughout the Class Period, Defendants made materially false and/or

 misleading statements, as well as failed to disclose material adverse facts about the

 Company’s business, operations, and prospects. Specifically, Defendants failed to

 disclose to investors that: (i) at the direction of Rayat, RenovaCare engaged in a

 promotional campaign to issue misleading statements to artificially inflate the

 Company’s stock price, and RenovaCare, with Rayat, Bhogal, Sidhu, and

 Fleming’s assistance, paid StreetAuthority and Betancourt to publish positive

 reports about the Company during the Class Period; (ii) when OTC Markets

 inquired, RenovaCare, Rayat, and Bhogal issued a materially false and misleading

 press release claiming that no director, officer, or controlling shareholder had any

 involvement in the StreetAuthority promotional materials; (iii) as a result of the

 foregoing, the Company’s disclosure controls and procedures were defective; and

 (iv) as a result of the foregoing, Defendants’ positive statements about the

 Company’s business, operations, and prospects were materially misleading and/or



     Since issuing its litigation release, the SEC filed an initial complaint on May 28,
 2021, conducted factual discovery on the Defendants named herein, and thereafter
 filed an amended complaint on August 30, 2022 (cited herein as the “SEC
 Complaint” or “SEC Compl.”), supporting the allegations herein. See SEC v.
 Rayat, et al., No. 1:21-cv-04777-LJL (S.D.N.Y.), ECF No. 118 (Amended
 Complaint).

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 lacked a reasonable basis. As a result of Defendants’ wrongful acts and omissions,

 and the precipitous decline in the market value of the Company’s securities,

 Defendants were illegally enriched, and Lead Plaintiff and other Class members

 have suffered significant losses and damages. By this action, Lead Plaintiff, on

 behalf of herself and the Class members she seeks to represent, seek to obtain a

 recovery for, inter alia, the substantial losses that she suffered as a result of the

 fraudulent scheme, course of conduct, and actionably false and misleading

 statements and conduct alleged herein, as well as disgorgement by Defendants of

 the massive ill-gotten gains that they reaped in connection with their concealed,

 fraudulent stock promotion campaign, artificial stock inflation, and market

 manipulation activities.

                        II.    JURISDICTION AND VENUE
       28.    The claims asserted herein arise under Sections 9(e), 10(b), 20(a), and

 20(b) of the Exchange Act (15 U.S.C. §§ 78i(a), 78j(b), 78t(a), and 78t(b)) and

 Rule 10b-5(b), and Rule 10b-5(a) and (c) promulgated thereunder by the SEC (17

 C.F.R. § 240.10b-5).

       29.    This Court has jurisdiction over the subject matter of this action

 pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C.

 § 78aa).




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       30.    Venue is proper in this Judicial District pursuant to 28 U.S.C.

 § 1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). The

 Company’s principal executive offices are in this Judicial District. In addition,

 substantial acts in furtherance of the alleged fraud or the effects of the fraud have

 occurred in this Judicial District. Many of the acts charged herein, including the

 dissemination of materially false and/or misleading information, occurred in

 substantial part in this Judicial District. Further, the StreetAuthority promotional

 campaign discussed herein, which included material misrepresentations and

 omissions, was directed at and had a substantial effect on investors, including those

 in this District and throughout the United States.

       31.    In connection with the acts, transactions, and conduct alleged herein,

 Defendants directly and indirectly used the means and instrumentalities of

 interstate commerce, including the U.S. mail, interstate telephone communications,

 and the facilities of a national securities exchange.

                                   III.   PARTIES
 A.    Plaintiffs

       32.    Lead Plaintiff Diana Deidan, as set forth in original certifications filed

 in this matter, incorporated by reference herein, purchased RenovaCare securities

 during the Class Period and suffered damages as a result of the federal securities




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 law violations and false and/or misleading statements and/or material omissions

 alleged herein.

          33.   Named Plaintiff Thomas Agostinelli, as set forth in original

 certifications filed in this matter, purchased RenovaCare securities during the Class

 Period and suffered damages as a result of the federal securities law violations and

 false and/or misleading statements and/or material omissions alleged herein.

          34.   Named Plaintiff Marc Jay Gannon, as set forth in original

 certifications filed in this matter, purchased RenovaCare securities during the Class

 Period and suffered damages as a result of the federal securities law violations and

 false and/or misleading statements and/or material omissions alleged herein.

 B.       Defendants

          35.   Defendant RenovaCare is incorporated under the laws of Nevada with

 its principal executive offices located in Roseland, New Jersey. RenovaCare was

 and is a development stage company with no revenues but claims to be developing

 a “SkinGun” medical device and “CellMist” system for the treatment of skin burns

 through the rapid regeneration of skin cells.5 RenovaCare was originally

 incorporated in Utah on July 14, 1983, as “Far West Gold, Inc.” On May 20, 1999,

 the Company changed its name to “WhatsOnline.Com, Inc.,” and Rayat became,



      5
     https://www.renovacareinc.com/2016/05/video-ultra-gentle-renovacare-
 skingun-sprayer/ (last accessed Nov. 11, 2022).

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 and ever since has been, the company’s majority and controlling shareholder. The

 Company later made several other name changes, until January 7, 2014, when it

 changed its name to RenovaCare and changed its purported business focus to

 medical devices. RenovaCare’s common stock trades on the over-the counter

 market (“OTC”) under the symbol “RCAR.”

        36.   Defendant Rayat, a Canadian citizen residing in Vancouver, British

 Columbia, was the Chairman of the Board of RenovaCare from March 2018 to

 October 2020 and was reappointed to that position in March 2021. Rayat also

 served as the Company’s Chief Executive Officer (“CEO”) from June 2018 to

 November 2019 and was reappointed as CEO in March 2022. He was also

 appointed as President and Chief Financial Officer in March 2022.6 Rayat has been

 the majority and controlling shareholder of RenovaCare, Inc. since at least 1999.

 As of January 1, 2021, Rayat owned 71,101,453 million shares of common stock,

 or approximately 81.3 percent of the company’s outstanding shares of common

 stock, either individually or through his wholly owned family office-holding

 companies, Kalen Capital Corporation and Kalen Capital Holdings LLC.




    6
      See
 https://www.renovacareinc.com/2022/03/renovacare_announces_management_cha
 nges/ (last visited Nov. 9, 2022).

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        37.   Through his family office, Kalen Capital Corporation, Rayat has

 purportedly invested over $20 million in RenovaCare since 2013. In 2000, Rayat

 had settled a case with the SEC in which he was charged with violating Section

 17(b) of the Securities Act. SEC v. EquityAlert.Com, Inc. and Harmel S. Rayat,

 No. cv-00-146 (D. Ariz. Aug. 24, 2000).7

        38.   Defendant Thomas Bold (“Bold”), a citizen of Germany, was the

 Company’s CEO from December 2013 to June 2018, the Company’s President

 from December 2013 to March 2019, and the Company’s interim Chief Financial

 Officer (“CFO”) from September 2016 to October 2018. On March 30, 2019,

 Defendant Bold resigned his position as the Company’s President and as a member

 of the Board. Defendant Bold continued to provide consulting services to the

 Company pursuant to an at-will consulting agreement.8 During the years ended

 December 31, 2017, 2018, and 2019, the Company recognized expenses related to




    7
      See also https://sharesleuth.com/solarwindow-technologies-inc-a-green-
 energy-company-with-multiple-red-flags/ (discussing Rayat’s background in
 founding and controlling several publicly traded companies that lacked adequate
 disclosures surrounding company financials and insider trading and had
 questionable operations; and stating: “We noted the same lack of disclosure at
 RenovaCare, the other company where Rayat is a controlling shareholder.”) (last
 accessed Nov. 9, 2022).
    8
      https://www.sec.gov/Archives/edgar/data/1016708/000147793213005947/
 jani_ex103.htm (last accessed Nov. 9, 2022).

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 Defendant Bold’s consulting services and for his performance as CFO of $378,700,

 $100,000, and $43,000, respectively.

       39.   Defendant Bhogal is a Canadian citizen and resident of Vancouver.

 During the Relevant Period, Bhogal, individually or through companies he owned

 and controlled—including Defendant Alberta Ltd.—owned and controlled millions

 of shares of RenovaCare common stock. He received this stock in transactions

 financed or arranged by Rayat, in exchange for debt or equity obligations to Rayat.

 Bhogal served as a “strategic advisor” to RenovaCare through his wholly owned

 consulting firm Vector Asset Management, Inc. from August 1, 2013, through June

 26, 2018, when he was appointed RenovaCare’s Chief Operating Officer. During

 the Predictions Campaign, Bhogal transacted in RenovaCare shares in furtherance

 of the scheme.

       40.   Defendant Sidhu is a Canadian citizen and resident of Vancouver.

 During the Relevant Period, Sidhu, individually or through companies he owned

 and controlled—including Defendants Blackbriar Ltd., Treadstone Ltd., and

 Treadstone LLC—owned and controlled millions of shares of RenovaCare

 common stock. He received this stock either directly from Rayat, or in transactions

 financed by Rayat, in exchange for debt or equity obligations. Sidhu served on the

 Board of Directors of RenovaCare’s predecessor entity from September 2008




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 through 2010. During the Predictions Campaign, Sidhu transacted in RenovaCare

 shares in furtherance of the scheme.

         41.    Defendant Fleming (a/k/a Sharon Hebgin) is a California resident and

 served as a third-party investor relations consultant to RenovaCare through her

 wholly owned consulting firm Inspiren LLC (“Inspiren”). During the Predictions

 Campaign, Fleming transacted in RenovaCare shares in furtherance of the scheme.

         42.    Defendant Capitol Information Group, Inc. d/b/a StreetAuthority.com

 (formerly StreetAuthority, LLC) was, at all relevant times, an online financial

 publishing and research company based in Austin, Texas, that sold subscriptions to

 its investment research bulletins and newsletters during the time period at issue in

 this Complaint. StreetAuthority was co-founded, owned, and operated at all

 relevant times by Lou Betancourt, a long-time friend of Rayat. In early 2019,

 StreetAuthority was acquired9 by Investing Daily,10 a division of Capitol

 Information Group, Inc. (“CIG”),11 an online and print publishing company serving

 various markets. After the acquisition, StreetAuthority’s domain name




    9
      See https://www.prlog.org/12750823-investing-daily-continues-rapid-growth-
 by-acquiring-10-street-authority-investment-publications.html (last accessed Nov.
 9, 2022).
    10
         https://www.investingdaily.com/ (last accessed Nov. 9, 2022).
    11
         https://www.capinfogroup.com/ (last accessed Nov. 9, 2022).

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 StreetAuthority.com became a division of CIG and began operating as a fictitious

 business name (d/b/a) for CIG.12

         43.    Defendant Lou Betancourt was a co-founder of, and at all relevant

 times, owned, operated, and was a control person of Defendant StreetAuthority.

 Betancourt is a long-time friend of Rayat and, as corroborated by Confidential

 Witness accounts herein, led StreetAuthority’s promotional campaign to pump up

 RenovaCare’s stock price on behalf of RenovaCare and the other Defendants.

         44.    Defendants Rayat and Bold, because of their positions with the

 Company, possessed the power and authority to control the contents of the

 Company’s reports to the SEC, press releases, presentations to securities analysts,

 money and portfolio managers and institutional investors—i.e., the market, as well

 as the reports issued by StreetAuthority promoting RenovaCare. Rayat and Bold

 were provided with copies of the Company’s reports and press releases alleged

 herein to be misleading prior to, or shortly after, their issuance and had the ability

 and opportunity to prevent their issuance or cause them to be corrected. Because of

 their positions and access to material non-public information available to them,

 Rayat and Bold knew that the adverse facts specified herein had not been disclosed

 and were being concealed from the public, and that the positive representations




    12
         https://capinfogroup.com/history/ (last accessed Nov. 9, 2022).

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 which were being made were then materially false and/or misleading. Rayat and

 Bold are liable for the false statements pleaded herein.

          45.   Defendant Treadstone Financial Group Ltd., f/k/a 1422688 Alberta

 Ltd. (“Treadstone Ltd.”) is a Canadian entity nominally owned and controlled by

 Sidhu’s brother. However, Treadstone Ltd. is actually owned, controlled by, and is

 an alter ego of Sidhu, through which he owned shares of RenovaCare common

 stock. During the fraudulent scheme, Sidhu sold certain of these RenovaCare

 shares and then wired the proceeds from an account in the United States to an

 account in Canada, generating ill-gotten gains as to which Treadstone Ltd. has no

 legitimate claim.

          46.   Defendant Treadstone Financial Group LLC (“Treadstone LLC”), a

 subsidiary of Treadstone Ltd., is a Delaware corporation nominally controlled by

 Sidhu’s brother. However, Treadstone LLC is actually owned, controlled by, and is

 an alter ego of Sidhu, through which he owned shares of RenovaCare common

 stock. During the fraudulent scheme, Sidhu transferred certain RenovaCare shares

 from Treadstone Ltd. to an account in the United States in Treadstone LLC’s

 name, sold the shares, and then wired the proceeds to Treadstone Ltd.’s account in

 Canada, generating ill-gotten gains as to which Treadstone LLC has no legitimate

 claim.




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       47.    Defendant Blackbriar Asset Management Ltd., f/k/a Fargo West

 Investments Ltd., (“Blackbriar Ltd.”) is a Canadian entity owned, controlled by,

 and is an alter ego of Sidhu, through which he owned shares of RenovaCare

 common stock. During the fraudulent scheme, Sidhu sold certain of these

 RenovaCare shares through U.S.-based exchanges, generating ill-gotten gains as to

 which Blackbriar Ltd. has no legitimate claim.

       48.    Defendant 1420527 Alberta Ltd. (“Alberta Ltd.”) is a Canadian entity

 owned, controlled by, and is an alter ego of Bhogal, through which he owned

 shares of RenovaCare common stock. During the fraudulent scheme, Bhogal sold

 certain of these RenovaCare shares in an account in Alberta Ltd.’s name through

 U.S.-based exchanges, and then wired the proceeds through U.S.-based financial

 institutions to its account in Canada, generating ill-gotten gains as to which Alberta

 Ltd. has no legitimate claim.

 C.    Other Relevant Individuals and Entities

       49.    SolarWindow Technologies, Inc. is a company that purports to be

 developing windows that generate electricity from solar energy. During the

 relevant period, Rayat was a controlling shareholder of SolarWindow, and Bhogal

 and Sidhu were also substantial shareholders. Bhogal served as a consultant to

 SolarWindow from February 1, 2014, through his company Vector Asset

 Management LLC, and became a Director on August 1, 2017. Sidhu was an



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 employee of SolarWindow before 2010. Fleming was an investor relations

 consultant to SolarWindow during the Predictions Campaign. SolarWindow was

 featured in the Predictions Campaign with RenovaCare based on Rayat’s

 agreement with Betancourt, and similarly paid StreetAuthority through the same

 third-party investor relations consultants such as Fleming.

       50.    Investor Relations Consultant 1 (“IRC 1”), a long-time business

 associate of Rayat, Fleming, and Bhogal, and was a third-party provider of investor

 relations services to Rayat and RenovaCare beginning no later than 2014. He was

 replaced by Fleming to work on the Predictions Campaign around the time it

 began.

       51.    Investor Relations Consultant 2 (“IRC 2”), a long-time friend and

 business associate of both Rayat and Bhogal, and was a third-party provider of

 investor relations services to Rayat and RenovaCare beginning no later than

 December 2017, when he was selected by Rayat and Bhogal to replace Fleming on

 the Predictions Campaign.

       52.    1420527 Alberta LLC (“Alberta LLC”), a subsidiary of Alberta Ltd.,

 was a Delaware corporation owned and controlled by Bhogal. During the

 fraudulent scheme, Bhogal transferred RenovaCare shares between Alberta Ltd.

 and Alberta LLC and sold shares in an account owned by Alberta Ltd.




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       53.     Boston Financial Group Ltd. (“Boston Financial”) is a Canadian entity

 owned and controlled by Bhogal and his wife that received restricted shares of

 RenovaCare common stock from Rayat in exchange for preferred shares in Boston

 Financial.

       54.     Vector Asset Management Ltd. (“Vector”) is a Canadian company

 owned and controlled by Bhogal, through which Bhogal worked as a consultant to

 RenovaCare from August 1, 2013, until June 2018.

       55.     Wolverhampton Holdings LLC (“Wolverhampton”) is a Delaware

 company owned and controlled by Bhogal that purchased shares of RenovaCare

 common stock in June 2013 from a friend of Rayat with the proceeds of a loan

 from Rayat.

       56.     Blackbriar Asset Management LLC (“Blackbriar LLC”), a Delaware

 corporation owned and controlled by Sidhu, was used to open accounts in the

 United States and receive RenovaCare shares from Blackbriar Ltd.

       57.     Collingwood Holdings, LLC (“Collingwood”) is a Delaware company

 owned and controlled by Sidhu that purchased shares of RenovaCare common

 stock in June 2013 from a friend of Rayat with the proceeds of a loan from Rayat.

 During the fraudulent scheme, Sidhu transferred certain of Collingwood’s

 RenovaCare shares into one or more accounts in his own name and sold shares.




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       58.    Kalen Capital Corporation (“Kalen Corp.”) is a Canadian company

 owned and controlled by Rayat and headquartered in Vancouver, British

 Columbia, through which he owns and controls a substantial portion of his

 holdings of RenovaCare and other penny stocks, as well as financial interests with

 Sidhu, Bhogal, and Fleming and entities they owned and controlled. Certain of the

 acts or transactions described here were undertaken by Rayat on behalf of Kalen

 Corp., including one or more attempts to open brokerage accounts to sell

 RenovaCare shares.

       59.    Kalen Capital Holdings LLC (“Kalen LLC”), a subsidiary of Kalen

 Corp., is a U.S.-based company owned and controlled by Rayat. Certain of the acts

 or transactions described here were undertaken by Rayat on behalf of Kalen LLC,

 including one or more attempts to open brokerage accounts to sell RenovaCare

 shares.

                      IV.   BACKGROUND ALLEGATIONS
 A.    Origins of RenovaCare

       60.    RenovaCare was and is a development stage company that has not

 generated any revenue since its inception and has no commercialized products. Its

 activities primarily consist of research and development, business development,

 and capital raises. It owns the CellMist System, which consists of a treatment

 method for cell isolation for the regeneration of human skin cells and other tissues



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 (the “CellMist Solution”), and an experimental solution sprayer medical device to

 deliver regenerative stem cells to burn wound treatment areas (the “SkinGun”).

           61.   RenovaCare was originally incorporated in Utah on July 14, 1983, as

 “Far West Gold, Inc.” On May 20, 1999, the company changed its name to

 “WhatsOnline.Com, Inc.,” and Rayat became, and ever since has been, the

 Company’s majority and controlling shareholder. The Company later made several

 other name changes, until January 7, 2014, when it changed its name to

 RenovaCare. RenovaCare’s common stock trades on the over-the counter (“OTC”)

 market under the symbol “RCAR.”13

 B.        RenovaCare’s Suspicious and Nonperforming Medical Business

           62.   According to investigative reporting website Sharesleuth,

 “RenovaCare [has] limited cash, no revenue, and relatively low spending on

 research and development” and has “stayed alive through infusions from Rayat,

 most recently in 2018, when SEC filings show that he purportedly put $34 million




      13
      During the Class Period, the Company’s stock was a penny stock because it
 did not meet any of the exceptions to the definition of a “penny stock” pursuant to
 Exchange Act Section 3(a)(51), 15 U.S.C. § 78c(a)(51), and Exchange Act Rule
 3a51-1, 17 C.F.R. § 240.3a51-1. SEC Compl. ¶ 18. Until August 3, 2016,
 RenovaCare had securities registered with the SEC pursuant to Exchange Act
 Section 12(g), at which time it filed a Form 15 to terminate the registration.
 Thereafter, RenovaCare continued to regularly file forms with the SEC, including
 Forms 8-K.

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 into [RenovaCare and another company controlled by Rayat, SolarWindow].”14 On

 November 29, 2018, Rayat purportedly invested $15.5 million to fund regulatory

 submissions and clinical trials for the SkinGun.15

          63.      A Seeking Alpha article from TheStreetSweeper in 2018 notes that

 RenovaCare is operated by one full-time employee and three part-time contractors,

 including the Company’s CEO.16 The Company has “[n]o sales; little cash; big

 operating losses; and auditors expressed doubt the company can continue as a

 going concern.”17 The Company’s CellMist system, including the SkinGun, was

 acquired on July 12, 2013, for $400,000.18 CellMist is not FDA-approved for

 human use and remained in the clinical trial stage as of mid-2021.19 Clinical trials

 remain ongoing and were estimated to be completed by November 2022.20



    14
     https://sharesleuth.com/solarwindow-technologies-inc-a-green-energy-
 company-with-multiple-red-flags/ (last accessed Nov. 9, 2022).
    15
        https://www.renovacareinc.com/2018/11/renovacare-chairman-invests-15-
 and-one-half-million-dollars-to-fund-skingun-regulatory-submissions-and-clinical-
 trials/ (last accessed Nov. 9, 2022).
    16
     https://seekingalpha.com/article/4145626-renovacare-many-catalysts-untold-
 downside (last accessed Nov. 9, 2022).
    17
         Id.
    18
         See id.
    19
       Id.; https://www.renovacare
 inc.com/2021/07/renovacare_provides_update_on_clinical_trial_for_the_skingun_
 and_cellmist_system_for_wound_healing/ (last accessed Nov. 9, 2022).
    20
     https://www.clinicaltrials.gov/ct2/show/NCT04890574?term=renovacare&
 draw=2&rank=1 (last accessed Nov. 9, 2022).

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          64.      However, as of March 2022, the Company “is taking steps to

 streamline its clinical, research and development, and administrative operations in

 order to reduce costs.”21 This means that the Company “has suspended patient

 enrollment in its clinical study and plans to reduce its administrative overhead.”22

          65.      Most recently, on March 24, 2022, RenovaCare reported that its then

 current CEO and CFO had resigned, leaving Rayat solely as interim President,

 CEO, CFO, and Secretary.23

          66.      On May 3, 2022, RenovaCare announced the discontinuation of

 research and development of its SkinGun. Specifically, the Company announced

 “the termination of its July 1, 2020 Strategic Research and Development

 Agreement with StemCell Systems GmbH (SCS) and the closure of the

 RenovaCare R&D Innovation Center in Berlin, Germany. This decision ceases on-

 going development of the prototype for the closed, automated Cell Isolation

 Device and the portable, disposable SkinGun™ spray device. Development may

 resume at SCS or other Contract Manufacturing Organizations, upon the



    21

 https://www.renovacareinc.com/2022/03/renovacare_provides_clinical_and_corpo
 rate_update/ (last visited Nov. 9, 2022).
    22
         See id.
    23

 https://www.renovacareinc.com/2022/03/renovacare_announces_management_cha
 nges/ (last visited Nov. 9, 2022).

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 availability of adequate funds.”24 Given that research and development have ceased

 for development of its SkinGun, there is no assurance that the Company’s

 operations or clinical studies will continue or that RenovaCare will remain in

 business.25

    V.     DEFENDANTS’ SCHEME TO MANIPULATE RENOVACARE’S
          STOCK PRICE AND PROFIT THROUGH A CONCEALED STOCK
            PROMOTION CAMPAIGN AND MARKET MANIPULATION


          67.      Defendants’ scheme to manipulate RenovaCare’s stock price through

 a concealed stock promotion campaign with StreetAuthority in violation of Rule

 10b-5(a) and (c) began early on in 2007 and continued until February 2018, though

 the truth of the scheme never fully emerged until the SEC filed its action against

 Defendants in May 2021.

          68.      Prior to RenovaCare’s involvement with StreetAuthority, Defendants

 Rayat, Bhogal, Sidhu, and Fleming had already set an elaborate foundation early

 on to capitalize and execute the scheme so they could ensure that they profited

 once RenovaCare’s stock price was pumped.




    24

 https://www.renovacareinc.com/2022/05/renovacare_announces_termination_of_st
 emcell_systems_research_and_development_agreement/ (last visited Nov. 9,
 2022).
    25
         See id.

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         69.    Once StreetAuthority began promoting RenovaCare’s stock,

 Defendants worked together in a coordinated fashion to pump up RenovaCare’s

 stock price and made materially false and misleading statements about their

 involvement in the stock promotion in violation of Rule 10b-5(b). Defendants

 Bhogal, Sidhu, and Fleming also manipulated RenovaCare’s stock price to

 maintain the pumped price through manipulative trading in violation of Section

 9(e).

         70.    Defendants’ coordinated scheme was non-public and unknown to

 investors. Defendants executed this scheme directly and/or indirectly through each

 other while Rayat and Bold were still in control of RenovaCare and Betancourt

 was in control of StreetAuthority, thereby violating Sections 20(a) and (b).

         71.    Ultimately, Defendants were able to illegally enrich themselves at the

 expense of investors through the scheme and walked away with at least over $7

 million in trading proceeds due to the unlawful artificial inflation of RenovaCare’s

 stock price.

 A.      Defendants Planned Early on for RenovaCare’s Stock Promotion
         Scheme with StreetAuthority by Accumulating RenovaCare Stock at
         Below-Market Prices with the Intention to Later Sell to the Public

         72.    The first part of Defendants’ scheme included the sale of below-

 market price RenovaCare stock to themselves and registering restricted shares so

 that Defendants could later re-sell RenovaCare stock to the public.



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          1.     Between 2007 and 2013, Rayat sold millions of RenovaCare shares
                 to Sidhu and Bhogal, but retained a financial interest.

          73.    Between 2007 and 2013, Rayat sold millions of RenovaCare shares to

 entities owned and controlled by Sidhu and Bhogal, or financed their purchase of

 shares from other business associates. These transactions allowed Bhogal and

 Sidhu to acquire millions of shares of RenovaCare stock for little or no money, and

 in exchange, Rayat received debt or equity interests that permitted him to maintain

 a financial interest in any later sale of these shares:

    Date            Entity         Beneficial    RCAR          Rayat        Rayat Financial
                                    Owner        Shares        Role            Interest
                                                Purchased
   Dec. 31,     Blackbriar, Ltd.   Jeet Sidhu   1,250,000       Sold       Preferred Shares of
    2007         (Defendant)                                   Shares        Blackbriar Ltd.
                                                                             redeemable for
                                                                               $1,062,500
   Dec. 31,     Boston Financial    Jatinder     2,500,000      Sold       Preferred Shares of
    2007          Group Ltd.        Bhogal                     Shares       Boston Financial
                                                                           Group redeemable
                                                                             for $2,215,000
   Sept. 8,       Alberta Ltd.      Jatinder    3,000,00026     Sold       Preferred Shares of
    2008          (Defendant)       Bhogal                     Shares          Alberta Ltd.
                                                                             redeemable for
                                                                               $8,351,000
   Sept. 8,     Treadstone Ltd.    Jeet Sidhu   1,250,00027     Sold            Preferred
    2008         (Defendant)                                   Shares     Shares of Treadstone
                                                                          Ltd. redeemable for
                                                                               $3,741,500
   June 1,      Wolverhampton       Jatinder     822,000      Financed      $425,000 loan at
    2013        Holdings LLC        Bhogal                    Purchase    4.7% annual interest



     26
       Alberta Ltd. also received 2.8 million shares of SolarWindow and shares in
 three other companies in this transaction.
     27
      Treadstone Ltd. also received 1.25 million restricted shares of SolarWindow
 and shares of three other companies in this transaction.

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    Date         Entity      Beneficial     RCAR         Rayat         Rayat Financial
                              Owner         Shares       Role             Interest
                                           Purchased
                                                       from third
                                                          party
   June 1,    Collingwood     Jeet Sidhu   1,962,000    Financed      $1,200,000 loan at
    2013      Holdings LLC                              purchase     4.7% annual interest
                                                       from third
                                                          party

 SEC Compl. ¶ 46.

        74.   Defendants also obtained shares in private transactions with the

 Company. In 2008, for example, Fleming acquired 300,000 RenovaCare shares in

 a private placement. By October 2017, she still owned 153,630 shares of

 RenovaCare. SEC Compl. ¶ 47.

        75.   Rayat also loaned substantial sums to Bhogal and Fleming. In March

 2013, for example, Rayat loaned $548,000 to Vector, the company through which

 Bhogal managed RenovaCare’s investor relations operation. In 2013, Rayat loaned

 Fleming $500,000 to allow her to purchase an interest in a stock promotion

 company. SEC Compl. ¶ 48.

        2.    In anticipation of the Predictions Campaign, Rayat and Sidhu
              orchestrated additional below-market sales of RenovaCare stock.

        76.   In advance of StreetAuthority’s Predictions Campaign, Defendants

 engaged in several transactions that provided them with additional stock at below-

 market prices. On June 28, 2017, for example, Rayat exercised warrants that

 granted Kalen over 114,000 RenovaCare shares at below-market prices. In July



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 2017, Rayat purchased 410,000 RenovaCare shares, and he solicited several

 friends to purchase another 50,250 shares. Sidhu assisted Rayat and RenovaCare in

 completing this private sale of RenovaCare shares, including by coordinating

 documentation of the transactions. SEC Compl. ¶ 49.

       77.    In October 2017, shortly before the Predictions Campaign began,

 Rayat directed RenovaCare to engage in another private sale of shares to Rayat’s

 friends and associates at below-market prices. After another friend decided not to

 invest, Sidhu stepped in and purchased those shares, despite already owning

 millions of RenovaCare shares at a significantly lower cost basis. Sidhu’s

 participation allowed RenovaCare to publicly announce that the offering was fully

 subscribed, and he substantially assisted Rayat and RenovaCare in executing the

 transaction. Among other things, Sidhu worked with Rayat to solicit one of Rayat’s

 friends to invest over $2 million (“Friend A”), and assisted her in completing the

 transaction. Sidhu later assisted Friend A in registering her shares for resale while

 the Predictions Campaign was ongoing. Later, Friend A purchased and sold

 RenovaCare stock on the open market during the promotional campaign. SEC

 Compl. ¶ 50.

       78.    The proceeds of the July and October 2017 financings—funding

 exclusively provided by Rayat and his friends and associates—were the primary




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 source of funds RenovaCare used to pay StreetAuthority for the promotional

 campaign. SEC Compl. ¶ 51.

       3.    Sidhu worked with the other Defendants to open brokerage
             accounts with free-trading RenovaCare shares.

       79.   Beginning no later than 2013, Bhogal, Rayat, Fleming, and Sidhu

 closely coordinated their brokerage accounts. Bhogal and Sidhu had accounts with

 the same U.S. broker-dealer (“Broker-Dealer A”) that held shares of RenovaCare

 and other penny stocks that they both obtained through transactions involving

 Rayat, and Fleming also opened an account with Broker-Dealer A pursuant to

 Rayat’s recommendation. Sidhu, who had online access to Bhogal’s and Rayat’s

 accounts, regularly managed their brokerage accounts. SEC Compl. ¶ 52.

       80.   Sidhu would frequently review Bhogal’s and Rayat’s accounts,

 including their RenovaCare holdings, when he logged into his own accounts. For

 example, on January 23, 2017, Sidhu logged in and viewed all three accounts. SEC

 Compl. ¶ 53.

       81.   In early 2017, Broker-Dealer A closed a number of Sidhu’s and

 Bhogal’s accounts. Sidhu coordinated the transfer of shares between entities to

 prepare the shares for sale at another brokerage. On February 10, 2017, he sent

 instructions to RenovaCare’s transfer agent to move the shares between the various

 entities he and Bhogal controlled as follows: (i) Collingwood shares to Sidhu;

 (ii) Alberta LLC’s shares to Alberta Ltd.; (iii) Wolverhampton shares to Boston


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 Financial; and (iv) Blackbriar Ltd. received shares from Blackbriar LLC. SEC

 Compl. ¶ 54.

       82.    By April 2017, Sidhu and Bhogal were working together to deposit

 RenovaCare shares with another U.S. broker-dealer (“Broker-Dealer B”). Sidhu

 deposited shares from Collingwood into a new account in his name with Broker-

 Dealer B. With Sidhu’s assistance, Bhogal opened an account in Alberta Ltd.’s

 name and deposited shares. SEC Compl. ¶ 55.

       83.    As of April 2017, the RenovaCare shares in both Sidhu’s and

 Bhogal’s Broker- Dealer B accounts were restricted from sale pursuant to the

 Federal securities laws. SEC Compl. ¶ 56.

       84.    By May 2017, in coordination with RenovaCare’s outside counsel and

 a member of the Company’s board of directors (“RenovaCare’s Director”), Bhogal

 and Sidhu asked RenovaCare to register their shares so that they could be sold.

 SEC Compl. ¶ 57.

       85.    On June 6, 2017, RenovaCare amended a Form S-1 Registration

 Statement already pending with the SEC to add Sidhu’s and Bhogal’s shares to the

 list of shares that the company sought to register for resale. The prior version of the

 S-1 had sought to register approximately 2 million RenovaCare shares owned by

 Rayat and other friends and associates. SEC Compl. ¶ 58.




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         86.   As of June 2017, Bhogal owned 5.5 million RenovaCare shares, Sidhu

 owned over 3.3 million RenovaCare shares, and Fleming owned over 100,000

 RenovaCare shares. SEC Compl. ¶ 59.

         87.   On July 5, 2017, the SEC declared RenovaCare’s June 6, 2017 S-1

 effective, which removed any restrictions on the ability of Rayat, Bhogal, Sidhu,

 and other friends and associates of Rayat to sell their shares. SEC Compl. ¶ 60.

         88.   Shortly thereafter, Sidhu contacted Broker-Dealer B to remove the

 restricted legend from his and Bhogal’s RenovaCare shares. On July 17, 2017,

 Sidhu informed Bhogal that both accounts were cleared to sell their RenovaCare

 stock. They would wait to sell, however, until shortly after the Predictions

 Campaign commenced. SEC Compl. ¶ 61.

         4.    With Sidhu’s help, Rayat sought to open accounts with five
               different brokers to sell RenovaCare and SolarWindow shares.

         89.   In anticipation of the Predictions Campaign, Rayat repeatedly tried to

 open brokerage accounts that would allow him to sell his RenovaCare shares.

 Although his efforts were ultimately unsuccessful, they demonstrate Rayat’s

 intention to sell RenovaCare stock during the planned promotional campaign.

 While these efforts were ongoing, he repeatedly asked Sidhu to track his holdings

 and assist him in preparing information needed to open the accounts. SEC Compl.

 ¶ 62.




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       90.   Rayat also coordinated accounts openings with Bhogal and Sidhu. On

 June 6, 2017, Rayat received account opening forms from a foreign financial

 institution. After Rayat forwarded the email to Sidhu, Sidhu replied, “Which entity

 am I filling this out for?” Rayat responded, “[Kalen Capital] for me … and

 whatever company [Bhogal] has his shares in.” SEC Compl. ¶ 63.

       91.   In addition, between August 2017 and November 2017, Rayat had on-

 going discussions with at least four different brokerage firms concerning opening

 accounts. For example, on or around September 1, 2017, while he was in Austin,

 Texas, visiting StreetAuthority to discuss the Predictions Campaign, he discussed

 opening an account with one of these firms. He had previously informed this firm

 he intended to sell 500,000 RenovaCare shares. SEC Compl. ¶ 64.

       92.   Similarly, on October 19, 2017—days before the Predictions

 Campaign began— Rayat told another brokerage firm that he intended to sell 2.5

 million to 5 million RenovaCare shares over the next two years. SEC Compl. ¶ 65.

       93.   By November 2017, however, all four brokerages had either declined

 to open an account or closed the account before Rayat could sell his stock. Thus,

 Rayat was unable to sell his RenovaCare stock during the Predictions Campaign.

 SEC Compl. ¶ 66.

       94.   Nonetheless, Rayat’s beneficial interest in entities owned by Bhogal

 and Sidhu, including several that sold RenovaCare shares during the



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 StreetAuthority promotional campaign, allowed Rayat to profit from the scheme.

 SEC Compl. ¶ 67.

 B.    After Developing an Aggressive Investor Relations Program, Rayat
       Solicited StreetAuthority to Promote RenovaCare While Defendants
       Intended to Sell and Sold

       95.    After accumulating below-market price RenovaCare shares through

 the coordinated related-party transactions described above, the second part of

 Defendants’ scheme was to aggressively promote RenovaCare while intending to

 sell and selling RenovaCare shares, a fraudulent practice referred to as “scalping.”

 SEC Compl. ¶ 68.

       96.    By 2015, Rayat and Bhogal had developed a robust “investor

 relations” operation within RenovaCare that included a company website and a

 steady stream of press releases touting the company’s prospects, despite the

 Company’s lack of revenue or any commercially available product. Rayat and

 Bhogal also hired and worked with a series of third-party investor relations

 consultants, including Fleming, IRC 1, and IRC 2, through whom they

 orchestrated, funded, and directed paid promotional campaigns through third-party

 promoters such as StreetAuthority. SEC Compl. ¶ 68.




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       1.    Bhogal, Rayat, and Sidhu developed an aggressive investor
             relations program that provided the basis for the Predictions
             Campaign with StreetAuthority.

       97.   As of 2013, RenovaCare was known as Janus Resources Inc. and

 purported to be in the business of oil-and-gas production. By the middle of 2013,

 Bhogal and Rayat decided to radically alter RenovaCare’s business plan by

 purchasing the technology related to the SkinGun. SEC Compl. ¶ 69.

       98.   Bhogal received a “finder’s fee” for this transaction, after which he

 shifted his attention to building and managing RenovaCare’s investor relations and

 press relations operations, working as a RenovaCare consultant through Vector, his

 consulting company. He had regular contact with Rayat, IRC 1, Fleming, and

 RenovaCare’s CEO, attended RenovaCare Board meetings, worked closely with

 IRC 1 and others to develop RenovaCare’s website, and directed the timing and

 content of RenovaCare’s press releases. SEC Compl. ¶ 70.

       99.   Fleming was actively involved in promoting RenovaCare beginning

 no later than 2014, working initially through an investor relations company called

 Gold Key Media, and later through her own company, Inspiren, the publisher of

 “The Cheap Investor,” an investor-focused newsletter she purchased in a

 transaction that Rayat financed. On May 11, 2015, for example, Fleming copied

 Rayat and IRC 1 on an email in which she referred to RenovaCare as “the new




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 sponsor” of The Cheap Investor in response to a question regarding approval of an

 “RCAR promo piece” in the newsletter. SEC Compl. ¶ 71.

       100. The Cheap Investor disseminated paid promotions of RenovaCare

 from at least October 2015 to July 2016. During that period, Sidhu, Bhogal, and

 Fleming collectively sold over 600,000 RenovaCare shares. SEC Compl. ¶ 72.

       101. By October 2015, Rayat had worked with Sidhu, Bhogal, Fleming,

 and others to develop RenovaCare’s “investor relations” strategy that would

 temporarily increase the price and trading volume of RenovaCare shares as they

 sold shares. SEC Compl. ¶ 73.

       102. For example, on or around October 9, 2015, Sidhu discussed the

 process with RenovaCare’s CEO, and later forwarded wire instructions to him to

 be used to pay IRC 1 for his investor relations services. SEC Compl. ¶ 74.

       103. As RenovaCare’s CEO explained in an October 9, 2015 email after he

 discussed with Rayat:

             [J]ust talked to Harmel. We will enter an agreement as of
             Sep 1 with [IRC 1] for the entire branding, website, etc.
             activities. He will be on a retainer of $10,000 per month
             …

             In addition we will enter an agreement for investor
             relation activities[.] [T]hese payments we will wire after
             we have the agreement. This will be done by third party
             companies (e.g. thecheapinvestor.com) but will run also
             through [IRC 1’s] company. That will be $60,000
             monthly for about 4 months.



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 SEC Compl. ¶ 75.

       104. The RenovaCare CEO’s mention of “thecheapinvestor.com” refers to

 Fleming’s investor-focused newsletter, and his explanation illustrates Defendants’

 business model—funding a short-term promotional campaign through a third-party

 “investor relations consultant” (at the time, IRC 1) who worked with a third-party

 stock promoter (at the time, Fleming)—an approach that mirrored Defendants’

 scheme two years later involving StreetAuthority. SEC Compl. ¶ 76.

       105. Bhogal was directly involved in directing the timing and content of

 RenovaCare press releases, ensuring that they coincided with third-party

 promotional activity. Bhogal served as RenovaCare’s primary interface with IRC

 1, and he organized weekly conference calls via Skype with RenovaCare’s CEO

 and IRC 1 to discuss RenovaCare’s investor relations program, including building

 content for RenovaCare’s website and to map out RenovaCare’s press releases

 over the ensuing months. SEC Compl. ¶ 77.

       106. In December 2016, for example, Bhogal had numerous contacts with

 IRC 1, RenovaCare’s CEO, and other consultants to plan the content and timing of

 RenovaCare’s press releases and other investor relations activities for the

 following year. SEC Compl. ¶ 78.




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         107. Defendants’ investor relations strategy set the groundwork for Rayat

 to enlist a new third-party stock promoter in 2017—StreetAuthority. SEC Compl.

 ¶ 79.

         2.    In July 2017, Rayat approached StreetAuthority to promote
               RenovaCare.

         108. Prior to the Class Period, on or about July 26, 2017, while he was

 RenovaCare’s controlling shareholder,28 Rayat solicited StreetAuthority for a

 promotional campaign. StreetAuthority, an online financial publisher of investment

 newsletters with a dedicated subscriber base, whose CEO, owner, and operator

 during the Class Period, Lou Betancourt, was a long-time friend of Rayat and a

 RenovaCare shareholder.29 The promotional campaign would include promotions




    28
       By July 2017, Rayat owned approximately 65 percent of RenovaCare’s stock
 (approximately 52 million shares) and was the company’s controlling shareholder.
 As of May 2020, Rayat controlled 75 percent of RenovaCare: https://www.sec.gov/
 Archives/edgar/data/1016708/000117184320003732/f10k_050620.htm#a_025
 (last accessed Nov. 11, 2022). As of December 2020, Rayat controlled 72 percent
 of RenovaCare: https://www.sec.gov/Archives/edgar/data/0001016708/
 000117184321002192/f10k_032321.htm (last accessed Nov. 11, 2022). As of
 January 1, 2021, Rayat owned 71,101,453 million shares of common stock, or 81.3
 percent of the company’s outstanding shares of common stock.
    29
       According to a Seeking Alpha article entitled “RenovaCare: Many Catalysts,
 Untold Downside,” written during the Class Period, Betancourt owned 2,100
 shares of RenovaCare common stock at the time of publication of the Predictions
 Report and promotional campaign discussed herein. See https://seekingalpha.com/
 article/4145626-renovacare-many-catalysts-untold-downside (last accessed Nov. 9,
 2022).

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 for RenovaCare and another company that Rayat controlled, SolarWindow.30 SEC

 Compl. ¶ 80.

         109. That day, Rayat spoke to Betancourt on the phone, and later emailed

 marketing materials related to SolarWindow and RenovaCare’s SkinGun to

 Betancourt. Rayat was interested in the promotion because he wanted to increase

 RenovaCare’s stock price and trading volume, which would benefit him and his

 close associates who owned the Company’s stock. See SEC Compl. ¶¶ 80-81.




    30
       Rayat acted as Chairman of the Board of Directors of SolarWindow. This
 company’s stock is quoted on the OTC Markets (OTC ticker symbol: WNDW) and
 purports to be developing and marketing windows for residential and commercial
 buildings that generate electricity from solar energy. During the Class Period,
 Rayat was a controlling shareholder of this company, and Bhogal and Sidhu were
 also substantial shareholders. See https://www.solar
 window.com/2018/03/solarwindow-board-directors-elects-majority-stockholder-
 harmel-s-rayat-chairman/ and https://www.businesswire.com/news/home/
 20180315005583/en/SolarWindow-Board-of-Directors-Elects-Majority-
 Stockholder-Harmel-S.-Rayat-as-Chairman (discussing Rayat’s appointment as
 Chairman of the Board and longtime involvement in the company) (last accessed
 Nov. 9, 2022); https://sharesleuth.com/solarwindow-technologies-inc-a-green-
 energy-company-with-multiple-red-flags/ (discussing, in relevant part, Rayat’s
 ownership of SolarWindow and RenovaCare) (last accessed Nov. 9, 2022).
    It is also believed that Bhogal served as a consultant to SolarWindow from
 February 1, 2014, through his company Vector Asset Management LLC, and
 became a Director on August 1, 2017. Sidhu was an employee of SolarWindow
 before 2010. Fleming was an investor relations consultant to SolarWindow during
 the Predictions Campaign. SolarWindow was featured in the Predictions Campaign
 with RenovaCare based on Rayat’s agreement, and similarly paid StreetAuthority
 through the same third-party investor relations consultants, including Fleming.

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         110. On July 28, 2017, Betancourt suggested to Rayat that StreetAuthority

 feature RenovaCare and SolarWind in StreetAuthority’s annual “Predictions

 Report.” Betancourt noted that this could “create awareness of both companies”

 and persuade StreetAuthority subscribers to invest in RenovaCare and SolarWind.

 Betancourt further stated that StreetAuthority was interested in “partnering up”

 with Rayat to advertise on various online media platforms. Betancourt proposed

 that RenovaCare and SolarWind each pay StreetAuthority $50,000 per month to

 fund the planned promotional campaign, and Rayat agreed by stating it was a

 “great idea,” and then arranged to discuss the proposal in more detail. SEC Compl.

 ¶ 81.

         111. On August 1, 2017, in an email to StreetAuthority employees after

 Rayat’s call with StreetAuthority representatives, a colleague at StreetAuthority

 wrote Betancourt:

               I want to pursue a marketing partnership with
               Harmel/[IRC 1] for this promotion. We will disseminate
               this promotion to all our lists, but for it to have the kind of
               impact we all want, we’re going to need to rent outside
               lists and promote it on Google/YahooFinance/etc.

 SEC Compl. ¶ 82.

         112. In reply, Betancourt agreed, and noted that “Harmel initially called me

 about advertising and promoting his companies.” SEC Compl. ¶ 83.




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         113. Between July 28 and August 31, 2017, Rayat discussed the details of

 the promotional campaign with StreetAuthority representatives on several

 occasions, including an in-person meeting at StreetAuthority’s headquarters in

 Austin, Texas, in late August 2017. SEC Compl. ¶ 84.

         114. On September 4, 2017, shortly after Rayat’s trip to StreetAuthority’s

 headquarters in Austin, Texas, Betancourt emailed Rayat to confirm that

 “StreetAuthority will be featuring both [RenovaCare and SolarWind] in its annual

 ‘Predictions’ report and promotions for Game-Changing Stocks,” one of

 StreetAuthority’s investor-focused newsletters. RenovaCare and SolarWind would

 be StreetAuthority’s lead “predictions.” Betancourt also asked if Rayat was

 “interested in exploring and participating in this marketing program”—referred to

 within Street Authority as the “Predictions Campaign”—which could include

 “developing native ads that can run within Google, Yahoo Gemini, Taboola,

 Dianomi, Outbrain and other Content Display Networks.” These advertising

 platforms later became the subject of focused discussions with Rayat. SEC Compl.

 ¶ 86.

         115. Later that day, Rayat responded:

               [N]othing would make me happier than working with
               [StreetAuthority] in spreading the word to investors and
               dramatically improving [RenovaCare’s and SolarWind’s]
               awareness in the investment community, which I
               wholeheartedly believe will help [RenovaCare and
               SolarWind] raise additional capital and get senior

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              listings, which in turn will allow institutional investors to
              jump in.”

              So, and as it relates to 1) being featured in the annual
              ‘Predictions’ report, 2) participating in marketing
              programs, 3) developing research reports and 4) being
              featured in Game-Changing Stocks and StreetAuthority
              Daily, please know that I am very interested in exploring
              how we can work together.

 See SEC Compl. ¶ 87.

       116. After expressing his interest to Betancourt in participating in all of the

 key elements of what would regularly be referred to as the Predictions Campaign,

 Rayat suggested they speak the next day. SEC Compl. ¶ 88.

       3.     Confidential Witness accounts corroborate Rayat and
              RenovaCare’s solicitation of StreetAuthority and involvement in
              creating and paying for the Predictions Report.

       117. Significantly, Confidential Witnesses corroborate Rayat and

 RenovaCare’s involvement in the StreetAuthority promotional campaign.

       118. Confidential Witness (“CW”) 1, a former Marketing Assistant and

 Advertising Coordinator who worked in StreetAuthority’s Austin, Texas,

 headquarters from September 2016 to February 2018 and reported to

 StreetAuthority’s Marketing Manager, who in turn reported to Betancourt,

 described Street Authority’s Predictions Report as a report that featured the “big

 hitters.” According to CW 1 the report “typically … had different levels where you

 could pay for these packages and it would tell you what the best stocks to invest in

 are, and there were a couple differently priced ones.” CW 1 further stated that such

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 reports ran “maybe twice a year” and were designed to feature the “big hitters.”

 CW 1 stated that companies could pay to be featured in the Predictions Report.

       119. CW 1 corroborated the existence of RenovaCare’s promotional

 campaign and stated that CW 1 learned about StreetAuthority’s promotional

 campaign with RenovaCare during a meeting toward the end of CW 1’s tenure

 with StreetAuthority: “I think it was around the holidays [in 2017] when they

 talked about it or shortly after[.]” When asked about Betancourt’s involvement,

 CW 1 stated that Betancourt attended StreetAuthority’s weekly managers’

 meetings (attended by managers from editorial, marketing, and advertising) and

 that staff “would have to run everything by him.”

       120. CW 2, a former Graphic Designer who worked at StreetAuthority in

 the company’s headquarters from April 2016 to 2019 and was responsible for

 building most of the graphics supplied by StreetAuthority’s editorial team and

 updating StreetAuthority’s website, also corroborated the existence of

 StreetAuthority’s Predictions Report promotional campaign with RenovaCare.

 CW 2 stated that CW 2 remembered StreetAuthority’s promotional campaign with

 RenovaCare for its SkinGun product, including the before-and-after photos of a

 patient who purportedly recovered from severe burns in just a few days after using

 the SkinGun.




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       121. CW 2 stated that CW 2 received the before-and-after photos from

 StreetAuthority's editorial team and posted them to the company’s website: “I …

 remember working on some graphics for that,” continuing, “That’s basically the

 content I was provided. [I was] the graphic designer [and was told], ‘We want to

 use these pictures to be on the site.’ … I do remember some of that stuff … I do

 remember the company providing those graphics to be added to the site…. They

 were some before-and-after pictures…. I believe it was like an infomercial, before-

 and-after kind of thing.” CW 2 continued that CW 2 would have received the

 before-and-after pictures from CW 2’s supervisors on StreetAuthority’s editorial

 team. Recalling directives from supervisors, CW 2 remembered supervisors

 stating, “‘OK, here’s some pictures that you need to post.’” CW 2 said the before-

 and-after photos were likely sent directly to StreetAuthority from RenovaCare or

 taken from RenovaCare’s website. CW 2 also said there was no discussion within

 StreetAuthority about the validity of the RenovaCare before-and-after photos.

 Instead, CW 2 commented, “Sometimes when we work under pressure, we just

 post the pictures. There was never any kind of meetings or any kind of discussion

 about where these pictures came from. They provided me them, and my job as a

 graphic designer was to post them.”




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       122. CW 2 also posted substantive content about RenovaCare to

 StreetAuthority’s website, including text that was sent to CW 2 in a Microsoft

 Word document.

       123. Additionally, CW 3, a former Marketing Manager who worked at

 StreetAuthority from October 2016 to February 2020, also corroborated the

 existence of and RenovaCare’s payment for the promotional campaign. CW 3

 worked in the company’s Austin, Texas, headquarters and was responsible for

 managing the production of new and existing products; tracking analytics and

 performance; writing and managing marketing emails; and editing daily web

 marketing content. CW 3 remembered seeing the before-and-after photos of a

 patient who purportedly recovered from severe burns in just a few days after using

 RenovaCare’s SkinGun.

       124. When asked about the promotional campaign, CW 3 said CW 3 likely

 first learned about the RenovaCare promotional campaign in fall 2017 or possibly

 even earlier: “They got started on that one [(the Predictions Report)] pretty early

 because that one is a bit more involved and required more writeups.”

 Corroborating CW 1, CW 3 said CW 3 would have learned about the promotional

 campaign about three months prior to the writing and release of the Predictions

 Report, likely during a meeting that included CEO Lou Betancourt: “We would

 have been talking about the writing of the predictions and talking about the stocks



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 themselves. We had a thing where we would go through all of them and look at

 them. [The report] was usually written and finished and proofread by the middle of

 November, and then [we] started promoting it immediately for Black Friday or

 Cyber Monday.”

       125. CW 3 further recalled StreetAuthority publishing the RenovaCare

 Predictions Report in StreetAuthority’s Top Stock Advisors. CW 3 stated, “One of

 the primary forms of advertising or getting people to sign up for products was to do

 longform copy on various stocks…. RenovaCare was, if I remember correctly, in

 our [2018] Predictions Report. We all thought it was really cool – because

 conceptionally it is very cool…. [RenovaCare] sent us promotional materials, and

 then we just incorporated that into our [2018] Predictions Report. And then we

 promoted that for maybe six months.”

       126. CW 3 further stated that RenovaCare also sent StreetAuthority some

 research related to its SkinGun. Additionally, CW 3 was “90% sure” that

 StreetAuthority’s promotional campaign for RenovaCare was limited to the

 Predictions Report. CW 3 continued that there were no questions or issues raised

 about the validity of the before-and-after photos or any other materials about

 RenovaCare.

       127. Additionally, CW 3 recalled that StreetAuthority simultaneously ran a

 promotional campaign for another company controlled by RenovaCare CEO



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 Harmel Rayat called SolarWindow Technologies,31 and that SolarWindow was

 promoted as a “top stock.” CW 3 commented that the Predictions Report articles

 on featured stocks like RenovaCare were typically about four pages of text and the

 2018 Predictions Report featured RenovaCare, SolarWindow Technologies, and 11

 other stocks.

         128. Of the stocks featured in StreetAuthority’s Predictions Reports, CW 3

 could not recall StreetAuthority receiving payments from any companies other

 than from RenovaCare and SolarWindow. CW 3 further stated that

 StreetAuthority’s work featuring RenovaCare and SolarWindow in its Predictions

 Report was “basically identical to any other stock that … our analysts would pick

 out and promote … other than we were being paid some commission or whatever

 to do so.” (Emphasis added.)

         129. When asked specifically about Rayat’s involvement in the

 promotional campaign, CW 3 stated that StreetAuthority CEO Betancourt referred

 to Rayat during meetings: “We all knew who Harmel [Rayat] was. I think Harmel

 asked Lou or invited Lou to do a paid placement … I knew that they were friends

 prior to that. Lou was like, ‘Yeah, Harmel has these companies, and we really




    31
     See supra n.30 above (describing Rayat’s involvement in SolarWindow
 Technologies and RenovaCare).

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 like them, so we’re going got put them in the Predictions Report.’” (Emphasis

 added.)

       130. When asked about the impact of the promotional campaign, CW 3

 stated, “In theory, all paid placements [with StreetAuthority] – they did have

 significant positive effect on [companies’] trading.”

       4.     Unbeknownst to investors, Rayat was closely involved in
              managing development and execution of the promotional
              campaign.

       131. Between July and October 2017, Defendants RenovaCare, Rayat,

 Bhogal, Sidhu, and Fleming worked closely with StreetAuthority representatives to

 create promotional materials to be used in the Predictions Campaign. SEC Compl.

 ¶ 89. However, Defendants’ role and involvement in the promotional campaign

 was never disclosed to investors until after OTC Markets issued its letter and the

 end of the Class Period.

       132.   Specifically, Rayat provided StreetAuthority with extensive

 information on RenovaCare and the purported efficacy of the “SkinGun,” the

 Company’s experimental medical device. SEC Compl. ¶ 89. Rayat actively worked

 with StreetAuthority to create StreetAuthority’s promotional materials, including

 the Predictions Report.

       133. Moreover, Rayat had frequent contact with StreetAuthority and

 RenovaCare employees and consultants in the United States, over the phone,



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 email, and other interstate means in furtherance of StreetAuthority’s promotion.

 Rayat discussed the details of the promotion with StreetAuthority representatives

 on several occasions, including an in-person meeting at StreetAuthority’s

 headquarters in Austin, Texas, in late August 2017. SEC Compl. ¶ 84.

       134. Additionally, RenovaCare’s website and press releases, all of which

 were developed under Bhogal’s supervision, were the primary source of

 promotional content used for the StreetAuthority promotion. SEC Compl. ¶ 90.

       135. The planning and discussions between Rayat and StreetAuthority

 about RenovaCare’s promotional campaign continued into October 2017. By at

 least September 2017, StreetAuthority began drafting materials for its paid

 promotion of RenovaCare. All or most of the information used in promotional

 materials during the campaign was provided to StreetAuthority by Rayat in emails,

 attachments, or links to RenovaCare’s website or third-party websites. Virtually all

 of this information came from RenovaCare’s investor relations program, which

 was managed by Rayat and Bhogal through IRC 1, who later worked with

 StreetAuthority. SEC Compl. ¶ 91.

       136. After working closely with Defendants Rayat, Bhogal, Sidhu, and

 Fleming, StreetAuthority publicly launched the Predictions Campaign on or about

 October 24, 2017. Rayat reviewed and commented on draft promotional materials,




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 including the Predictions Report that was the heart of the campaign, prior to their

 release. SEC Compl. ¶ 92.

       137. After the Predictions Campaign launched in late October 2017, Rayat

 received reports from StreetAuthority regarding the campaign’s performance, and

 weighed in on advertising content and “placements.” He also stopped and started

 the advertising “spend” for the campaign based on external events, including the

 OTC Markets inquiry described in detail below. SEC Compl. ¶ 93.

       138. Notably, in terms of the advertising “spend,” Rayat arranged for

 RenovaCare and SolarWindow to each pay StreetAuthority $50,000 per month for

 the promotional campaign and, as will be discussed further in section V.D. below,

 arranged for the payment to be made through third-party companies for the

 fraudulent purpose of concealing Rayat’s and the RenovaCare’s involvement.

       139. From October 2017 until at least January 2018, StreetAuthority

 actively disseminated its RenovaCare promotional materials on the internet and to

 its subscriber base. SEC Compl. ¶ 94.

       140. Throughout the campaign, Rayat continued to be closely involved in

 the drafting, distribution, and dissemination of StreetAuthority’s promotional

 materials. SEC Compl. ¶ 94. For example, on or around November 28, 2017, Rayat

 traveled to StreetAuthority headquarters in Austin, Texas, to meet with Betancourt

 and his staff, including the copy writer for the Predictions Campaign. The next



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 day, having had a chance to reflect on their discussion and “examine the results of

 the last 30 plus days” that they provided, Rayat gave StreetAuthority a series of

 explicit instructions:

              1.     Focus on Gemini [an online advertising platform];

              2.     Have separate single company ads and landers, so
                     that one single company is the focus of the report
                     … I think this will definitely have more impact;

              3.     A few days later, a special report goes out on the
                     other company so that we get another chance at the
                     investor

 SEC Compl. ¶ 95.

       141. Rayat then suggested that if the copywriter “can get the copy tweaked

 right away, we can start this new strategy sooner than later.” SEC Compl. ¶ 96.

       142. Rayat explicitly linked his “suggestions” to future payments to

 StreetAuthority, stating that “we have to show meaningful results to the CEOs [of

 RenovaCare and SolarWindow], who need to make another transfer shortly,”

 referring to the next $50,000 monthly payments to StreetAuthority from

 RenovaCare and SolarWindow. SEC Compl. ¶ 97.

       143. On or around December 4, 2017, a StreetAuthority employee sent

 Rayat a text message attaching a draft version of the “separate single company ads

 and landers” he had requested that related to the Predictions Campaign. SEC

 Compl. ¶ 98.



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          144. On or around December 5, 2017, Rayat had another telephone

 conference call with StreetAuthority representatives. After that call, the

 StreetAuthority employee informed Rayat that “we’re ready to launch on ad

 networks whenever we’re given the green light.” The next day, Rayat responded

 and approved the decision to restart the advertising campaign: “I say we start up

 the machinery :).” SEC Compl. ¶ 99.

          145. On numerous other occasions, including on or around December 20,

 2017, Rayat asked StreetAuthority employees to report on the performance of the

 Predictions Campaign, and weighed in on how they should proceed. SEC Compl.

 ¶ 100.

          146. Ultimately, without disclosing RenovaCare or Rayat’s involvement,

 StreetAuthority disseminated the promotional materials in emails to its subscriber

 base, as well as on the internet more broadly in banner advertisements on search

 engines, social media sites, and other internet platforms.

          147. Defendants also knew, or were reckless in not knowing, that it was

 unlawful to promote RenovaCare stock while they intended to sell RenovaCare

 stock without disclosing this fact to investors. For example, as a recidivist

 securities law violator, Rayat was well aware of the rules surrounding stock

 promotion. Significantly, in 2000, Rayat had settled a case with the Securities and

 Exchange Commission in which he was charged with violating Section 17(b) of



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 the Securities Act for failing to disclose compensation received relating to a stock

 promotion. SEC v. EquityAlert.Com, Inc. and Harmel S. Rayat, No. cv-00-146 (D.

 Ariz. Aug. 24, 2000). SEC Compl. ¶ 105.32

          148. Nonetheless, Defendants schemed to defraud investors by

 orchestrating and financing a promotion through StreetAuthority without

 disclosing their intent to sell, and later, their orchestrated sales of RenovaCare

 stock.

          5.    Notwithstanding RenovaCare and Rayat’s nondisclosure,
                StreetAuthority and Betancourt had a duty to disclose the paid
                RenovaCare stock promotional campaign but did not.

          149. Section 17(b) of the Securities Act imposes a duty to disclose that a

 stock promoter received consideration for promoting a company’s securities. 15

 U.S.C. §77q(b). Section 17(b) provides that:

                It shall be unlawful for any person, by the use any means
                or instruments of transportation or communication in
                interstate commerce or by the use of the mails, to publish,
                give publicly to, or circulate any notice, circular,
                advertisement, newspaper, article, letter, investment

    32
       Rayat was previously chairman of EquityAlert.com, a financial information
 website in the late 1990s/early 2000s. EquityAlert.com was involved in an
 unlawful stock promoter scheme similar to the instant case. There, Rayat acted as
 the promoter company (similar to StreetAuthority here) to promote small cap
 companies’ stocks with the intention to capitalize on the promotion by selling
 unregistered securities given to EquityAlert.com by the promoted companies when
 the stock price rose. See https://www.sec.gov/litigation/admin/33-8306.htm (last
 accessed Nov. 9, 2022); https://www.wsj.com/articles/SB937602605516369098
 (last accessed Nov. 9, 2022); https://www.seclaw.com/emailpumpanddump1003/
 (last accessed Nov. 9, 2022).

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              service, or communication, which, though not purporting
              to offer a security for sale, describes such security for a
              consideration received or to be received, directly or
              indirectly, from an issuer, underwriter, or dealer, without
              fully disclosing the receipt, whether past or prospective, of
              such consideration and the amount thereof.

       150. The SEC has also issued investor bulletins alerting investors to the use

 of stock promoters that state that, to protect investors from being misled by such

 materials, the federal securities laws require stock promoters to disclose the entity

 that retained them and the amount and type of any payments that they received as

 compensation for their engagement.

       151. StreetAuthority and Betancourt never disclosed Rayat and

 RenovaCare’s paid promotional campaign in furtherance of disseminating the

 Predictions Report to investors, nor did it disclose that it was receiving payments

 from them in exchange for publishing the Reports.

       152. For example, the disclosures in StreetAuthority’s RenovaCare

 promotional materials pursuant to Securities Act Section 17(b) stated that

 StreetAuthority did “not receive any direct cash payments in connection with the

 production of paid advertisements” for RenovaCare.

       153. As discussed below, however, Rayat arranged for third-party investor

 relations companies, not RenovaCare, to make direct payments to StreetAuthority.

 Rayat’s payment arrangement—which concealed the company’s and its controlling

 shareholder’s involvement in and potential financial incentives to StreetAuthority


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 in promoting the stock—had the effect of reducing investor skepticism regarding

 the truthfulness of the campaign by making it appear to investors that

 StreetAuthority was offering an objective and fair assessment of RenovaCare’s

 stock.

          154. Thus, the Predictions Report and promotional campaign freely

 circulated to StreetAuthority’s subscriber base as intended by Rayat and the other

 Defendants.

          155. A screenshot of the Predictions Report is immediately below:




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 Image: StreetAuthority Report to promote RenovaCare, dated February 7, 2018.33

 C.        RenovaCare Represents That Its Disclosure Controls Are Effective but
           Fails to Publicly Disclose Its Ongoing Promotional Campaign with
           StreetAuthority and Betancourt

           156. On August 14, 2017, the beginning of the Class Period and well after

 Rayat had solicited StreetAuthority for the Predictions Report promotional

 campaign, RenovaCare filed its quarterly report on Form 10-Q with the SEC for

 the period ended June 30, 2017. That quarterly report stated, in relevant part:

                 Disclosure Controls and Procedures

                 … Based on [an] evaluation the CEO has concluded that
                 as of the end of the period covered by this report, our
                 disclosure controls and procedures are effective in
                 ensuring that: (i) information required to be disclosed by
                 us in reports that we file or submit to the SEC under the
                 Exchange Act is recorded, processed, summarized and
                 reported within the time periods specified in applicable
                 rules and forms and (ii) material information required to
                 be disclosed in our reports filed under the Exchange Act is
                 accumulated and communicated to our management,
                 including our CEO, as appropriate, to allow for accurate
                 and timely decisions regarding required disclosure.

           157. However, the Form 10-Q never disclosed RenovaCare’s ongoing

 publishing arrangement with StreetAuthority and Betancourt that was already

 underway. Nor is there any mention of StreetAuthority or risk factors associated

 with the promotion.



      33
     https://seekingalpha.com/article/4145626-renovacare-many-catalysts-untold-
 downside (last accessed Nov. 10, 2022).

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 D.    Rayat Concealed Payments for StreetAuthority’s Promotional
       Campaign by Funneling Money Through Undisclosed Third-Party
       Investor Relations Companies and Providing Inadequate Disclaimers

       158. Not only did RenovaCare and Rayat not disclose their involvement

 with StreetAuthority’s promotional campaign, but they also concealed how the

 campaign was funded.

       159. Before StreetAuthority launched its promotion of RenovaCare,

 Betancourt and Rayat orally agreed that StreetAuthority would receive $100,000

 per month for the promotion. Specifically, Rayat arranged to have both

 RenovaCare and SolarWindow each pay StreetAuthority $50,000 per month.

 StreetAuthority agreed to use that money to pay for advertising and other

 distribution costs relating to the publication and dissemination of its promotion of

 RenovaCare and SolarWindow. See SEC Compl. ¶ 81.

       160. However, rather than have RenovaCare pay StreetAuthority directly,

 Rayat arranged to pay StreetAuthority through third-party investor relations

 companies that Rayat had hired in the past for other promotional campaigns.

       161. Rayat and Bhogal selected these third-party investor relations

 companies: IRC 1, followed by Fleming, and followed finally by IRC 2. Each of

 these third-party service providers worked on the StreetAuthority promotion at the

 direction of Rayat and Bhogal. Although IRC 1 was replaced before the

 StreetAuthority promotion began, Fleming and IRC 2 each invoiced RenovaCare



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 and SolarWindow for StreetAuthority’s work promoting the companies, thereby

 obscuring a direct link between RenovaCare and StreetAuthority. See SEC Compl.

 ¶ 101.

          162. IRC 1 was a long-time business associate of Rayat, Fleming, and

 Bhogal and provided investor relations services to Rayat and RenovaCare

 beginning no later than 2014. Rayat arranged for RenovaCare to pay IRC 1 a

 $2,500 per month retainer. The only service IRC 1 provided in exchange for this

 money was to prepare invoices and route payments between RenovaCare and

 StreetAuthority.34 At all times during IRC 1’s retention, Rayat remained

 StreetAuthority’s primary source of information regarding RenovaCare. SEC

 Compl. ¶ 102.

          163. Shortly before the Predictions Campaign launched on October 24,

 2017, Rayat replaced IRC 1 with Fleming, under the same payment terms and with

 the same limited duties. Fleming served as a third-party investor relations

 consultant to RenovaCare through her wholly owned consulting firm, Inspiren.

 Rayat arranged for RenovaCare to pay Fleming a $2,500 per month retainer to

 prepare invoices and route payments between RenovaCare and StreetAuthority.

 This arrangement—which Fleming characterized as a “personal favor” to Rayat—




    34
         See SEC Compl. ¶ 25.

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 served to further conceal RenovaCare’s and Rayat’s involvement in and funding of

 the StreetAuthority promotion. SEC Compl. ¶ 103.

          164. On October 18, 2017, pursuant to Rayat’s instructions, Fleming had

 an introductory phone call with several representatives of StreetAuthority, after

 which they provided wire instructions for her to funnel payments from RenovaCare

 and SolarWindow. SEC Compl. ¶ 104.

          165. By late December 2017, Rayat and Bhogal directed RenovaCare’s

 transition from Fleming to IRC 2, and Bhogal instructed IRC 2 regarding how to

 manage the StreetAuthority promotion on RenovaCare’s behalf. SEC Compl.

 ¶ 113. On December 20, 2017, for example, Bhogal was copied on an email from

 IRC 2 to RenovaCare’s CEO forwarding a “Market Services Agreement” and an

 initial invoice to RenovaCare “[f]urther to my conversations with Jay [(Bhogal)].”

 Thereafter, Bhogal was in regular communication with IRC 2 as the Predictions

 Campaign continued into January and February 2018. SEC Compl. ¶ 113. IRC 2

 fully transitioned into Fleming’s role on or around January 3, 2018. SEC Compl.

 ¶ 109.

          166. Fleming assisted in IRC 2’s transition. Among other things, Fleming

 provided IRC 2 with the disclaimer she used while working with StreetAuthority,

 and then Rayat and Bhogal provided IRC 2 with guidance on updating the

 disclaimer for the StreetAuthority promotional campaign, and directed him to



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 update and share it with StreetAuthority to be used in the promotional campaign.

 The updated disclaimer was almost identical, except it replaced references to

 Fleming with IRC 2, and clarified that “out of pocket expenses” paid by

 RenovaCare included funding for the Promotions Campaign. SEC Compl. ¶ 114.

       167. After talking to Bhogal and Rayat, on December 29, 2017, IRC 2 sent

 Betancourt “the attached disclaimer for updating your records pertaining to”

 RenovaCare and SolarWindow, which StreetAuthority then followed the

 instructions and updated their promotional materials. SEC Compl. ¶ 115.

       168. These communications, among others, demonstrate that Defendants

 controlled the content of the disclaimer, which never clearly disclosed Defendants’

 involvement in the campaign or Defendants’ intent to sell RenovaCare shares

 during the promotion. SEC Compl. ¶ 116.

       169. Defendant RenovaCare only publicly disclosed the existence of and

 payment to these investor relations companies for the first time in RenovaCare’s

 January 8, 2018 press release responding to the OTC Markets inquiry (well after

 StreetAuthority’s campaign had begun).

       170. Defendants could have accurately disclosed their involvement in the

 Predictions Campaign, and their intent to sell. In an email on October 3, 2017,

 Betancourt asked Rayat to provide “disclaimer” language for StreetAuthority to

 use in the Predictions Campaign. Rayat contacted RenovaCare’s Director, who



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 provided draft disclaimer language that had been used in earlier third-party

 promotions of RenovaCare by The Cheap Investor, Fleming’s newsletter. Rayat

 provided this disclaimer to Betancourt, who worked with a lawyer referred by

 RenovaCare’s outside counsel to review it. SEC Compl. ¶ 106.

       171. In its final form, the disclaimer disclosed that StreetAuthority was

 compensated, and disclosed the ownership of RenovaCare shares by certain

 individuals involved in the Predictions Campaign, but it did not clearly explain that

 Rayat and RenovaCare were funding the Predictions Campaign, or that they were

 directly involved in creating and distributing promotional materials related to the

 campaign. The language of the disclaimer that appeared in the promotional

 materials was very similar to the draft that Rayat gave Betancourt but substituted

 Fleming and Inspiren for IRC 1 and substituted StreetAuthority for The Cheap

 Investor. SEC Compl. ¶ 107.

       172. Rather than clearly disclosing that Rayat and RenovaCare were

 funding the Predictions Campaign, the disclaimer stated that StreetAuthority did

 “not receive any direct cash payments in connection with the production of paid

 advertisements” for RenovaCare, which had the effect of reducing investor

 skepticism regarding the truthfulness of the campaign and gave investors the

 impression that it was an objective recommendation of RenovaCare, when, in fact,

 it was orchestrated and funded by Rayat and RenovaCare. SEC Compl. ¶ 108.



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          173. Furthermore, this disclaimer failed to disclose a number of material

 facts relating to the Defendants’ involvement in the promotion and intent to sell

 during it, including that: (1) RenovaCare was featured in the Predictions Report

 based on a verbal agreement between Rayat and StreetAuthority that RenovaCare

 would fund the Predictions Campaign; (2) Rayat, Bhogal, and Sidhu directly and

 indirectly owned and controlled millions of RenovaCare shares; (3) Rayat, Bhogal,

 Fleming, and Sidhu intended to sell their RenovaCare shares during the promotion;

 (4) Bhogal and Sidhu were actively selling RenovaCare shares as of November 8,

 2018, while the promotion was on-going; (5) Fleming began actively selling

 RenovaCare shares as of January 3, 2018, when she transitioned her work with

 StreetAuthority on RenovaCare’s behalf to IRC 2; and (6) Rayat held financial

 interests in entities through which Bhogal and Sidhu sold stock. SEC Compl.

 ¶ 109.

          174. Some of StreetAuthority’s promotional materials, including the

 Predictions Report, contained this disclaimer while others, including periodic

 promotional emails and advertisements related to the campaign, included more

 limited language or no disclaimer at all. SEC Compl. ¶ 110.

          175. Defendants controlled the content of the disclaimer, which never

 disclosed Defendants’ involvement in the campaign or Defendants’ intent to sell

 RenovaCare shares while the company was being promoted. Rayat and Fleming



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 had the authority to direct StreetAuthority to amend its disclaimer, given their

 direct involvement in the Predictions Campaign and the fact they were funding the

 campaign through RenovaCare. SEC Compl. ¶ 111.

       176. In fact, StreetAuthority acknowledged RenovaCare and Rayat’s

 influence and ability to direct StreetAuthority. For example, on January 3, 2018,

 Betancourt sent an internal email concerning issues relating to its spending on the

 campaign, and stated, “It is very important that we spend the budget equally –

 $50,000/month for each RCAR and $50,000/month for [SolarWindow]. I think this

 is important to ensure that RCAR does not withdraw from the marketing program.”

 Similarly, StreetAuthority’s publisher testified that Rayat had influence over the

 Predictions Campaign because he “controlled the purse strings at the end of the

 day.” SEC Compl. ¶ 112.

       177. Throughout StreetAuthority’s campaign, RenovaCare continued to

 secretly funnel money to Street Authority. RenovaCare’s CEO approved all of the

 payments from RenovaCare to IRC 1, Fleming, and IRC 2, while he knew, or was

 reckless in not knowing, that they were ultimately going to StreetAuthority for the

 promotion. On November 9, 2017, for example, RenovaCare’s CEO approved the

 company to pay $46,000 to IRC 1 based on invoices IRC 1 sent RenovaCare’s

 CEO charging the company $43,500 for the StreetAuthority promotion and $2,500

 for IRC 1’s monthly retainer.



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          178. Rayat and Bhogal devised this deceptive payment scheme on behalf of

 RenovaCare to conceal from the investing public that RenovaCare was, in fact,

 paying StreetAuthority for the promotion. Rayat knew, or was reckless in not

 knowing, that StreetAuthority would have to disclose in its promotional materials

 any payments RenovaCare made to StreetAuthority pursuant to Section 17(b) of

 the Securities Act of 1933 (“Securities Act”), 15 U.S.C. § 77q(b).

 E.       StreetAuthority’s Promotional Campaign, Under Rayat’s Direction,
          Highly Touted Materially False Statements About RenovaCare’s
          SkinGun

          179. StreetAuthority’s promotional materials highly touted RenovaCare,

 notwithstanding the fact that the Company had no revenue and no commercially

 available product. For example, the promotional materials claimed that the

 SkinGun was a “revolutionary wound-healing device,” and encouraged readers to

 buy RenovaCare stock and hold it for “10, 20x, even 40x gains.” SEC Compl.

 ¶ 117.

          180. In describing the basis for its recommendation, StreetAuthority’s

 promotional materials highlighted and described a case study of one patient who

 had severe burns on his arm (“Patient A”) that the SkinGun purportedly healed

 “without scarring—in just three days.” The promotional materials further showed

 the following purported “before” and “after” SkinGun-treatment pictures of Patient

 A, which was discussed and corroborated by CWs 2 and 3 above:



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 SEC Compl. ¶ 118.

       181. These pictures and statements were false: (1) the SkinGun did not heal

 Patient A’s wounds in three days—Instead, his skin remained discolored for at

 least a year after treatment; (2) the “before” photo was not Patient A’s arm, instead

 depicting a patient with more severe burns; and (3) the “after” picture was taken

 several years after his injury, not three days later. SEC Compl. ¶ 119.

       182. As discussed above, Rayat was the source of these false claims and

 pictures. As corroborated by CW 3, Rayat provided materials containing these

 false pictures and claims about Patient A’s SkinGun treatment to StreetAuthority.

 For example, on July 26, 2017, Rayat emailed RenovaCare marketing materials to

 StreetAuthority that contained Patient A’s false before-and-after pictures, and on

 September 21, 2017, Rayat emailed StreetAuthority additional marketing materials

 that contained the false claim that the SkinGun healed Patient A’s arm in three

 days. SEC Compl. ¶ 120.

       183. When sending these materials to StreetAuthority, Rayat knew that it

 would be disseminated to investors and knew, or was reckless in not knowing, that


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 the materials contained false information. Notably, RenovaCare employees had

 discussed the actual results of Patient A’s treatment with Rayat, and sent Rayat an

 accurate summary of his treatment, as early as July 23, 2014. The summary Rayat

 received that day explained that Patient A’s arm took months to heal, and it

 contained accurate pictures illustrating Patient A’s course of treatment, and not the

 pictures of Patient A that Rayat later sent to StreetAuthority. SEC Compl. ¶ 121.

       184. StreetAuthority’s promotional materials also claimed that the

 SkinGun “could soon be approved by the FDA [Food and Drug Administration].

 … RenovaCare has submitted a 510(k) filing to the FDA, which permits the

 marketing of a medical device. Now it’s just a matter of waiting on the FDA … so

 this device can be rolled out at every burn unit in the country.” SEC Compl. ¶ 122.

       185. However, at the time, RenovaCare did not have a pending 510(k)

 filing with the FDA; in fact, it had only applied to the FDA for approval to use in

 clinical studies, not in general clinic or hospital settings, and RenovaCare had

 withdrawn that application more than a year earlier. SEC Compl. ¶ 122.

       186. Additionally, prior to the release of the StreetAuthority promotion,

 Rayat reviewed draft promotional materials that contained these false claims but

 did nothing to correct them. For example, on October 3, 2017, Betancourt emailed

 Rayat a draft Predictions Campaign promotion for StreetAuthority’s Game-

 Changing Stocks newsletter that contained the false statements regarding FDA



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 approval, the fake “before” and “after” pictures, and the false claim that Patient

 A’s “arm healed without scarring—in just three days” recovery. After reviewing

 the draft, Rayat called Betancourt to suggest at least one change concerning the

 possibility of the FDA’s approval of the SkinGun, but he did not suggest that

 StreetAuthority correct the false statements or replace the pictures in the draft. SEC

 Compl. ¶ 125. StreetAuthority subsequently made Rayat’s suggested change to its

 promotional materials.

       187. Further, in an internal email dated October 10, 2017, the lead copy

 writer for the Predictions campaign circulated a document entitled “HIO report

 with 2 picks—Editorial Review, Harmel Changes” and wrote:

              Here is the report back, with Harmel’s changes input

              …

              fyi, the doc that [Betancourt] reviewed with Harmel was
              one of the promos where nothing was identified, not this
              hybrid report where Harmel’s stocks are identified.

              …

              He should probably review this at some point.

 SEC Compl. ¶ 126.

       188. Three versions of the draft promotion circulated internally at

 StreetAuthority on October 10, 2017, all with filenames including “Harmel

 Changes,” one of which included a comment that the copy writer had deleted

 language that “Har[m]el doesn’t want us to talk about.” SEC Compl. ¶ 127.


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       189. When reviewing the draft promotional materials concerning

 RenovaCare, Rayat knew, or was reckless in not knowing, that the statements

 about the FDA approval were false. Shortly before that time, in an email between

 Rayat and an acquaintance on April 14, 2017, Rayat discussed RenovaCare’s

 regulatory strategy, and Rayat explained that RenovaCare did not have a pending

 510(k) application. SEC Compl. ¶ 123.

       190. Rayat also knew, or was reckless in not knowing, that the

 StreetAuthority promotions containing these false statements and fake “before”

 and “after” pictures would be disseminated to investors, because he reviewed

 StreetAuthority’s draft promotional materials prior to their release to the investing

 public, but, as discussed, he did nothing to correct them. SEC Compl. ¶ 124.

 F.    StreetAuthority’s RenovaCare Promotional Campaign Successfully
       Inflated RenovaCare’s Stock Price

       191. All in all, StreetAuthority’s promotional campaign of RenovaCare

 that Rayat solicited, concealed the payments for, and worked closely with

 StreetAuthority to create and distribute was a success.

       192. During the course of the promotional campaign, internet users clicked

 on tens of thousands of RenovaCare ads created by StreetAuthority. For instance,

 one of the several online platforms StreetAuthority used to promote RenovaCare

 alone generated over 20,000 clicks from internet users. SEC Compl. ¶ 195.




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       193. RenovaCare stock saw an uptick in volume and price that correlated

 with StreetAuthority’s promotional campaign. On October 23, 2017, RenovaCare’s

 stock price closed at $3.10 per share, and by January 5, 2018, it had risen to $4.91

 per share, an approximately 58 percent increase. SEC Compl. ¶ 195.

 G.    Shortly After the Predictions Campaign was Launched, Defendants
       Began Selling RenovaCare Shares

       194. Defendants quickly took advantage of the stock pump they had

 secretly engineered.

       195. The StreetAuthority promotion of RenovaCare went public on

 October 24, 2017. At the time, RenovaCare stock was trading around $3 per share,

 and its daily trading volume was about 10,000 shares per day. SEC Compl. ¶ 128.

 By early November, the Predictions Campaign began to have its intended effect.

 On November 7, 2017, RenovaCare stock price rose to nearly $4 per share (up

 about 30 percent from October 24), and trading volume was over 60,000 shares (up

 about 600 percent). SEC Compl. ¶ 128.

       196. In early November 2017, while Fleming and Rayat worked with

 StreetAuthority and RenovaCare on the promotional campaign, Sidhu and Bhogal

 began selling RenovaCare shares in a highly coordinated manner. Their trades

 tracked the Predictions Campaign, and evidences their knowing participation in the

 scheme. SEC Compl. ¶ 129.




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       197. On November 8, 2017, Bhogal and Sidhu began selling RenovaCare

 shares. Between November 8 and December 7, 2017, they sold more than 100,000

 shares at historically high prices. SEC Compl. ¶ 130.

       198. In early December 2017, Rayat directed StreetAuthority to pause

 advertising related to the Predictions Campaign while he considered how to

 maximize the effectiveness of the campaign. On December 8, 2017, Bhogal and

 Sidhu stopped trading. SEC Compl. ¶ 131.

       199. On or about December 11, 2018, Rayat directed StreetAuthority to

 resume advertising the Predictions Campaign. Bhogal and Sidhu again waited for

 the campaign to impact the market before both resumed selling RenovaCare stock.

 Between December 18, 2017, and January 3, 2018, Sidhu sold over 30,000 shares,

 and Bhogal sold over 131,000 shares. SEC Compl. ¶ 132.

       200. On January 3, 2018, a day after Rayat and Bhogal replaced her with

 IRC 2 and she stopped handling RenovaCare’s payments to StreetAuthority for the

 Predictions Campaign, Fleming sold 7,000 shares of RenovaCare stock. She did so

 despite having been directly involved in the campaign, and with knowledge that

 the paid promotion she had helped organize was ongoing. SEC Compl. ¶ 133.

       201. During the Predictions Campaign, Sidhu, Bhogal, and Fleming

 ultimately sold more than 1 million shares of RenovaCare stock through at least

 seven brokerage accounts. SEC Compl. ¶ 134.



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       202. By November 8, 2017, Bhogal knew, or was reckless in not knowing,

 about the Predictions Campaign, including because: (1) Bhogal’s transactions in

 RenovaCare stock tracked the timing and progress of the StreetAuthority

 promotion; (2) on September 21, 2017, Rayat forwarded to Bhogal an email

 between Rayat and StreetAuthority concerning the campaign; (3) on October 6,

 2017, Bhogal participated in a phone call with StreetAuthority representatives and

 Rayat; (4) on October 31, 2017, Bhogal attended a RenovaCare Board meeting, a

 presentation for which included an item stating that the company planned to spend

 $300,000 on investor relations through March 2018, an amount consistent with

 Rayat’s agreement that RenovaCare would pay Street Authority $50,000 per month

 to fund the campaign; (5) on November 8, 2017, a friend sent Bhogal a

 StreetAuthority campaign email promoting RenovaCare and SolarWindow; and

 (6) in September 2017, Bhogal received two emails concerning Rayat’s attempts to

 sell his shares. SEC Compl. ¶ 135.

       203. By November 8, 2017, Sidhu knew, or was reckless in not knowing,

 about the Predictions Campaign, including because: (1) Sidhu’s transactions in

 RenovaCare stock tracked the timing and progress of the campaign; (2) he was in

 daily contact with Rayat while Rayat worked on the campaign; (3) in August 2017,

 Rayat asked Sidhu to send a package to a StreetAuthority representative; (4) Sidhu

 planned two of Rayat’s trips to visit StreetAuthority in Austin; (5) on November 2,



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 2017, Rayat sent Sidhu an email stating, “Jeet, I need to be in Austin for at least

 one night during the week of November 27 …. Let’s discuss tomorrow”; (6) Sidhu

 managed and tracked the RenovaCare shares held by Rayat and Bhogal, and

 assisted with the company’s private sales of stock to Rayat, Sidhu, and other of

 Rayat’s friends in July and October 2017. SEC Compl. ¶ 136.

 H.    RenovaCare Continued to Misrepresent in Subsequent SEC Filings
       That Its Disclosure Controls Were Effective While Continuing to
       Conceal Rayat’s Involvement with StreetAuthority

       204. From October 2017 until at least January 2018, StreetAuthority

 actively disseminated its RenovaCare promotional materials on the internet and to

 their subscriber base. However, Defendant RenovaCare, Rayat, and Bold continued

 to conceal RenovaCare’s ongoing relationship with StreetAuthority and

 misrepresent the effectiveness of its disclosure controls.

       205. On November 14, 2017, RenovaCare filed its quarterly report on

 Form 10-Q with the SEC for the period ended September 30, 2017. That quarterly

 report stated, in relevant part:

              Disclosure Controls and Procedures

              Based on [an] evaluation the CEO has concluded that as
              of the end of the period covered by this report, our
              disclosure controls and procedures are effective in
              ensuring that: (i) information required to be disclosed by
              us in reports that we file or submit to the SEC under the
              Exchange Act is recorded, processed, summarized and
              reported within the time periods specified in applicable
              rules and forms and (ii) material information required to


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                 be disclosed in our reports filed under the Exchange Act is
                 accumulated and communicated to our management,
                 including our CEO, as appropriate, to allow for accurate
                 and timely decisions regarding required disclosure.

           206. Despite the above representation about effective disclosure controls,

 and similar to RenovaCare’s Form 10-Q for the period ended June 30, 2017,

 Defendant RenovaCare, Rayat, and Bold failed to disclose RenovaCare’s ongoing

 publishing arrangement with StreetAuthority. Nor is there any mention of

 StreetAuthority or risk factors associated with the promotion.

 I.        RenovaCare and Rayat Made and Issued a Materially False Press
           Release Denying Their Involvement in StreetAuthority’s Promotional
           Campaign When Confronted by OTC Markets

           207. The truth began to emerge on or around January 2, 2018, when OTC

 Markets, which supervised the OTCQB Tier35 in which RenovaCare’s stock was

 quoted, learned of StreetAuthority’s ongoing promotion of RenovaCare.

           208. OTC Markets has a strict disclosure policy regarding company

 promotions, as the motivation to provide false information through such campaigns




      35
       The OTCQB, also called “The Venture Market,” is the middle tier of the
 over-the-counter (OTC) market for U.S. stocks. It was created in 2010 and consists
 mainly of early-stage and developing U.S. and international companies that are not
 yet able to qualify for the OTCQX but are not as speculative as the lowest-tier Pink
 Sheets. OTCQB companies must meet certain minimum reporting standards, pass a
 bid test, and undergo annual verification. See
 https://www.investopedia.com/terms/o/otcqb.asp (last visited Nov. 10, 2022).

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 could severely impact the integrity of the OTC Markets.36 OTC Markets’s policy

 states, in relevant part, that:

               a.     “Public availability of adequate current information is a core

                      principal of OTC Markets Group’s disclosure-based philosophy

                      and the OTCQX and OTCQB Rules. Reputable public

                      companies are expected to release quickly to the public any

                      news or information which might reasonably be expected to

                      materially affect the market for its securities.”

               b.     “Management of a public company also has the responsibility

                      to dispel unfounded rumors, misinformation or false

                      statements which result in unusual market activity.

                      Misleading and manipulative promotion clearly fall into this

                      area of concern and must be immediately addressed.”

               c.     “Digital marketing has made it easier for investor relations

                      professionals to reach millions of investors, but technology can

                      also be abused by anonymous market manipulators for




    36
      OTC Markets’ Group Policy on Stock Promotion: https://www.otcmarkets
 .com/files/OTC_Markets_Group_Policy_on_Stock_Promotion.pdf (last accessed
 Nov. 10, 2022).

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                     fraudulent promotional campaigns that harm the integrity of

                     public markets and defraud investors.”

             d.      “Fraudulent promotional campaigns disseminate misleading

                     information in a variety of manners, including e-mails,

                     newsletters, social media outlets, press releases, videos,

                     telephone calls, and/or hard mailers.”

             e.      “Common characteristics of misleading and manipulative

                     promotion:

                      Fail to clearly identify the sponsor of the promotion,

                        and/or the promotion is sponsored or paid for by

                        anonymous, unidentifiable 3rd parties

                                                  ***

                   Provide little or no factual information about the company, omit

                     material information

                                                  ***

                   Urge the investor to take action immediately as not to miss out

                     on a great opportunity

                   Fail to provide details or disclosures about the risk associated

                     with the issuers security”




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             f.      “Anonymous paid promotion is often associated with

                     unregulated parties or ‘financiers’ that have acquired

                     securities in private market transactions and wish to generate

                     demand so they can sell their shares in the public markets at

                     inflated prices”

             g.      “A company whose security is being promoted may not be

                     directly involved or even aware of a promotion campaign for

                     their securities, however all public companies have an

                     obligation to provide accurate disclosure to investors and

                     quickly address any misleading information that could affect

                     the trading market for their securities.”

             h.      “Misleading and manipulative promotion of companies with

                     little or no assets or business activity is of concern to OTC

                     Markets. Anonymous paid promotion of these companies may

                     raise red flags with regulators.”

 (Emphases added.)

       209. As a result, companies that violate the disclosure policies can be

 removed from OTCQB Tier and relegated to the more risky OTC Pink Open

 Market Tier, which could have a material impact on the stock’s trading and

 negatively affect its price. OTC Markets will also refer companies to the SEC,



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 FINRA, or other regulatory agencies “when we have concerns relating to stock

 promotion.”37

          210. Similarly, OTC Markets’s Stock Promotion: Best Practices for Issuers

 policy38 states, in relevant part, the following:

                   a.   “The OTCQX Rules and OTCQB Standards require companies

                        to make adequate, current information publicly available.

                        Companies that sponsor or pay for promotion or other IR

                        services are responsible for ensuring the accuracy of any

                        disclosure or other materials associated with those services.

                        The materials must also include appropriate disclosure that

                        clearly identifies the promoter or IR firm’s relationship to the

                        issuer.”

                   b.   “Be wary of shareholders who have gained significant control

                        of a company’s shares, and are in possession, or are coming

                        into possession, of unrestricted shares – they may have an

                        incentive to induce promotion secretly (“pump”) in order to

                        sell (dump) their freely tradable shares on the open market.”




    37
         See id.
    38
     https://www.otcmarkets.com/files/Best_Practices_for_Issuers_Stock_
 Promotion.pdf (last accessed Nov. 10, 2022).

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             c.      “We have strong concerns regarding anonymous third-party

                     promotion. Promoting or paying to promote a stock secretly,

                     without adequate disclosure, is a significant source of

                     misleading and manipulative information that harms market

                     integrity.”

             d.      “If a company pays someone, directly or indirectly through an

                     intermediary, to publish or publicize articles about its stock, this

                     relationship and payment should be disclosed to the investing

                     public.”

             e.      “Ongoing payments and agreements for promotion or IR

                     services should be disclosed as part of the issuer’s typical

                     reporting. The identity of any IR firm engaged by the issuer

                     must be disclosed in a timely manner, including on the issuer’s

                     ‘Company Profile’ page on www.OTCMarkets.com and in in

                     other disclosure materials, where required.”

             f.      “If your company was the subject of anonymous third-party

                     promotion, you should identify the source of the promotion to

                     understand who may be attempting to manipulate the market

                     for your security.”

 (Emphasis added.)



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         211. Additionally, Pink Sheets LLC (“Pink Sheets”), the leading provider

 of pricing and financial information for the OTC securities market (and referenced

 in the OTC Markets Stock Promotion: Best Practices for Issuers policy), petitioned

 the SEC to take immediate action to protect investors from “deceptive activities by

 securities promoters and their sponsors.”39 Pink Sheets advocated that

 “Promotional materials must identify promoters and their sponsors, and the

 nature and amount of consideration paid for the promotion.” (Emphasis added.)

         212. Consistent with the above policies, on January 3, 2018, OTC Markets

 sent RenovaCare a letter requiring the company make public disclosures relating to

 StreetAuthority’s promotional campaign given RenovaCare’s ongoing promotional

 activities.

         213. OTC Markets’s January 3, 2018 letter demanded that RenovaCare

 issue a press release concerning its involvement in the StreetAuthority promotion,

 including:40

                a.   “the date on which the Company became aware of the

                     promotional activities”;




    39
      https://www.sec.gov/rules/petitions/petn4-519.pdf (last accessed Nov. 10,
 2022).
    40
         See SEC Compl. ¶ 50.

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             b.      “[a] written summary of the Company’s understanding of the

                     promotional activities,” and “[i]f the company was involved in

                     the dissemination or payment of promotional material, …

                     direct language describing the company’s involvement and a

                     description of any engagements and/or agreements relating to

                     the promotional material”;

             c.      “whether the company has editorial control over the content

                     in the promotional materials”; and

             d.      “[w]hether, after inquiry of management, the directors and

                     control persons, its officers, directors, any controlling

                     shareholders (defined as shareholders owning 10% or more of

                     the company’s securities), or any third party service providers

                     have, directly or indirectly, been involved in any way

                     (including payment of a third-party) with the creation or

                     distribution of promotional materials related to the Company

                     and its securities.”

 (Emphases added.)

       214. Attached to the letter was a January 2, 2018 Predictions Campaign

 promotion for Game-Changing Stocks, a StreetAuthority newsletter. The

 promotional “copy” was based on information from RenovaCare’s investor



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 relations program that had been provided to StreetAuthority by Rayat, and the

 promotional language had been reviewed by Rayat prior to publication. In fact, the

 promotion, which included the false statements about FDA approval and Patient

 A’s course of treatment, as well as the fake “before and after” pictures, was an

 updated version of the promotion Betancourt emailed to Rayat for his review on

 October 3, 2017. SEC Compl. ¶ 138.

       215. On January 3, 2018, a few hours after RenovaCare received OTC

 Markets’s inquiry, Rayat instructed StreetAuthority to pause the Predictions

 Campaign while he, Bhogal, and RenovaCare considered how to respond to the

 inquiry. SEC Compl. ¶ 140.

       216. As of January 3, 2018, Sidhu and Bhogal were actively selling

 RenovaCare shares, and Fleming had just begun selling RenovaCare shares after

 her duties were transitioned to IRC 2. After RenovaCare received the inquiry from

 OTC Markets, Bhogal, Fleming and Sidhu stopped trading, and did not sell any

 more shares for nearly a week. SEC Compl. ¶ 141.

       217. In response to OTC Markets’s letter, Rayat was instrumental in

 drafting and disseminating RenovaCare’s press release in response to OTC

 Market’s demand. Rayat was in the best position to provide the substantive detail

 in response to OTC Market’s inquiry because, on behalf of RenovaCare, he had




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 solicited StreetAuthority to run the campaign, concealed RenovaCare’s payments

 to them, and worked closely with them to create and disseminate the promotion.

          218. On January 3, 2018, Rayat had several conference calls with

 RenovaCare’s CEO, RenovaCare’s director and outside counsel (“RenovaCare’s

 Director”), and Bhogal to discuss the company’s strategy in responding to OTC

 Markets. SEC Compl. ¶ 142.

          219. By January 4, 2018, Rayat had assembled a team and was working on

 a draft press release, with Bhogal’s assistance. Bhogal had numerous discussions

 with IRC 2 concerning RenovaCare’s response, and provided information for IRC

 2 to share with Rayat and RenovaCare in the drafting of the release. Rayat again

 had several conference calls with the RenovaCare director, RenovaCare’s CEO,

 and Bhogal to discuss the draft press release. Bhogal also received several of the

 coordinating emails. SEC Compl. ¶ 143.

          220. On January 5, 2018, RenovaCare’s Director emailed Rayat,

 RenovaCare’s CEO, and Bhogal to request a follow-up conference call “to

 discuss/review and edit the revised draft” of the press release. Shortly thereafter,

 Rayat replied to suggest they talk on January 7, 2018, and noted that he would send

 his comments on the draft press release later by the following day. That day, Rayat

 also had several calls with RenovaCare’s Director to discuss the draft. SEC Compl.

 ¶ 144.



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       221. On January 7, 2018, Rayat, RenovaCare’s CEO, and RenovaCare’s

 Director again discussed RenovaCare’s draft press release. A draft press release

 dated shortly after the call contained only minor differences from the draft the

 company would ultimately issue. SEC Compl. ¶ 145.

       222. On January 8, 2018, at 12:57 p.m., Rayat emailed RenovaCare’s CEO

 a final version of the draft press release and instructed the Company to add its

 boilerplate “about us” and “disclaimer” language to the draft. A few minutes later,

 at 1:14 p.m., RenovaCare’s CEO forwarded the draft press release to IRC 2, noting

 that it was the final draft of the press release. As Rayat had instructed,

 RenovaCare’s CEO requested that the consultant add the “about us” and

 “disclaimer” language, then issue the press release at 3:45 p.m. SEC Compl. ¶ 146.

       223. Rayat possessed the knowledge required to answer OTC Market’s

 inquiry regarding the StreetAuthority campaign and had ultimate control of the

 content and dissemination of the press release to the public. Rayat’s continuous

 involvement in the press release’s drafting, culminating in his January 8, 2018

 email to RenovaCare’s CEO, followed by the CEO’s response, demonstrates

 Rayat’s authority and control over the content of the statement and his intent to

 disseminate it to the public.

       224. On January 8, 2018, RenovaCare publicly issued its press release

 statement response, as drafted by Rayat and Renovacare, to OTC Markets via



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 BusinessWire (“January 8 Press Release”). It was not signed by any individual.

 SEC Compl. ¶ 147.

       225. Rayat instructed RenovaCare to issue the January 8 Press Release at

 3:45 p.m., because he wanted to limit the potential impact of the Press Release by

 releasing it shortly before the market closed at 4 p.m. Bhogal assisted Rayat and

 RenovaCare in disseminating the January 8 Press Release, and he helped IRC 2 to

 correct an issue with this timing. SEC Compl. ¶ 148. To further reduce the market

 impact of the January 8 Press Release, Rayat and RenovaCare also issued

 RenovaCare’s year-end “Shareholder Update” at 9 a.m. on January 9, 2018. SEC

 Compl. ¶ 149.

       226. Specifically, the Company stated the following in the January 8 Press

 Release:

             [O]n January 3rd, 2018, OTC Markets . . . informed the
             Company that OTC Markets had become aware of
             promotional activities concerning the Company.

             OTC Markets provided an example, dated January 2nd,
             2018, of the promotional material for reference. It is the
             Company’s understanding that the material provided was
             part of an annual predictions report used in part to generate
             new subscribers for various newsletters owned by
             StreetAuthority LLC, an independent publisher founded in
             2001. The Company had no editorial control over the
             content and was one of thirteen companies independently
             selected, researched and mentioned. The annual
             predictions report was disseminated during the last quarter
             of 2017. During this time, 2,190,000 shares traded, only



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             2% more than the average quarterly volume of 2,139,375
             shares during all of 2017.

             Subsequently, later in the 4th quarter, a material
             announcement regarding a failed challenge to a
             RenovaCare patent was made public. On December 20th,
             2017, a press release was issued by Avita Medical Limited
             disclosing that its petition for an Inter Partes Review with
             the Patent Trial and Appeal Board (“PTAB”) to invalidate
             all claims in U.S. Patent No. 9,610,430 (owned by the
             Company) was denied. This press release was followed by
             an article in Stockhead on December 21st, 2017, which
             more fully reported on the PTAB denying Avita Medical
             Limited’s petition, and, thereby, upholding the
             patentability of RenovaCare’s technology.

             After the issuance of Avita Medical’s press release and the
             follow-up article in Stockhead on December 21st, 2017,
             the trading volume of the Company’s common stock
             increased 84% to 62,829 shares per day between
             December 20th and December 29th, versus 32,720 per day
             previously between December 1st through December
             19th, 2017.

             The Company is not affiliated in any way with the
             authors of the annual predictions report or its publisher.
             The Company issues press releases in the regular course
             of business and includes in its filings (the “SEC Filings”)
             with the [SEC] the material business activities of the
             Company, and investors are encouraged to rely on the
             information provided directly by the Company in such
             press releases and SEC Filings.

             In the report, the substance of the material statements
             pertaining to the Company’s technology and products
             are not materially false or misleading, even though the
             report has significantly simplified the descriptions of the
             clinical indications and outcomes related to the use of the
             Company’s cell spray for the treatment of burns and
             wounds, and used promotional, advisory and superfluous
             language in describing the Company, its products and its

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             stock. Moreover, the author comments on the Company’s
             interaction with the U.S. Food and Drug Administration
             and the performance of RenovaCare’s stock. The
             Company does not know the basis for such opinions or
             conclusions arrived-at by the author. Investors are
             reminded to rely upon the Company’s own statements,
             press releases, and filings with the SEC for information
             related to these matters.

             Following notification from OTCQB Markets, the
             Company immediately made inquiries of its executive
             officers, directors, controlling shareholders (i.e.,
             shareholders owning 10% or more of the Company’s
             securities) and third-party service providers regarding
             their involvement in the creation or distribution of
             promotional materials related to the Company and its
             securities.

             To the Company’s knowledge, the Company, its
             executive officers, directors or, its controlling
             shareholder, or any third-party service providers have,
             directly or indirectly:

                    not been involved in any way (including
                     payment of a third-party) with the creation or
                     distribution   of   promotional      materials,
                     including the annual predictions report, related
                     to the Company and its securities; and

                    not sold or purchased (other than in than in
                     private placements conducted by the Company
                     as described below) any shares of common stock
                     of the Company within the last 90 days. The
                     Company’s former service provider, Inspiren
                     Media LLC, originally acquired 5,000 shares of
                     the Company on July 25th, 2008 and sold on
                     January 3rd, 2018, after termination of its
                     agreement with the Company. All activity in the
                     Company’s common stock by the Company’s
                     executive officers, directors and controlling
                     shareholders has been disclosed by such officer,

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                        director and shareholder in the Company’s SEC
                        Filings.

              The Company was not involved in the creation, or
              directing the dissemination, of the report. Through its
              investor relations agencies, the Company paid $90,005.25
              between October 24th, 2017 and January 2nd, 2018, as
              part of its contractual agreement to pay for out of pocket
              costs, including reimbursement of dissemination related
              costs, incurred by the investor relations agency.

              Between the period January 1st, 2017, and November 11th,
              2017, the Company retained Omnicor Media LLC to
              provide public, media and investor relations services.
              Between the period October 16th, 2017 and December 31st,
              2017, the Company retained INspiren LLC to provide
              public, media and investor relations agencies. Since
              January 1st, 2018, Damaak Group LLC has been providing
              public, media and investor relations services to the
              Company.

 (Emphases added.)

       227. Rather than fairly and accurately disclose Rayat’s and RenovaCare’s

 continuous and ongoing relationship with StreetAuthority from the outset of

 StreetAuthority’s promotional campaign, the January 8 Press Release contained

 numerous material misrepresentations and omissions that concealed Rayat’s and

 RenovaCare’s involvement in it.

       228. First, the January 8 Press Release stated that RenovaCare conducted

 an inquiry of all relevant persons, including controlling shareholders such as Rayat,

 “regarding their involvement in the creation or distribution of promotional

 materials,” and stated that “the Company, its executive officers, directors or, its



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 controlling shareholder, or any third-party service providers have, directly or

 indirectly[] not been involved in any way (including payment of a third-party) with

 the creation or distribution of promotional materials, including the annual

 predictions report, related to the Company and its securities.” (Emphasis in

 original.)

       229. This statement was materially false. Rayat was RenovaCare’s

 controlling shareholder and, as discussed herein and corroborated by confidential

 witness accounts, Rayat was directly involved in the creation of StreetAuthority’s

 promotional materials, including the Predictions Report. Among other things, he:

 (i) provided detailed information about RenovaCare to StreetAuthority

 representatives, including the lead author of the Predictions Report; (ii) reviewed

 and commented on draft promotions and advertisements before and during the

 Predictions Campaign; and (iii) consulted with StreetAuthority throughout the

 campaign concerning advertising and distribution of the Predictions Report and

 other promotional materials related to RenovaCare. By providing information to

 StreetAuthority from the outset and reviewing and commenting on drafts before

 and during the promotion. Rayat was also involved in the distribution of

 StreetAuthority’s promotional materials by consulting with StreetAuthority on

 several occasions concerning its distribution strategy and suggesting and approving

 changes to the promotion that StreetAuthority implemented.



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       230. In addition, Rayat and RenovaCare’s third-party investor relations

 consultants, including Fleming, were all involved in the distribution of

 StreetAuthority’s promotional material by covertly funding the Predictions

 Campaign with $50,000 a month, and Rayat had numerous discussions with

 StreetAuthority regarding how campaign promotional materials should be

 distributed.

       231. Second, the January 8 Press Release claimed that RenovaCare was

 “not affiliated in any way with the authors of the annual predictions report or its

 publisher.” This was materially false. As discussed herein, RenovaCare was

 affiliated with StreetAuthority because the company was a paying customer,

 paying StreetAuthority $50,000 per month to run StreetAuthority’s promotion,

 including its annual Predictions Report. The company was also affiliated with

 StreetAuthority because Rayat had been working closely with StreetAuthority on

 the promotion as RenovaCare’s agent as corroborated by confidential witness

 accounts.

       232. Third, the January 8 Press Release claimed that RenovaCare “had no

 editorial control over the content” of StreetAuthority’s RenovaCare-related

 promotional materials. This was materially false. As discussed herein, Rayat,

 acting as an agent for the company, reviewed, commented on, and edited

 StreetAuthority’s promotional materials before and throughout StreetAuthority’s



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  promotional campaign, and on several occasions, StreetAuthority incorporated

  Rayat’s changes before publicly releasing the promotional materials.

        233. Additionally, Rayat and RenovaCare had the “power of the

  checkbook”—if either was dissatisfied with the content of the Predictions Report

  or other promotional materials, or the timing or content of advertising related to the

  Predictions Campaign, they could have refused to fund the campaign at the outset

  or at any time during the campaign.

        234. Fourth, the January 8 Press Release stated that RenovaCare “was not

  involved in the creation, or directing the dissemination, of [StreetAuthority’s

  Predictions] report.” This statement was materially false. As discussed herein and

  corroborated by confidential witness accounts, Rayat, on behalf of RenovaCare,

  was involved in the creation of the Predictions Report. He provided detailed

  information to StreetAuthority to include in the report and he reviewed and

  commented on draft promotions and advertisements before and during the

  Predictions Campaign. Rayat, on behalf of RenovaCare, was also involved in

  directing the dissemination of the report by discussing StreetAuthority’s plan for

  disseminating the promotional materials and suggesting and approving changes to

  its dissemination on several occasions. He also weighed in on the timing, content,

  and placement of advertisements related to the campaign, all of which were funded

  by RenovaCare. For example, on January 3, 2018, a few hours after RenovaCare



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  received OTC Markets’ inquiry, Rayat instructed StreetAuthority to pause the

  Predictions Campaign. In addition, RenovaCare provided StreetAuthority the

  funding for the dissemination of StreetAuthority’s promotional materials.

        235. Fifth, the January 8 Press Release contained material omissions,

  including specific information required by OTC Markets, that, if addressed, would

  have required Rayat and RenovaCare to admit their awareness and involvement in

  StreetAuthority’s campaign and the Predictions Report. Under OTC Markets

  policies regarding stock promoters, OTC Markets required that RenovaCare

  disclose “the date on which it became aware of the promotional activities,” and yet

  the company failed to disclose that Rayat, on behalf of the company, was aware of

  the campaign since at least July 2017 when he approached StreetAuthority, and

  that RenovaCare’s CEO and the Company was aware of the campaign by at least

  November 8, 2017, when RenovaCare’s CEO received an invoice from Fleming

  that included line items for “StreetAuthority – Media Spend” and “StreetAuthority

  - $50,000 Monthly Fee.” SEC Compl. ¶ 159.

        236. The misrepresentations and omissions in the January 8 Press Release

  were material. The potential for small companies with illiquid and low-priced

  shares to fund false promotional campaign schemes to increase company’s stock

  price and trading volume to benefit corporate insiders and controlling shareholders,

  as was done here, is precisely why RenovaCare’s false January 8 Press Release is



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  material. As cited above at length, OTC Markets’ disclosure policies seek to

  address this very issue. RenovaCare’s compliance with OTC Markets’ policies on

  company promotions, if violated, could result in the Company’s removal from the

  OTCQB Tier and be relegated to the lesser traded OTC Pink Open Market Tier,

  which would certainly have a substantial impact on RenovaCare’s stock trading

  and negatively affect its price.

          237. In fact, on February 23, 2018, OTC Markets downgraded

  RenovaCare’s stock to the OTC Pink Open Market Tier and placed a “Caveat

  Emptor” skull and crossbones label on RenovaCare’s company profile due to the

  ongoing promotional activity.41 SEC Compl. ¶ 162. The company’s stock price

  simultaneously dropped approximately 30 percent, from $9 per share to $6.28 per

  share. SEC Compl. ¶ 162.




     41
        As described in OTC Markets Group Policy on Stock Promotion (see above),
  “OTC Markets Group designates certain securities with ‘Caveat Emptor’ and
  places a skull and crossbones icon next to the stock’s ticker symbol as it appears on
  OTC Markets Group’s websites, data feeds and social media, as notice of a
  potential public interest concern associated with the security, and to caution
  investors to exercise additional care and perform thorough due diligence before
  making any investment decision. OTC Markets Group may designate a security
  undergoing promotion as Caveat Emptor, if, in OTC Markets Group’s
  determination, the stock promotion presents a public interest concern or if the
  company has not made adequate current information available to investors.” See
  https://www.otcmarkets.com/files/OTC_Markets_Group_Policy_on_Stock_Promo
  tion.pdf (last accessed Nov. 10, 2022).

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        238. Consistent with OTC Markets’ disclosure policies, a reasonable

  investor would have wanted to know, in making an investment in RenovaCare

  stock, that RenovaCare’s controlling shareholder was assisting and paying for a

  promotional campaign that encouraged investors to purchase RenovaCare stock. A

  reasonable investor would have also wanted to know that Defendants were

  covering up the source of the funding for the promotional campaign.

        239. Defendants RenovaCare, Rayat, and Bold—as corporate insiders—

  knew, or were reckless in not knowing, that the January 8 Press Release was false

  when they made and issued it to the investing public. Given their personal

  participation in the StreetAuthority promotion in the months leading up to the

  January 8 Press Release, Defendants knew, or were reckless in not knowing, that

  the January 8 Press Release contained material misstatements and omissions that

  Rayat approved in the final draft and sent to RenovaCare’s CEO with instructions

  prior to disseminating it to the investing public.

        240. Based on his involvement in the Predictions Campaign on

  RenovaCare’s behalf, Rayat possessed the knowledge required to accurately

  answer OTC Market’s inquiry regarding the campaign, and as RenovaCare’s

  controlling shareholder he had ultimate control over the content and dissemination

  of the press release to the public. Rayat’s involvement in the drafting process,

  including his January 8, 2018 email to RenovaCare’s CEO, and the CEO’s



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  adherence to his instructions, also demonstrates his authority and control over the

  content and public dissemination of the statement.

        241. As an agent and controlling shareholder of RenovaCare, and the

  individual acting on behalf of RenovaCare with respect to the promotion, Rayat’s

  knowledge is imputed to RenovaCare. Furthermore, by January 8, 2018,

  RenovaCare’s CEO was aware that the company was involved with

  StreetAuthority’s promotional campaign, as he had previously approved several

  payments to the investor relations companies that he knew, or was reckless in not

  knowing, that related to the StreetAuthority promotion. The company also relied

  upon Rayat’s knowledge of the promotional campaign when preparing the

  January 8 Press Release, included his substantive comments on the press release,

  and followed his directions when disseminating it to the public.

        242. Simply put, Rayat caused RenovaCare to issue the misleading January

  8, 2018 Press Release in order to further conceal Defendants’ role in both the

  Predictions Campaign and the overall fraudulent scheme to manipulate and scalp

  RenovaCare stock.

        243. Despite all the above, on January 12, 2018, RenovaCare publicly filed

  a Form 8-K with the SEC, signed by RenovaCare’s CEO, that attached a copy of




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  the January 8, 2018 Press Release without correction or amendment,42 which

  further misled investors from knowing RenovaCare’s intimate involvement in

  StreetAuthority’s promotional campaign.

  J.        Defendants Continue Misleading Investors About RenovaCare’s
            Disclosure Controls in Spite of OTC Markets’s Letter

            244. Even after RenovaCare issued the January 8, 2018 Press Release and

  the OTC Markets’ downgrade, Defendants RenovaCare, Rayat, and Bold

  continued to mislead investors about the effectiveness of the Company’s disclosure

  controls on February 27, 2018, when RenovaCare filed its Form 8-K with the SEC

  for the period ended February 21, 2018.43 Despite the ongoing StreetAuthority

  promotion, OTC Markets letter, and February 23 OTC Markets downgrading

  action, RenovaCare again failed to acknowledge the existence of its relationship

  with StreetAuthority. Further, the Company failed to provide an adequate response

  to an investigative reporting website (see Section V.K. below).

            245. Instead, Defendants RenovaCare, Rayat, and Bold continued to

  mislead investors about the effectiveness of the Company’s disclosure controls on

  March 13, 2018, when RenovaCare filed its annual report on Form 10-K with the




       42
       https://www.sec.gov/Archives/edgar/data/0001016708/000147793218000
  202/rcar_ex992.htm (last accessed Nov. 10, 2022).
       43
       https://www.sec.gov/Archives/edgar/data/0001016708/00014779321800
  1040/rcar_8k.htm (last accessed Nov. 10, 2022).

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  SEC for the period ended December 31, 2017. That annual report stated, in

  relevant part:

               Evaluation of and Report on Internal Control over
               Financial Reporting

               Based on [an] evaluation, management, after evaluating
               the effectiveness of our “disclosure controls and
               procedures” (as defined in Exchange Act Rules 13a-15(e)
               and 15d-15(e)), have concluded that, as of December 31,
               2017, our disclosure controls and procedures were
               effective in providing reasonable assurance regarding the
               reliability of financial reporting and the preparation of
               financial statements for external purposes in accordance
               with U.S. generally accepted accounting principles.

        246. Despite the above representation about effective disclosure controls,

  Defendants RenovaCare, Rayat, and Bold failed to disclose RenovaCare’s ongoing

  publishing arrangement with StreetAuthority. Nor is there any mention of

  StreetAuthority or risk factors associated with the promotion.

  K.    Defendants Failed to Adequately Respond to or Clarify a Scathing
        Report Published by an Investigative Reporting Website Regarding
        RenovaCare’s Business Operations and Undisclosed Stock Promotion
        Practices

        247. As mentioned in the section above, RenovaCare failed to provide an

  adequate response to an investigative reporting website and continued to issue

  misleading SEC disclosures—even after suffering the OTC Markets downgrading

  that resulted from the January 8 Press Release.

        248. On February 12, 2018, an investigative reporting website,

  TheStreetSweeper, published an article entitled “RenovaCare: Many Catalysts,

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  Untold Downside” on Seeking Alpha44 that exposed deficiencies with

  RenovaCare’s business operations, products, financials, insider trading practices,

  and, more relevant here, RenovaCare’s questionable response to OTC Markets’s

  letter relating to StreetAuthority’s promotional campaign (the “StreetSweeper

  Article”).

          249. The StreetSweeper Article raised questions about the Company’s

  operations and highlighted that despite being a roughly $600 million market cap

  company, RenovaCare “is operated by one full-time employee and three part-time

  contractors … including the CEO”; that the SkinGun was “acquired on the cheap

  [(for only $400,000)] and has not been presented to the FDA for approval”; that

  within its 35 years of existence, RenovaCare had no sales, little cash, big operating

  losses, and auditors expressed doubt that the company could continue as a going

  concern; that RenovaCare had “[h]eavy, sometimes misleading promotions,

  questioned by [OTC Markets]”; that Rayat, RenovaCare’s controlling stockholder

  was a foreign stock promoter who was formerly in trouble with the SEC45; and

  RenovaCare’s operations were suspicious when compared to confirmed




     44
      https://seekingalpha.com/article/4145626-renovacare-many-catalysts-untold-
  downside (last accessed Nov. 10, 2022).
     45
       The article describes the SEC action against Rayat for his unlawful stock
  promoter role while operating EquityAlert.com in the late 1990s/early 2000s. See
  n.32 above (discussing EquityAlert.com and Rayat).

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  financial/operations data from RenovaCare’s industry competitor. (Emphasis

  added.)

        250. The StreetSweeper Article stated that RenovaCare “has not responded

  to the questions TheStreetSweeper emailed several times to the company,

  including those about Mr. Rayat’s ownership or his SEC settlements.” Further, the

  author commented on Rayat’s past history as a stock promoter for EquityAlert.com

  that, “These stock-promotion-related incidents don’t directly affect RenovaCare,

  but investors and potential investors need to be aware of the majority owner’s

  [(Rayat’s)] history.”

        251. The StreetSweeper Article also summarized OTC Markets’s

  investigation into RenovaCare’s promotional activities and OTC Markets’s

  January 3, 2018 letter. The author wrote, “The exchange over which the stock

  trades came knocking at RenovaCare’s door on Jan. 3 about ‘promotional activities

  concerning the company.’ The OTC had noticed promoters StreetAuthority and

  Stockhead said some really nice things about RenovaCare. A huge spike in trading

  volume and stock price followed those pumps, OTC noted. StreetAuthority, for

  example, wrote about [RenovaCare as] ‘The most spectacular medical

  breakthrough of 2018.’ The promoter added ‘RenovaCare has submitted a 510-K

  filing to the FDA… Now it’s just a matter of waiting on the FDA.’ But wait. The

  application has not been submitted. RenovaCare could have requested that



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  StreetAuthority fix the error, but there’s no evidence that has happened. Instead,

  RenovaCare’s 8-K reveals another issue of concern….” (Emphasis added.)

          252. Regarding RenovaCare’s promotional campaign, The StreetSweeper

  Article continued on and questioned RenovaCare’s response to the OTC Markets

  letter in its January 12, 2018 8-K filing where RenovaCare denied any involvement

  in the creation, or directing the dissemination, of the StreetAuthority promotional

  campaign but stated that RenovaCare paid $90,005.25 to investor relations

  companies.46 The author pointed out the contradictory nature of RenovaCare’s

  response and posed a rhetorical statement to readers: “So, RenovaCare states it had

  no influence on creating the promoter’s report … even though the company paid

  $90,000 for the report.” (Emphasis in original.) The author provided the following

  report screenshot of an example of StreetAuthority’s ongoing promotional

  campaign for RenovaCare, citing StreetAuthority as the source:




     46
       https://www.sec.gov/Archives/edgar/data/1016708/000147793218000202/
  rcar_ex992.htm (last accessed Nov. 11, 2022).

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        253. The StreetSweeper Article also highlighted that StreetAuthority, in its

  disclosures in RenovaCare’s promotional campaign, was paid by RenovaCare for

  the promotion through a third-party investor relations company, Damaak Group

  LLC. This payment “include[d] $50,000 per month for ‘investment predictions’

  reports.” The author also noted that StreetAuthority disclosed that Betancourt,

  StreetAuthority’s president, owns 2,100 shares of RenovaCare common stock. The

  author commented, “Solid companies aren’t typically promoted by professional

  promoters.” (Emphasis added.)




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          254. The StreetSweeper Article concluded that it was awaiting a response

  to its questions from RenovaCare and that “RenovaCare still hasn’t answered our

  multiple emails or calls seeking comment.” Additionally, the author stated, “We do

  have grave concerns about this company’s future and expect to share

  management’s answers with investors…. Right now – considering RenovaCare’s

  part-time CEO, stalled product, heavy promotions, OTC questions, majority

  shareholder concerns, low financial condition and poor comparison to its nearest

  rival – we’re having a hard time justifying a fraction of its current market

  valuation.”

          255. On the same day as publication of the StreetSweeper’s February 12,

  2018 article, RenovaCare issued a press release entitled “RenovaCare Issues Stern

  Response to Admitted Short-Seller, Streetsweeper, Affiliated with Felon Convicted

  of Securities Fraud.”47 RenovaCare’s response was inadequate because it failed to

  use this opportunity to clarify or specifically address the article’s contents. Instead,

  RenovaCare maintained its innocence and continued misleading investors until the

  truth was finally revealed by the SEC’s May 28, 2021 complaint (discussed in




     47
       https://www.renovacareinc.com/2018/02/renovacare-issues-stern-response-
  to-admitted-short-seller-streetsweeper-affiliated-with-felon-convicted-of-
  securities-fraud/ (last accessed Nov. 10, 2022).

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  Section VII.A. (The Truth Emerges) below), which ultimately caused

  RenovaCare’s inflated stock price to drop and thereby harm investors.

          256. Specifically, RenovaCare stated in its response that the StreetSweeper

  Article was “spreading ‘short and distort’ commentary on companies it targets for

  short selling, in this case RenovaCare.” The Company quoted Defendant Thomas

  Bold and stated, “‘We will not be distracted by the irresponsible and nefarious

  actions of these short sellers and a handful of internet posters…. ‘We have an

  obligation to expose those who prey on our shareholders for short-term profits and

  attempt to damage the public trust.’” The Company then threw in a red herring and

  commented, “‘Meanwhile, our clinical and regulatory teams continue to make

  incredible strides, with our next major milestone being our initial FDA filing. We

  are determined to bring our breakthrough stem cell therapy to market with the

  ongoing strong support of our shareholders.’” The Company then provided pictures

  of burn victims who allegedly successfully recovered using the SkinGun and

  touted its technology.

          257. In further retaliation and in reaction to the drop in its stock price on

  February 27, 2018, on March 5, 2018, RenovaCare issued a follow-up press

  release, entitled “RenovaCare Takes Action to Protect Shareholder Interests,”48



     48
       https://www.renovacareinc.com/2018/03/renovacare-takes-action-protect-
  shareholder-interests/ (last accessed Nov. 11, 2022).

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  attacking TheStreetSweeper using ad hominem arguments, failing once again to

  address the content of the StreetSweeper Article. The retaliatory press release

  stated that RenovaCare “has received video evidence showing what appears to be

  predatory trading practices of several FINRA member firms in its stock.” Although

  not mentioning TheStreetSweeper by name, the response was very likely aimed at

  TheStreetSweeper.49

          258. Specifically, the press release stated that “RenovaCare has informed

  investigatory agents of FINRA about these extensive and, in the Company’s

  opinion, potentially illegal, ongoing predatory trading practices, engaged in by

  certain FINRA member firms, as more fully shown in the video.” The Company

  speculated that, “These firms may be covertly collaborating with the short seller

  syndicate targeting the Company.” RenovaCare continued, “The Company is

  proceeding with the filing of a formal complaint regarding these ‘bear raid’ trading

  practices with both FINRA and the SEC and will explore all potential private legal

  remedies available to it.”




     49
        For example, RenovaCare states in the press release the following: “As
  reported to stockholders on February 12, 2018, a known ‘short and distort’
  syndicate has engaged in an ongoing smear campaign of disseminating grossly
  misleading, inaccurate and distorted facts and misinformation, including false
  allegations of insider seller.” The StreetSweeper Article was published on February
  12, 2018.

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        259. The press release further stated that “These short sellers spread false

  rumors and innuendos of impropriety with business affiliates, partners, and

  collaborators to disparage the good reputation of RenovaCare and thereby

  enhancing their profit at the expense of Company stockholders. Often, this is

  accomplished by the ‘short and distort’ syndicate enlisting members of the media

  and others, who may unwittingly write stories based on the grossly misleading and

  inaccurate statements of fact.” RenovaCare then falsely advocated its position in

  protecting shareholders: “RenovaCare strongly believes that it has an obligation to

  protect its stockholders from adverse financial and reputational harm caused by

  these unfounded and potentially illegal activities. Such actions undermine the

  integrity of the Company, its management and its majority stockholder, Kalen

  Capital Corporation.”

        260. Lastly, as will be discussed further below, RenovaCare falsely and

  misleading misrepresented that, “RenovaCare confirms that none of its officers and

  directors have ever sold any Company shares; and, its majority stockholder, Kalen

  Capital Corporation, has not sold any Company shares since 2008.”

        261. Despite RenovaCare’s lengthy attacks on TheStreetSweeper’s

  motivations, RenovaCare failed to use the press release to address any of the

  StreetSweeper Article’s investigation, especially as related to StreetAuthority’s

  promotional campaign. A reasonable investor would have expected that



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  RenovaCare would at least address some of the substance in the StreetSweeper

  Article. RenovaCare had a perfect opportunity to clarify its promotional activities

  but failed to do so. Instead, RenovaCare continued to mislead investors by omitting

  any sort of explanation, meaningful response, or clarification related to

  StreetAuthority’s promotion. Contrary to RenovaCare’s representation in the press

  release that it sought to protect shareholders, investors would only learn about the

  truth of the promotional campaign once the SEC brought its May 28, 2021 action

  and investors were harmed when RenovaCare’s stock price dropped in response

  (discussed more fully below in Section VII.A.).

  L.    After Issuing the January 8 Press Release, Defendants Restarted the
        Predictions Campaign and Resumed Trading

        262. Meanwhile, after issuing the false January 8 Press Release and while

  RenovaCare continued to publicly deny and conceal any involvement with

  StreetAuthority, Defendants restarted the Predictions Campaign, resumed selling

  shares behind the scenes, and engaged in deceptive conduct to support

  RenovaCare’s share price and trading volume.

        1.     Defendants restarted the StreetAuthority promotion.

        263. While Rayat, RenovaCare’s CEO, and Bhogal were working on a

  response to the OTC Markets inquiry, Rayat and Bhogal were working with IRC 2

  to prepare and restart the Predictions Campaign. On January 5, 2018, they initiated

  a review of StreetAuthority’s promotional materials to allow StreetAuthority to


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  support the claim that the promotional “copy” was based on publicly available

  information. During this process, IRC 2 and the Company identified several

  misstatements, and corrected some of them. While the review was ongoing, and

  notwithstanding ongoing and extensive communications with StreetAuthority

  regarding the promotional campaign, RenovaCare issued the January 8 Press

  Release disavowing any affiliation with StreetAuthority or involvement in the

  campaign. SEC Compl. ¶ 168.

        264. On January 22, 2018, Defendants, IRC 2, and StreetAuthority

  completed the content review, and Rayat authorized StreetAuthority to resume the

  Predictions Campaign. SEC Compl. ¶ 169.

        2.     Defendants resumed their coordinated trading.

        265. After issuing the false and misleading January 8 Press Release,

  Defendants also resumed trading RenovaCare stock. On January 9, 2018, Fleming

  bought 370 shares, despite the fact that RenovaCare stock was trading near a

  historic high, and the fact that she owned more than 100,000 shares at a lower cost

  basis. Her trading was intended to create an artificial impression of demand for the

  stock to assist in maintaining share price and trading volume and counteract any

  negative market reaction to the January 8 Press Release. SEC Compl. ¶ 170.

        266. Between January 9 and January 22, 2018, Bhogal and Sidhu sold

  some shares, but after January 22, 2018, Defendants’ trading pattern took off,



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  again in a coordinated fashion. Bhogal, Sidhu, and Fleming all started by selling

  small amounts until about a week after StreetAuthority resumed the Predictions

  Campaign, when they began taking turns selling large quantities of shares. SEC

  Compl. ¶ 171.

        267. First, Bhogal ramped up his selling to over 50,000 shares per day on

  January 26. On January 30, 2018, Bhogal sold 133,900 shares through Alberta

  Ltd.’s account, which left him with only about 10,000 shares in that account. SEC

  Compl. ¶ 172.

        268. Second, on January 31, 2018, Sidhu ramped up his activity, selling

  over 150,000 shares that day and at least 50,000 shares per day for the rest of that

  week. Fleming also continued to sell on most trading days in this time period,

  selling approximately 25,000 shares between January 29 and February 2, 2018.

  SEC Compl. ¶ 173.

        269. This coordinated pattern of trading continued until February 7, 2018,

  when another threat to Defendants’ scheme emerged. SEC Compl. ¶ 174.

        3.     Rayat and Bhogal caused RenovaCare to issue press releases to
               counteract negative press and complement the Predictions
               Campaign

        270. On February 7, 2018, RenovaCare received an inquiry from an online

  financial media company (“Media Company 1”). Media Company 1 asked




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  RenovaCare to answer several questions that suggested Media Company 1’s view

  that RenovaCare was involved in a pump-and-dump scheme. SEC Compl. ¶ 175.

          271. IRC 2 discussed Media Company 1’s inquiry with Bhogal and Rayat,

  and they decided to take action to counteract anticipated negative market reaction

  to the planned article. Bhogal, Rayat, and others immediately prepared a draft

  RenovaCare press release attacking the credibility of Media Company 1 and the

  negative article they anticipated. SEC Compl. ¶ 176.

          272. The next morning, on February 8, 2018, Media Company 1 published

  an article on RenovaCare that, among other things, called it “the most dangerous

  stock covered to date.”50 In response, Rayat and Bhogal directed RenovaCare to

  issue a press release on February 12, 2018. Rather than responding to the facts in

  Media Company 1’s article, this press release attacked the credibility of its authors.

  SEC Compl. ¶ 177.51




     50
        TheStreetSweeper (discussed in section V.K. above) also published an article
  on February 8, 2018 stating that RenovaCare was “one of the more dangerous
  stocks we’ve covered[.]” This article substantially mirrors the February 12, 2018
  article discussed above. See https://www.hvst.com/posts/renovacare-rcar-multiple-
  catalysts-untold-downside-wLmTDl4r (last accessed Nov. 11, 2022).
     51
        This RenovaCare press release was also discussed in section V.K. above
  detailing RenovaCare’s response to the TheStreetSweeper article entitled
  “RenovaCare: Many Catalysts, Untold Downside” on Seeking Alpha. See
  https://seekingalpha.com/article/4145626-renovacare-many-catalysts-untold-
  downside (last accessed Nov. 11, 2022);
  https://www.renovacareinc.com/2018/02/renovacare-issues-stern-response-to-

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        273. Defendants further attempted to counteract this negative news by

  doubling StreetAuthority’s promotional budget for the Predictions Campaign. On

  the morning of February 8, 2018, IRC 2 emailed StreetAuthority, ordering the

  promoter to double the advertising budget for the next two weeks “from its current

  spend of $12,500 to $25,000 per week.” Soon thereafter, Rayat contacted another

  StreetAuthority representative and reiterated the request, noting that “It’s kinda

  important that it gets turned on sooner rather than later.” StreetAuthority quickly

  implemented these instructions. SEC Compl. ¶ 178.

        274. Rayat also consulted with StreetAuthority to strategize ways to

  respond to Media Company 1’s negative coverage. In response, on February 12,

  2018, Betancourt emailed Rayat and other StreetAuthority representatives and

  stated:

               “What can we do?

               I recommend, if [RenovaCare] will issue any PR release,
               that you should not address this article at all. The release
               should be about a positive story about Renova[C]are. If
               you have news on the FDA or your submission to the
               FDA address that … .

               My sense is that I do not think this negative story has
               received a great deal of press/readership. The stock is up
               .54% and trading volume is pretty decent at mid-day.




  admitted-short-seller-streetsweeper-affiliated-with-felon-convicted-of-securities-
  fraud/ (last accessed Nov. 11, 2022).

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                Regarding additional marketing exposure, I spoke with
                [another StreetAuthority representative] to crank up the
                spend. …

                I think it is important to keep a steady spend to keep
                [the] volume up and the stock price up.”

  SEC Compl. ¶ 179 (emphasis added).

          275. Just as Betancourt suggested, RenovaCare issued a press release on

  February 15, 2018, announcing a “successful FDA meeting,” despite the fact that

  the meeting had occurred a year earlier.52 Rayat and Bhogal were involved in the

  drafting and dissemination of this press release, which was intended to

  complement the promotional campaign and Defendants’ manipulative trading. SEC

  Compl. ¶ 180.

          276. A week later, Defendants Rayat and Bhogal coordinated another

  RenovaCare press release with the Predictions Campaign. On February 21, 2018,

  Rayat and Bhogal drafted and disseminated another RenovaCare press release

  announcing that RenovaCare “secures [a] patent victory.”53 In fact, this “victory”

  had occurred months earlier, in December 2017. Shortly after this press release

  was issued, Rayat forwarded a link to Betancourt and another StreetAuthority

  representative, stating that the release was “fresh off the presses and still warm.”


     52
       https://www.renovacareinc.com/2018/02/renovacare-announces-successful-
  fda-meeting/ (last accessed Nov. 11, 2022).
     53
       https://www.renovacareinc.com/2018/02/renovacare-secures-patent-victory-
  continues-bolster-ip-portfolio/ (last accessed Nov. 11, 2022).

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  Betancourt replied, “Just read the story … Need to figure out how to leverage this

  news on other media.” SEC Compl. ¶ 181.

           277. Furthermore, on February 23, 2022, working at Rayat’s and/or

  Bhogal’s direction, IRC 2 emailed StreetAuthority to provide internet links “for the

  most recent news related to [RenovaCare and SolarWindow] to update your copy.”

  By “copy,” IRC 2 meant StreetAuthority’s promotional materials. SEC Compl.

  ¶ 182.

           4.    Defendants supported the scheme through manipulative trading.

           278. By February 8, 2018, Sidhu, Bhogal, and Fleming also took other

  steps to bolster RenovaCare’s share price and trading volume by engaging in

  manipulative trading in violation of Section 9(e). First, they stopped selling shares,

  which could depress the share price. Second, they soon began aggressively buying

  RenovaCare stock at historically high prices to artificially inflate the market. SEC

  Compl. ¶ 183.

           279. On February 9, 2018, Sidhu bought 15,000 RenovaCare shares.

  Despite owning millions of shares at no cost basis, he bought additional shares at

  then-near historic high prices of more than $7 per share. This purchase had no

  economic justification other than to manipulate the share price and trading volume

  by creating a false impression of investor interest in the stock. SEC Compl. ¶ 184.




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           280. On February 12, 2018, Media Company 1 issued another negative

  article suggesting that RenovaCare was involved in a pump-and-dump scheme.

  SEC Compl. ¶ 185.

           281. In response, that same day and continuing throughout that week,

  Sidhu purchased more RenovaCare stock. In all, between February 9, 2018, and

  February 16, 2018, Sidhu purchased over 155,000 shares of RenovaCare stock at

  near historically high prices, often placing purchase orders at or above the highest

  market prices at the time, which increased the effect of his orders on the market.

  Again, Sidhu had no economic justification for these purchases other than to

  manipulate the share price and trading volume by creating a false impression of

  investor interest in the stock for the purpose of inducing its purchase or sale by

  others. SEC Compl. ¶ 186.

           282. In coordination with Sidhu, between February 12 and 16, 2018,

  Fleming also placed several purchase orders and ultimately purchased 3,200 shares

  of RenovaCare stock, with no economic justification other than to manipulate the

  share price and trading volume by creating a false impression of investor interest in

  the stock for the purpose of inducing its purchase or sale by others. SEC Compl.

  ¶ 187.

           283. Bhogal also engaged in manipulative trading during this period. On

  February 20 and 21, 2018, Bhogal placed several buy orders for RenovaCare stock



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  to further support RenovaCare’s share price and trading volume. Although these

  orders were never executed, they created a false impression of demand for the

  stock at the order prices. At the time, RenovaCare stock reached a new all-time

  high of over $10.50 per share, and Bhogal held millions of shares of RenovaCare

  stock at a low or no cost basis. These buy orders were intended to manipulate the

  market for the purpose of inducing its purchase or sale by others. SEC Compl.

  ¶ 188.

           284. From February 21 to 22, 2018, Fleming and Sidhu resumed selling

  shares as the Predictions Campaign continued. At the time, Sidhu, Bhogal, and

  Fleming knew, or were reckless in not knowing, that they were engaged in

  manipulative trading of RenovaCare stock, based on the highly coordinated nature

  of their trading with each other’s trades and with the ongoing promotional activity,

  the nature and timing of their purchases, and the fact that they all owned

  substantial shares at a low or no cost basis at a time they were buying more stock at

  historically high prices. SEC Compl. ¶ 190.

           5.   On February 9, 2018, RenovaCare filed a new Form S-1 with the
                SEC seeking to register millions of restricted shares owned by
                Defendants.

           285. In the midst of the pump-and-dump scheme, Defendants also sought

  to “reload” on stock by registering additional restricted RenovaCare shares to be

  sold. On February 9, 2018, RenovaCare issued a new Form S-1 that sought to



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  register for resale over 4.4 million shares held by Rayat and his associates,

  including: (i) 2.42 million shares held by Kalen Capital; (ii) 900,000 shares bought

  at below-market prices in October 2017 and held by Cindy Bains, a friend of

  Rayat; (iii) 508,636 shares held by Bhogal through Alberta Ltd.; and (iv) 355,000

  shares held by Sidhu.54 The shares RenovaCare sought to register included shares

  purchased in the July and October 2017 offerings. Sidhu assisted RenovaCare’s

  filing of the February 9, 2018 S-1 by providing information on his, Rayat’s, and

  Bhogal’s share holdings. SEC Compl. ¶ 191.

          6.    In February 2018, the stock promotion scheme collapsed.

          286. On February 23, 2018, after becoming aware of further promotional

  activity related to RenovaCare, OTC Markets downgraded the Company’s stock to

  the OTC Pink Open Market Tier, also known as the “pink sheets,” and placed a

  “Caveat Emptor” (“buyer beware”) warning and skull and crossbones symbol on

  RenovaCare’s company profile. SEC Compl. ¶ 192.

          287. After OTC Markets acted in response to the ongoing promotional

  activity, RenovaCare’s share price plummeted, and Defendants abandoned their

  scheme. Shortly thereafter, Defendants directed StreetAuthority to halt the

  Predictions Campaign. SEC Compl. ¶ 193.


     54
        See
  https://www.sec.gov/Archives/edgar/data/1016708/000147793218000750/rcar_s1.
  htm (last accessed Nov. 11, 2022).

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  M.    The Scheme’s Final Result: the Defendants Reaped Millions

        288. The fraudulent stock promotion scheme orchestrated by Defendants

  was ultimately successful, allowing Defendants to sell millions of shares of

  RenovaCare stock at artificially inflated prices and obtain millions of dollars of ill-

  gotten gains.

        1.        RenovaCare's share price and trading volume increased
                  dramatically during the Predictions campaign.

        289. As internet users clicked on tens of thousands of RenovaCare ads

  during the StreetAuthority promotional campaign, RenovaCare’s share price and

  trading volume increased dramatically. For example, a single online platform, one

  of several that StreetAuthority used to promote RenovaCare, generated over

  20,000 clicks from internet users. On October 23, 2017, shortly before the

  Predictions Campaign began, RenovaCare stock price closed at $3.10 per share. By

  January 5, 2018, it had risen to $4.91 per share, an approximately 58 percent

  increase, and on February 21, 2018, RenovaCare stock traded at an all-time high of

  over $10.50 per share. SEC Compl. ¶ 195.

        2.        Defendants reaped millions from their sales of RenovaCare shares
                  at artificially inflated prices.

        290. Collectively, Defendants reaped millions from the scheme. During the

  StreetAuthority promotional campaign, Sidhu, Bhogal, and Fleming ultimately

  sold more than one million shares of RenovaCare stock through at least six

  separate accounts and obtained more than $7 million in trading proceeds:

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                                                                    Shares Sold
                                                                      Between
                                                                    October 24,
                                                                      2017 and
      Account        Beneficial   Brokerage     How Acquired        February 28,       Sale
      Holder          Owner         Firm           Shares               2018         Proceeds
   Treatdsone LLP   Jeet Sidhu    Broker-     Treadstone Ltd.         265,839        $1,598,185
                                  Dealer A    Purchase from Rayat
   (Defendant)                                in exchange for
                                              preferred shares

   Jeet Sidhu       Jeet Sidhu    Broker-     Collingwood             332,360        $2,867,023
                                  Dealer B    purchase in 2013 in
                                              exchange for loan
                                              from Rayat, and
                                              open market
                                              purchases in
                                              February 2018

   Alberta Ltd.     Jatinder      Broker-     Alberta Ltd.            491,364        $2,659,410
                    Bhogal        Dealer B    Purchase from Rayat
   (Defendant)                                in exchange for
                                              preferred shares

   Sharon Fleming   Sharon        Broker-     July 2008 company        52,200          $380,802
                    Fleming       Dealer C    private placement
                                              when Rayat was its
                                              CEO

   TOTAL                                                                           $7,505,420.00



  SEC Compl. ¶ 196.

         291. In addition to the above sales, between December 2017 and February

  2018, Sidhu transferred another 500,000 of Blackbriar Ltd.’s RenovaCare shares to

  an account with a broker-dealer outside the United States, and sold at least some of

  those shares on a U.S.-based exchange during the Relevant Period. Sidhu also

  transferred another 250,000 shares in his name that originated from Collingwood’s

  purchase in 2013 to an account with a broker-dealer outside the United States, and



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  sold at least some of those shares on a U.S.-based exchange during the relevant

  period. Sidhu ultimately sold RenovaCare shares from five brokerage accounts

  while the Predictions Campaign was ongoing. SEC Compl. ¶ 197.

           292. While Defendants engaged in this selling, Rayat continued to maintain

  millions of dollars of financial interests with Bhogal and Sidhu individually and/or

  through entities they owned and controlled, including Alberta Ltd. and Blackbriar

  Ltd. SEC Compl. ¶ 198.

           293. Collectively, Rayat, Bhogal, Sidhu, and Fleming acted through

  RenovaCare to monetize the scheme by distributing millions of shares of

  RenovaCare stock to themselves and entities they controlled, and to ensure that the

  shares were registered for resale in advance of the StreetAuthority promotional

  campaign. The scheme involved several deceptive acts, misrepresentations, and

  omissions, including scalping, manipulative trading, and false statements, all of

  which violated the securities laws. Defendants are liable for these acts,

  misrepresentations, and omissions, notwithstanding the fact that they did so to

  some extent through or by means of other individuals and entities. SEC Compl.

  ¶ 200.

           3.    Defendants Treadstone Ltd., Treadstone LLC, Blackbriar Ltd.,
                 and Alberta, Ltd. received ill-gotten gains.

           294. Defendant Treadstone Ltd. received ill-gotten funds transferred to it or

  for its benefit by the Defendants. Treadstone Ltd. has no legitimate claim to the ill-


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  gotten funds it directly or indirectly received, and accordingly, Treadstone Ltd.

  should be required to disgorge the amounts it directly or indirectly received from

  Defendants. SEC Compl. ¶ 201.

        295. Defendant Treadstone LLC received ill-gotten funds transferred to it

  or for its benefit by the Defendants. Treadstone LLC has no legitimate claim to the

  ill-gotten funds it directly or indirectly received, and accordingly, Treadstone LLC

  should be required to disgorge the amounts it directly or indirectly received from

  Defendants. SEC Compl. ¶ 202.

        296. Defendant Blackbriar Ltd. received ill-gotten funds transferred to it or

  for its benefit by the Defendants. Blackbriar Ltd. has no legitimate claim to the ill-

  gotten funds it directly or indirectly received, and accordingly, Blackbriar Ltd.

  should be required to disgorge the amounts it directly or indirectly received from

  Defendants. SEC Compl. ¶ 203.

        297. Defendant Alberta, Ltd. received ill-gotten funds transferred to it or

  for its benefit by the Defendants. Alberta, Ltd. has no legitimate claim to the ill-

  gotten funds it directly or indirectly received, and accordingly, Alberta, Ltd. should

  be required to disgorge the amounts it directly or indirectly received from

  Defendants. SEC Compl. ¶ 204.




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  N.    Over a Year After the Stock Promotion Scheme Collapsed, Defendants
        Admit in SEC Filings That RenovaCare’s Disclosure Controls and
        Procedures Were Not Effective

        298. On April 12, 2019, over a year after RenovaCare issued the January 8

  Press Release denying the statements in OTC Markets’s letter, RenovaCare finally

  admitted its disclosure controls and procedures were ineffective. On that day,

  RenovaCare filed its annual report on Form 10-K with the SEC for the period

  ended December 31, 2018. That annual report stated, in relevant part:

              Based upon [an] evaluation, our Principal Executive
              Officer and Acting Principal Financial Officer concluded,
              as of the end of the period covered by this Annual Report
              that our disclosure controls and procedures were not
              effective due to material weaknesses in internal control
              over financial reporting as discussed and defined in
              Management’s Report on Internal Control over Financial
              Reporting referred to below.

                                         ***

              Management has identified the following material
              weaknesses in our internal control over financial
              reporting:

                      Ineffective control environment due to an
                       insufficient number of independent board
                       members, insufficient oversight of work
                       performed, and the lack of compensating
                       controls over financial reporting due to limited
                       personnel;

                      Ineffective design, implementation, and
                       documentation of internal controls impacting
                       financial statement accounts and general
                       controls over technology pertaining to user
                       access and segregation of duties, banking and


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                         disbursements, and financial accounting system
                         applications; and

                       Ineffective monitoring controls related to the
                        financial close and reporting process, including
                        management’s risk assessment process and its
                        identification,   evaluation,     and     timely
                        remediation of control deficiencies.

  (Emphases added.)

        299. Following this disclosure, on May 14, 2020, RenovaCare filed its

  annual report on Form 10-K with the SEC for the period ended December 31,

  2019, repeating the ineffectiveness of the Company’s disclosure controls. That

  annual report stated, in relevant part:

               Based upon [an] evaluation, our [CEO] and Acting
               Principal Financial Officer concluded, as of the end of the
               period covered by this Annual Report that our disclosure
               controls and procedures were not effective due to
               material weaknesses in internal control over financial
               reporting as discussed and defined in Management’s
               Report on Internal Control over Financial Reporting
               referred to below.

                                            ***

               Management identified the following material weaknesses
               in our internal control over financial reporting as of
               December 31, 2019:

               Because of the Company’s limited resources, there are
               limited controls over information processing.

  (Emphases added.)

               On March 31, 2021, RenovaCare filed its annual report on
               Form 10-K with the SEC for the period ended December
               31, 2020, that again repeated the ineffectiveness of the

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                  Company’s disclosure controls. That annual report stated,
                  in relevant part:

                  Based upon [an] evaluation, our [CEO] and Principal
                  Financial Officer concluded, as of the end of the period
                  covered by this Annual Report that our disclosure
                  controls and procedures were not effective due to
                  material weaknesses in internal control over financial
                  reporting as discussed and defined in Management’s
                  Report on Internal Control over Financial Reporting
                  referred to below.

                                            ***

                  Management identified the following material weaknesses
                  in our internal control over financial reporting as of
                  December 31, 2020:

                  Because of the Company’s limited resources, there are
                  limited controls over information processing.

  (Emphases added.)

  O.        Defendants Rayat and Bold Violated the Company’s Ethics Policies by
            Failing to Reveal Their Promotional Campaign Activities with
            StreetAuthority

            300. Notwithstanding all the above, Defendants Rayat and Bold, as officers

  and/or directors of RenovaCare, were bound by the Company’s Code of Corporate

  Governance and Ethics (the “Code of Corporate Governance and Ethics”),55 which

  sets out basic principles to guide, as well as specific requirements to bind, all

  directors, officers, and employees of RenovaCare, who are required to know and




       55
      https://uploads.renovacareinc.com/wp-content/uploads/2021/06/23164403/
  Code-of-Corporate-Governance-And-Ethics.pdf (last accessed Nov. 11, 2022).

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  conduct themselves in accordance therewith, as well as applicable laws and

  regulations, and to avoid the appearance of improper behavior.

         301. The Code of Corporate Governance and Ethics specifically states that

  it “applies to all employees, officers and directors of RenovaCare Technologies,

  Inc., its subsidiaries and affiliates.”

         302. To further illustrate the importance and binding nature of the specific

  requirements placed upon Defendants Rayat and Bold, the Code of Corporate

  Governance and Ethics states that:

                RenovaCare’s reputation depends on you maintaining the
                highest standards of conduct in all business endeavors.
                You have a personal responsibility to protect this
                reputation, to “do the right thing,” and to act with honesty
                and integrity in all dealings with customers, business
                partners and each other. You should not take unfair
                advantage of anyone through manipulation,
                concealment, abuse of privileged information,
                misrepresentation of material facts, or any other unfair-
                dealing practice.

                                        *    *      *

                You are accountable for reading, understanding and
                adhering to this [Code of Corporate Governance and
                Ethics]. Further, compliance with all laws, rules and
                regulations related to Company activities is mandatory and
                your conduct must be such as to avoid even the appearance
                of impropriety.

  (Emphases added.)

         303. In a section titled, “Conflicts of Interest,” the Code of Corporate

  Governance and Ethics states the following:

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              Company policy prohibits conflicts of interest. A
              “conflict of interest” occurs when your private interest
              interferes in any way with the interests of RenovaCare.

                                   *      *     *

              You owe a duty to RenovaCare to advance its legitimate
              interests. You are prohibited from competing with the
              Company and from using corporate property,
              information or position for personal opportunities or
              gain. You may not use or offer for use RenovaCare
              resources (time, technology, property or information) for
              non RenovaCare business.

  (Emphases added.)

        304. The section of the Code of Corporate Governance and Ethics titled

  “Financial Management and Disclosure” states the following:

              The Company must disclose to the SEC, current security
              holders and the investing public information that is
              required, and any additional information that may be
              necessary to ensure the required disclosures are not
              misleading or inaccurate. The Company requires you to
              participate in the disclosure process, which is overseen
              by the [CFO] and/or [CEO].

                                   *      *     *

              Officers and employees must fully comply with their
              disclosure responsibilities in an accurate and timely
              manner or be subject to discipline of up to and including
              termination of employment.

  (Emphases added.)

        305. In a section titled, “Accounting Standards,” the Code of Corporate

  Governance and Ethics states the following:




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              RenovaCare maintains its accounting records and prepares
              its financial statements in accordance with accounting
              principles generally accepted in the U.S. (GAAP) and with
              statutory accounting principles, as promulgated by the
              [SEC] and other regulating authorities. If you are aware
              or have reason to believe that there are violations of
              either law or policy regarding the Company’s financial
              records or operations, you are obligated to report such
              information promptly.

  (Emphases added.)

        306. The section of the Code of Corporate Governance and Ethics titled

  “Reporting of Any Illegal or Unethical Behavior; Points of Contact” states further

  Defendants Rayat and Bold’s duty to disclose:

              If you are aware of any illegal or unethical behavior or if
              you believe that an applicable law, rule or regulation or
              this [Code of Corporate Governance and Ethics] has been
              violated, the matter must be promptly reported to the
              [CEO], the [CFO] or the Corporate Ethics & Compliance
              Committee.

        307. Upon information and belief, the Company maintained versions of the

  Code of Corporate Governance and Ethics during the Class Period that imposed

  the same, or substantially and materially the same or similar, duties on, among

  others, Defendants Rayat and Bold, as those set forth above.

        308. Defendants Rayat and Bold, as officers and/or directors of

  RenovaCare, were also bound by the Company’s Code Ethics (the “Code of




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  Ethics”),56 which, similar to the Company’s Code of Corporate Governance and

  Ethics, sets out basic principles to guide, as well as specific requirements to bind,

  all directors, officers, and employees of RenovaCare, who are required to know

  and conduct themselves in accordance therewith, as well as applicable laws and

  regulations, and to avoid the appearance of improper behavior.

          309. The Code of Ethics specifically states that it “applies to all [o]fficers,

  [d]irectors, and [e]mployees of the company and its affiliates.”

          310. In a section titled, “Standard of Conduct,” the Code of Ethics states

  the following:

                RenovaCare insists that all aspects of its business
                operations be conducted with honesty, integrity, fairness
                and with respect for those affected by its business
                activities. Similarly, RenovaCare expects the same in its
                relationships among those with whom it does business.

                All [e]mployees are expected to maintain and promote
                integrity and honesty in all business transactions.
                Employees must conduct themselves according to the
                highest ethical standards and are expected to apply ethical
                business practices in the administrative and financial
                affairs of RenovaCare business operations.

                There is no Code of Ethics that can expect to define
                suitable behavior for each situation, nor should it seek to
                do so. As such, [e]mployees are expected to exercise
                vigilance and make considered judgment of what is right
                and proper in any particular situation.


     56
      https://uploads.renovacareinc.com/wp-content/uploads/2021/06/23174631/
  Code-of-Ethics.pdf (last accessed Nov. 11, 2022).

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              While carrying out the business operations of
              RenovaCare, [e]mployees are expected to be accountable,
              truthful, trustworthy, conscientious, and committed to the
              highest standards of ethical business practices. As such,
              [e]mployees are required to avoid all impropriety as well
              as the appearance of impropriety when conducting
              RenovaCare business operations.

  (Emphasis added.)

        311. In a section titled, “Accuracy and Completeness of Accounting

  Records,” the Code of Ethics states the following:

              RenovaCare’s accounting and supporting documents must
              accurately and completely describe and represent the
              nature and result of RenovaCare’s business operations.
              The results and activities of RenovaCare’s operations
              must be presented in a fair and unbiased manner.

                                    *      *     *

              Misappropriation, wrongful allocation, or improper use
              of the Company’s assets and property, or the false entry
              to records and reports by any [e]mployee or by others
              must be reported to Board of RenovaCare.

  (Emphases added.)

        312. The section of the Code of Ethics titled “Accurate and Timely

  Communications” states Defendants Rayat and Bold’s duty to disclose:

              RenovaCare expects [e]mployees to be completely
              truthful and forthright in all internal and external
              interactions and communications, whether with
              shareholders, clients, government agencies, or others.

              Employees will ensure that all statements are accurate
              and complete with no misrepresentations which may
              mislead or misinform. In all cases, [e]mployees are


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               expected to provide full, prompt and accurate disclosure
               to governmental agencies.

  (Emphases added.)

        313. The section of the Code of Ethics titled “Disclosure Of Personal

  Interest” further states the regarding Defendants Rayat and Bold’s duty to disclose:

               RenovaCare [e]mployees are expected to fully disclose
               any personal interest(s) which could impinge or might
               reasonably be considered by others to conflict with their
               business dealings with industry.

               RenovaCare [e]mployees must not engage in personal
               activities and financial interests that may conflict with
               their responsibilities and obligations to the Company or
               give assistance to competitors, in conflict with the interests
               of RenovaCare or its clients.

  (Emphasis added.)

        314. In the section titled “Annual Acknowledgment,” the Company sets

  forth the requirement that each employee shall “sign a statement annually that he

  or she has read and understands RenovaCare’s Code of Ethics.”

        315. To further demonstrate the Company’s intention of making the Code

  of Ethics and its specific requirements binding on the RenovaCare employees, as

  well as Defendants Rayat and Bold, the Code of Ethics requires that the signed

  annual acknowledgment include a statement from the employee affirming “that he

  or she is in full compliance with the [Code of Ethics].”

        316. Defendants Rayat and Bold, because of their positions of control and

  authority as directors and/or officers of RenovaCare, were able to, and did, directly


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  and/or indirectly, exercise control over the wrongful acts complained of herein, as

  well as the contents of the various public statements issued by RenovaCare.

        317. Because of their advisory, executive, managerial, and directorial

  positions with RenovaCare, Defendants Rayat and Bold had access to adverse,

  non-public information about the financial condition, operations, and improper

  representations of RenovaCare.

        318. At all times relevant hereto, Defendants Rayat and Bold were the

  agent of each other and of RenovaCare and were at all times acting within the

  course and scope of such agency.

        319. By failing to promptly disclose and continue concealing

  RenovaCare’s promotional campaign with StreetAuthority, Defendants Rayat and

  Bold were in violation of the ethics policies for the reasons discussed herein.

        320. To discharge their duties, the officers and directors of RenovaCare

  were required to exercise reasonable and prudent supervision over the

  management, policies, practices, and controls of the financial affairs of the

  Company. By virtue of such duties, the officers and directors of RenovaCare were

  required to, among other things:

               a.    ensure that the Company complied with its legal obligations

                     and requirements, including acting only within the scope of its




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                   legal authority and disseminating truthful and accurate

                   statements to the investing public;

             b.    conduct the affairs of the Company in an efficient, business-like

                   manner so as to make it possible to provide the highest-quality

                   performance of its business, to avoid wasting the Company’s

                   assets, and to maximize the value of the Company’s stock;

             c.    properly and accurately guide shareholders and analysts as to

                   the true business practices, operations, and financial prospects

                   of the Company at any given time, including making accurate

                   statements about the Company’s business practices, operations,

                   and financial prospects, as well as its internal controls;

             d.    remain informed as to how RenovaCare conducted its

                   operations, and, upon receipt of notice or information of

                   imprudent or unsound conditions or practices, make reasonable

                   inquiry in connection therewith, and take steps to correct such

                   conditions or practices, and make such disclosures as necessary

                   to comply with securities laws; and

             e.    ensure that RenovaCare was operated in a diligent, honest, and

                   prudent manner in compliance with all applicable laws, rules,

                   and regulations.



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                VI.   DEFENDANTS’ MATERIALLY FALSE AND
                           MISLEADING STATEMENTS
          321. During the Class Period, Defendants made untrue statements of

  material facts or omitted to state material facts necessary in order to make the

  statements made, in light of the circumstances57 under which they were made, not

  misleading, and Defendants knew, or at least recklessly disregarded, that their

  representations were false and misleading at the time they made their

  representations for the following reasons as set for in more detail in Sections IV

  and V above. Specifically, Defendants failed to disclose to investors that: (i) at the

  direction of Rayat, RenovaCare engaged in a promotional campaign to issue

  misleading statements to artificially inflate the Company’s stock price; (ii) when

  the OTC Markets inquired, RenovaCare and Rayat issued a materially false and

  misleading press release claiming that no director, officer, or controlling

  shareholder had any involvement in the purported third party’s promotional

  materials; (iii) as a result of the foregoing, the Company’s disclosure controls and

  procedures were defective; and (iv) as a result of the foregoing, Defendants’




     57
        To the extent a false or misleading statement by Defendants that is identified
  in the paragraphs above is not repeated in this section, it is incorporated by
  reference.

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  positive statements about the Company’s business, operations, and prospects were

  materially misleading and/or lacked a reasonable basis.58

            322. The allegations set forth in this section are, in addition to the

  allegations above, a further basis for Lead Plaintiff’s Rule 10b-5(b) claim.

  A.        August 14, 2017 Form 10-Q Filing Misrepresented Effectiveness of
            RenovaCare’s Disclosure Controls and Failed to Disclose the Stock
            Promotion Risk

            323. The Class Period begins on August 14, 2017, when RenovaCare filed

  its quarterly report on Form 10-Q with the SEC for the period ended June 30, 2017.

  This report was signed by Defendant Bold, and stated, in relevant part:

                  Based on [an] evaluation the CEO has concluded that as
                  of the end of the period covered by this report, our
                  disclosure controls and procedures are effective in
                  ensuring that: (i) information required to be disclosed by
                  us in reports that we file or submit to the SEC under the
                  Exchange Act is recorded, processed, summarized and
                  reported within the time periods specified in applicable
                  rules and forms and (ii) material information required to
                  be disclosed in our reports filed under the Exchange Act is
                  accumulated and communicated to our management,
                  including our CEO, as appropriate, to allow for accurate
                  and timely decisions regarding required disclosure.




       58
       The statements quoted in this section in bold and italicized typeface are
  materially false or misleading for the reasons set forth herein. Additionally, as
  specifically indicated below, many of the identified statements are alleged to have
  been false or misleading by omission. Thus, additional text is provided for context
  and in support of these statements’ allegedly omissive nature.

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        324. Defendants’ representations concerning the effectiveness of

  RenovaCare’s disclosure controls was materially false and misleading for the

  reasons set forth in Section V above.

        325. Defendants’ representations were also materially false and misleading

  because there Defendants fail to disclose and omit that that the promotional

  campaign, and any consequences associated with it as discussed herein, was a risk

  factor to the Company’s stock price. Instead, Defendants simply state under Item

  1A (Risk Factors): “Smaller reporting companies are not required to provide the

  information required by this item” and do not disclose any risk factors (Defendants

  do this in all of the Company’s 10-Q filings during the Class Period).

        326. From October 2017 until at least January 2018, StreetAuthority

  actively disseminated its RenovaCare promotional materials, including the

  aforementioned Predictions Report, on the internet and to its subscriber base.

  B.    October 18, 2017 Prospectus Supplement Failed to Disclose Stock
        Promotion Risk

        327. On October 18, 2017, RenovaCare filed a Prospectus Supplement to

  RenovaCare’s Prospectus dated May 17, 2017. The Prospectus Supplement was

  signed by Defendant Bold. There is no mention in the “Risks Relating to this

  Offering of Securities” and “Risks Related To Ownership of Our Common Stock”

  sections that the stock promotion campaign was a risk factor to the Company.

  Additionally, even though Defendants mention RenovaCare’s stock being listed on


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  OTC Markets and the possibility of being downgraded, there is no discussion of

  unlawful stock promotion as a risk that could cause such downgrading.

        328. The foregoing statements were materially false or misleading and/or

  failed to disclose material facts necessary to make the statements made, in light of

  the circumstances under which they were made, not misleading, for the reasons

  identified in Section V above.

  C.    November 14, 2017 Form 10-Q Filing Misrepresented Effectiveness of
        RenovaCare’s Disclosure Controls

        329. On November 14, 2017, RenovaCare filed its quarterly report on

  Form 10-Q with the SEC for the period ended September 30, 2017. The report was

  signed by Defendant Bold and stated, in relevant part:

               Based on [an] evaluation the CEO has concluded that as
               of the end of the period covered by this report, our
               disclosure controls and procedures are effective in
               ensuring that: (i) information required to be disclosed by
               us in reports that we file or submit to the SEC under the
               Exchange Act is recorded, processed, summarized and
               reported within the time periods specified in applicable
               rules and forms and (ii) material information required to
               be disclosed in our reports filed under the Exchange Act is
               accumulated and communicated to our management,
               including our CEO, as appropriate, to allow for accurate
               and timely decisions regarding required disclosure.

        330. Defendants’ representations concerning the effectiveness of

  RenovaCare’s disclosure controls was materially false and misleading for the

  reasons set forth in Section V above.



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  D.    Defendants’ January 8, 2018 Statement Responding to OTC Markets’
        Letter (the January 8 Press Release)

        331. On January 8, 2018, RenovaCare issued an unsigned statement

  “comment[ing] on recent market activity.” Specifically, the Company issued a

  press release stating:

               [O]n January 3rd, 2018, OTC Markets . . . informed the
               Company that OTC Markets had become aware of
               promotional activities concerning the Company.

               OTC Markets provided an example, dated January 2nd,
               2018, of the promotional material for reference. It is the
               Company’s understanding that the material provided was
               part of an annual predictions report used in part to generate
               new subscribers for various newsletters owned by
               StreetAuthority LLC, an independent publisher founded in
               2001. The Company had no editorial control over the
               content and was one of thirteen companies independently
               selected, researched and mentioned. The annual
               predictions report was disseminated during the last quarter
               of 2017. During this time, 2,190,000 shares traded, only
               2% more than the average quarterly volume of 2,139,375
               shares during all of 2017.

               Subsequently, later in the 4th quarter, a material
               announcement regarding a failed challenge to a
               RenovaCare patent was made public. On December 20th,
               2017, a press release was issued by Avita Medical Limited
               disclosing that its petition for an Inter Partes Review with
               the Patent Trial and Appeal Board (“PTAB”) to invalidate
               all claims in U.S. Patent No. 9,610,430 (owned by the
               Company) was denied. This press release was followed by
               an article in Stockhead on December 21st, 2017, which
               more fully reported on the PTAB denying Avita Medical
               Limited’s petition, and, thereby, upholding the
               patentability of RenovaCare’s technology.



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             After the issuance of Avita Medical’s press release and the
             follow-up article in Stockhead on December 21st, 2017,
             the trading volume of the Company’s common stock
             increased 84% to 62,829 shares per day between
             December 20th and December 29th, versus 32,720 per day
             previously between December 1st through December
             19th, 2017.

             The Company is not affiliated in any way with the
             authors of the annual predictions report or its publisher.
             The Company issues press releases in the regular course
             of business and includes in its filings (the “SEC Filings”)
             with the [SEC] the material business activities of the
             Company, and investors are encouraged to rely on the
             information provided directly by the Company in such
             press releases and SEC Filings.

             In the report, the substance of the material statements
             pertaining to the Company’s technology and products
             are not materially false or misleading, even though the
             report has significantly simplified the descriptions of the
             clinical indications and outcomes related to the use of the
             Company’s cell spray for the treatment of burns and
             wounds, and used promotional, advisory and superfluous
             language in describing the Company, its products and its
             stock. Moreover, the author comments on the Company’s
             interaction with the U.S. Food and Drug Administration
             and the performance of RenovaCare’s stock. The
             Company does not know the basis for such opinions or
             conclusions arrived-at by the author. Investors are
             reminded to rely upon the Company’s own statements,
             press releases, and filings with the SEC for information
             related to these matters.

             Following notification from OTCQB Markets, the
             Company immediately made inquiries of its executive
             officers, directors, controlling shareholders (i.e.,
             shareholders owning 10% or more of the Company’s
             securities) and third-party service providers regarding
             their involvement in the creation or distribution of


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             promotional materials related to the Company and its
             securities.

             To the Company’s knowledge, the Company, its
             executive officers, directors or, its controlling
             shareholder, or any third-party service providers have,
             directly or indirectly:

                       not been involved in any way (including
                        payment of a third-party) with the creation or
                        distribution of promotional materials, including
                        the annual predictions report, related to the
                        Company and its securities; and

                       not sold or purchased (other than in than in
                        private placements conducted by the Company
                        as described below) any shares of common stock
                        of the Company within the last 90 days. The
                        Company’s former service provider, Inspiren
                        Media LLC, originally acquired 5,000 shares of
                        the Company on July 25th, 2008 and sold on
                        January 3rd, 2018, after termination of its
                        agreement with the Company. All activity in the
                        Company’s common stock by the Company’s
                        executive officers, directors and controlling
                        shareholders has been disclosed by such officer,
                        director and shareholder in the Company’s SEC
                        Filings.

             The Company was not involved in the creation, or
             directing the dissemination, of the report. Through its
             investor relations agencies, the Company paid $90,005.25
             between October 24th, 2017 and January 2nd, 2018, as
             part of its contractual agreement to pay for out of pocket
             costs, including reimbursement of dissemination related
             costs, incurred by the investor relations agency.

  (Emphases added.)




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        332. The foregoing statements were materially false or misleading and/or

  failed to disclose material facts necessary to make the statements made, in light of

  the circumstances under which they were made, not misleading, for the reasons

  identified in Section V above.

  E.    February 12, 2018 Form S-1 Filing Failed to Disclose Stock Promotion
        Risk

        333. The Company filed its Form S-1 on February 12, 2018. The Form S-1

  was signed by Defendant Bold. It is materially misleading and false because of the

  same deficiencies in the October 18, 2017 Prospectus Supplement filing (see

  above). There is no mention in the “Risks Relating to this Offering of Securities”

  and “Risks Related To Ownership of Our Common Stock” sections that the stock

  promotion campaign was a risk factor to the Company. Additionally, even though

  Defendants mention RenovaCare’s stock being listed on OTC Markets and the

  possibility of being downgraded, there is no discussion of unlawful stock

  promotion as a risk that could cause such downgrading.

  F.    February 27, 2018 Form 8-K Filing Omitted Disclosure of the
        Promotional Campaign with StreetAuthority

        334. On February 27, 2018, RenovaCare filed its Form 8-K with the SEC

  for the period ended February 21, 2018. The Form 8-K was signed by Defendant

  Bold. RenovaCare again failed to acknowledge or describe its relationship with

  StreetAuthority despite already having been downgraded by OTC Markets at the



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  time of filing the Form 8-K. Further, the Company failed to provide an adequate

  response to investigative reporting website TheStreetSweeper’s February 12, 2018

  Seeking Alpha article, as discussed herein. Thus, RenovaCare misrepresented the

  risks associated with its ongoing promotional campaign by completely omitting

  discussion of it and risks associated with negative reporting surrounding it.

        335. Defendant RenovaCare’s February 27, 2018 Form 8-K was materially

  false or misleading and/or failed to disclose material facts necessary to make the

  statements made, in light of the circumstances under which they were made, not

  misleading, for the reasons identified in Section V above.

  G.    March 13, 2018 Form 10-K Filing Misrepresented Effectiveness of
        RenovaCare’s Disclosure Controls

        336. On March 13, 2018, RenovaCare filed its annual report on Form 10-K

  with the SEC for the period ended December 31, 2017. The Form 10-K was signed

  by Defendant Bold. That annual report stated, in relevant part:

               Based on [an] evaluation, management, after evaluating
               the effectiveness of our “disclosure controls and
               procedures” (as defined in Exchange Act Rules 13a-15(e)
               and 15d-15(e)), have concluded that, as of December 31,
               2017, our disclosure controls and procedures were
               effective in providing reasonable assurance regarding the
               reliability of financial reporting and the preparation of
               financial statements for external purposes in accordance
               with U.S. generally accepted accounting principles.




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        337. Defendants’ representations concerning the effectiveness of

  RenovaCare’s disclosure controls was materially false and misleading for the

  reasons set forth in Section V above.

  H.    April 6, 2018 Form S-1/A Filing Failed to Disclose Stock Promotion
        Risk

        338. The Company filed its Form S-1/A on April 6, 2018. The Form S-1/A

  was signed by Defendants Bold and Rayat. It is materially misleading and false

  because of the same deficiencies in the October 18, 2017, Prospectus Supplement

  filing (see above). There is no mention in the “Risks Relating to this Offering of

  Securities” and “Risks Related To Ownership of Our Common Stock” sections that

  the stock promotion campaign was a risk factor to the Company.

        339. Additionally, even though there is mention of RenovaCare’s stock

  being listed on OTC Markets and the possibility of being downgraded, there is no

  discussion of unlawful stock promotion as a risk that could cause such

  downgrading.

        340. RenovaCare, however, informed the market that RenovaCare’s stock

  would be quoted by OTC Markets using the caveat emptor designation.

  RenovaCare states, in relevant part, the following in its filing:

               Prior to February 26, 2018, our stock was included for
               trading on the OTCQB; on February 23, 2018 we received
               an email notification from OTC Markets Group, Inc. (the
               “OTC Markets”) which regulates the OTCQB informing
               us that effective immediately, our stock would be quoted


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               on the OTCPINK and that a caveat emptor designation
               would be assigned to our stock. This action was taken by
               OTC Markets pursuant to Section 4.2 of the OTCQB
               Standards, which generally provide that the OTC Markets
               may remove the Company’s securities from trading on the
               OTCQB market immediately and at any time, without
               notice, if OTC Markets, in its sole and absolute discretion,
               believes that the continued inclusion of the Company’s
               securities would impair the reputation or the integrity of
               OTC Markets or be detrimental to the interests of
               investors. Such concerns may include but are not limited
               to promotion, spam or disruptive corporate actions even
               when adequate current information is available.

                                      *     *      *

               While the Company is addressing the OTC Markets
               concerns, there is no assurance that it will be able to do so
               to the satisfaction of the OTC Markets. In the event we do
               not submit an application for listing on the OTCQB or if
               we do and the application is not approved, we expect that
               our stock will continue to trade on the OTCPINC, which
               could adversely affect the market liquidity of our common
               stock.

  (Emphases added.)

        341. Although RenovaCare mentions the OTC Markets’ investigation, this

  statement is false and misleading and omits material facts because it failed to

  disclose the underlying reason for the OTC Markets’ investigation (the

  promotional campaign and the risks it would cause (two risks being the OTC

  Markets downgrade and SEC action)). Rather, RenovaCare misled the market and

  glosses over the promotional campaign as the primary risk and cause for the OTC

  Markets investigation by stating: “Such concerns may include but are not limited



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  to promotion, spam or disruptive corporate actions even when adequate current

  information is available.” (Emphasis and underlining added.)

  I.    April 25, 2018 Prospectus Filing Failed to Disclose Stock Promotion
        Risk

        342. The Company filed its Prospectus on April 25, 2018. It is materially

  misleading and false because of the same deficiencies in the October 18, 2017

  Prospectus Supplement filing (see above). There is no mention in the “Risks

  Relating to this Offering of Securities” and “Risks Related To Ownership of Our

  Common Stock” sections that the stock promotion campaign was a risk factor to

  the Company. Additionally, even though there is mention of RenovaCare’s stock

  being listed on OTC Markets and the possibility of being downgraded, there is no

  discussion of unlawful stock promotion as a risk that could cause such

  downgrading.

        343. The Prospectus also provides the exact same, non-specific disclosure

  of the OTC Markets’ investigation that was previously disseminated in the

  Company’s April 6, 2018 Form S-1/A, and also did not explain the underlying

  reason (the promotional campaign and the associated risks) for the OTC Markets

  investigation. Because of this, this disclosure was false and misleading for the

  same reasons as the April 6, 2018 Form S-1/A filing.




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  J.    April 12, 2019 Form 10-K Filing Failed to Disclose Stock Promotion
        Risk

        344. The Company filed its Form 10-K on April 19, 2019. The Form 10-K

  was signed by Defendant Ryat. It is materially misleading and false because there

  is no mention in the “Risk Factors” section that the stock promotion campaign was

  a risk factor to the Company. Additionally, even though there is mention of

  RenovaCare’s stock being listed on OTC Markets and the possibility of being

  downgraded, there is no discussion of unlawful stock promotion as a risk that

  could cause such downgrading.

  K.    May 14, 2020 Form 10-K Filing Failed to Disclose Stock Promotion Risk

        345. The Company filed its Form 10-K on May 14, 2020. The Form 10-K

  was signed by Defendant Rayat. It is materially misleading and false because there

  is no mention in the “Risk Factors” section that the stock promotion campaign was

  a risk factor to the Company. Additionally, even though there is mention of

  RenovaCare’s stock being listed on OTC Markets and the possibility of being

  downgraded, there is no discussion of unlawful stock promotion as a risk that

  could cause such downgrading.

  L.    Defendants’ February 12, 2018 Response to the StreetSweeper Article

        346. On February 12, 2018, RenovaCare issued a press release entitled

  “RenovaCare Issues Stern Response to Admitted Short-Seller, Streetsweeper,

  Affiliated with Felon Convicted of Securities Fraud.”


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        347. Specifically, RenovaCare stated in its response that the StreetSweeper

  Article was “spreading ‘short and distort’ commentary on companies it targets for

  short selling, in this case RenovaCare.” The Company quoted Defendant Thomas

  Bold and stated, “‘We will not be distracted by the irresponsible and nefarious

  actions of these short sellers and a handful of internet posters…. ‘We have an

  obligation to expose those who prey on our shareholders for short-term profits and

  attempt to damage the public trust.’”

        348. The foregoing statements were materially false or misleading and/or

  failed to disclose material facts necessary to make the statements made, in light of

  the circumstances under which they were made, not misleading, for the reasons

  identified in Section V above. Specifically, RenovaCare failed to make any

  disclosure of its ongoing promotional campaign relationship and payment

  arrangement with StreetAuthority.

        349. Moreover, RenovaCare’s immediate follow-up press releases on

  February 15, 2018, and February 21, 2018, to further distract from the

  StreetSweeper’s article and touting RenovaCare’s FDA relationship and

  intellectual property portfolio was materially false and/or misleading for the

  reasons identified in Section V above.




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  M.    Defendants’ March 5, 2018 Press Release Regarding Short-Sellers

        350. On March 5, 2018, RenovaCare issued a press release entitled

  “RenovaCare Takes Action to Protect Shareholder Interests.” In discussing the

  StreetSweeper Article, the press release stated that “These short sellers spread false

  rumors and innuendos of impropriety with business affiliates, partners, and

  collaborators to disparage the good reputation of RenovaCare and thereby

  enhancing their profit at the expense of Company stockholders. Often, this is

  accomplished by the ‘short and distort’ syndicate enlisting members of the media

  and others, who may unwittingly write stories based on the grossly misleading and

  inaccurate statements of fact.”

        351. RenovaCare then advocated its position in protecting shareholders:

  “RenovaCare strongly believes that it has an obligation to protect its stockholders

  from adverse financial and reputational harm caused by these unfounded and

  potentially illegal activities. Such actions undermine the integrity of the Company,

  its management and its majority stockholder, Kalen Capital Corporation.”

        352. Additionally, RenovaCare falsely and misleading misrepresented that,

  “RenovaCare confirms that none of its officers and directors have ever sold any

  Company shares; and, its majority stockholder, Kalen Capital Corporation, has not

  sold any Company shares since 2008.”




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        353. The foregoing statements were materially false or misleading and/or

  failed to disclose material facts necessary to make the statements made, in light of

  the circumstances under which they were made, not misleading, for the reasons

  identified in Section V above. Specifically, RenovaCare failed to make any

  disclosure of its ongoing promotional campaign relationship and payment

  arrangement with StreetAuthority. This directly contradicts RenovaCare’s

  representation that it “strongly believes that it has an obligation to protect its

  stockholders from adverse financial and reputational harm[.]” If RenovaCare

  sought to protect investors, it would have disclosed its paid promotional campaign

  with StreetAuthority and investors would have avoided being harmed when their

  share prices dropped as a result of the SEC’s May 28, 2018 action brought almost

  three years after this press release was issued. Lastly, contrary to the press release’s

  representation, Rayat, an officer/director of RenovaCare, was indirectly engaged in

  the sale of RenovaCare’s stock through third-party entities, Bhogal, Sidhu, and

  Kalen Capital Corporation; and they engaged in trading activity to manipulate the

  stock price and profit.

                            VII. THE TRUTH EMERGES
  A.    Corrective Disclosure: the SEC Complaint Alleging That Defendants
        Committed Securities Fraud by Failing to Disclose RenovaCare’s
        Promotional Campaign with StreetAuthority

        354. More of the truth emerged on May 28, 2021, when the SEC issued a

  litigation release stating that RenovaCare was being charged with alleged securities

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  fraud because of RenovaCare’s undisclosed promotional campaign with

  StreetAuthority. According to the SEC’s initially-filed complaint, between July

  2017 and January 2018, Rayat “arranged, and caused RenovaCare to pay for, a

  promotional campaign designed to increase the company’s stock price.” In January

  2018, when OTC Markets had requested that RenovaCare explain its relationship

  to the promotion, the complaint alleges that “Rayat and RenovaCare then drafted

  and issued a press release and a Form 8-K that contained material

  misrepresentations and omissions denying Rayat’s and the company’s involvement

  in the promotion.”

        355. Specifically, “Rayat was closely involved in directing the promotion

  and editing promotional materials,” by providing “false information to

  StreetAuthority regarding the efficacy of RenovaCare’s experimental burn-wound

  healing medical device.” Among other things, these promotional materials

  described a patient who purportedly recovered from severe burns in three days

  using RenovaCare’s SkinGun, when in reality, the “before” and “after” pictures

  were taken five years apart. The materials also claimed that SkinGun “could soon

  be approved by the FDA [U.S. Food and Drug Administration] …. RenovaCare

  has submitted a 510(k) filing to the FDA ….” However, at the time, the Company

  did not have a pending 510(k) application and had withdrawn its only application

  (seeking approval for use in clinical studies).



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        356. The initially-filed SEC complaint also alleged that Rayat arranged for

  monthly payments to the publisher “to be made through third parties for the

  fraudulent purpose of concealing Rayat’s and the company’s involvement.”

  According to the complaint, Rayat knew or was reckless in not knowing that the

  publisher was required to disclose payments from RenovaCare pursuant to Section

  17(b) of the Securities Act of 1933, especially because in 2000, Rayat had settled a

  case with the SEC for violating the same statute.

        357. On this news, the Company’s stock price fell $0.66, or 24.8 percent,

  over three consecutive trading sessions to close at $2.00 per share on June 2, 2021.

        358. On August 30, 2022, the SEC filed an Amended Complaint against

  RenovaCare and Rayat alleging substantially the same allegations alleged herein.

  As is the case here, Bhogal, Sidhu, Fleming, Treadstone Ltd., Treadstone LLC,

  Blackbriar Ltd., and Alberta Ltd. were also added as Defendants. The Amended

  Complaint expanded and clarified the initial complaint, and provided additional

  details, including background information, regarding Defendants’ fraudulent stock

  promotion scheme as detailed herein.




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  B.        RenovaCare’s Responsive Press Release Fails to Rebut Any Allegations
            in the SEC’s Initial Complaint and Fails to Address Allegations
            Concerning the StreetAuthority Promotional Campaign

            359. On June 1, 2021, RenovaCare issued a press release entitled

  “RenovaCare Responds to SEC Complaint”59 broadly stating that “it intends to

  vigorously defend itself and its stockholders against” the SEC’s allegations.

  Although RenovaCare stated that it “looks forward to presenting tangible evidence

  in support of its position,” the Company did not describe what tangible evidence

  contradicted any of the SEC’s allegations or the allegations contained herein

  related to the covert promotional campaign carried out by Defendants.

            360. Instead, the Company side-stepped addressing the SEC’s allegations

  and states a red herring, touting that it “was granted full investigational Device

  Exemption by the FDA, enabling the Company to conduct a clinical trial to

  evaluate the safety and feasibility of its SkinGun™ and CellMist™ System for the

  treatment of burn wounds using skin cells obtained directly from the patient.” The

  Company further stated that it intended to “initiate the clinical trial soon at four

  U.S. burn centers” to maintain investor optimism.

            361. In a further effort to distract investors from the SEC lawsuit, the

  Company reiterated that “The Company’s SkinGun™ and CellMist™ System has



       59
      https://www.renovacareinc.com/2021/06/renovacare_responds_to_sec_
  complaint/ (last accessed Nov. 11, 2022).

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  been developed as a potential alternative to skin grafting and other treatment

  options, such as in vitro cultured skin epithelial cells that require a specialized and

  expensive external laboratory. In late 2019, RenovaCare was issued a patent

  allowing the Company’s novel SkinGun™ device to spray a variety of tissues and

  cells, thus opening the door for its potential application in the regeneration of other

  tissues, beyond skin[.]”

        362. RenovaCare has not provided any further follow-up responses to the

  SEC’s litigation and has not yet completed FDA clinical trials to evaluate the

  safety and feasibility of its SkinGun. In fact, on May 3, 2022, RenovaCare

  announced the termination of research and development for its StemCell Systems

  and SkinGun spray device. Given these developments, it is doubtful that

  RenovaCare will continue as a going concern.

        363. Lastly, RenovaCare has not publicly responded at all to the SEC’s

  allegations, including extensive allegations in the SEC’s Amended Complaint,

  concerning its undisclosed promotional campaign with StreetAuthority.

          VIII. LEAD PLAINTIFF’S CLASS ACTION ALLEGATIONS
        364. Lead Plaintiff brings this action as a class action pursuant to Federal

  Rule of Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all

  persons and entities that purchased or otherwise acquired RenovaCare securities

  during the Class Period, and who were damaged thereby (the “Class”). Excluded



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  from the Class are Defendants, the officers and directors of the Company, at all

  relevant times, members of their immediate families and their legal representatives,

  heirs, successors, or assigns, and any entity in which Defendants have or had a

  controlling interest.

        365. The members of the Class are so numerous that joinder of all

  members is impracticable. Throughout the Class Period, RenovaCare’s shares

  actively traded on the OTC. While the exact number of Class members is unknown

  to Lead Plaintiff at this time and can only be ascertained through appropriate

  discovery, Lead Plaintiff believes that there are at least hundreds or thousands of

  members in the proposed Class. Millions of RenovaCare shares were traded

  publicly during the Class Period on the OTC. Record owners and other members of

  the Class may be identified from records maintained by RenovaCare or its transfer

  agent and may be notified of the pendency of this action by mail, using the form of

  notice similar to that customarily used in securities class actions.

        366. Lead Plaintiff’s claims are typical of the claims of the members of the

  Class as all members of the Class are similarly affected by Defendants’ wrongful

  conduct in violation of federal law that is complained of herein.

        367. Lead Plaintiff will fairly and adequately protect the interests of the

  members of the Class and has retained counsel competent and experienced in class

  and securities litigation.



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        368. Common questions of law and fact exist as to all members of the

  Class and predominate over any questions solely affecting individual members of

  the Class. Among the questions of law and fact common to the Class are:

               a.     whether the federal securities laws were violated by

                      Defendants’ acts as alleged herein;

               b.     whether statements made by Defendants to the investing public

                      during the Class Period omitted and/or misrepresented material

                      facts about the business, operations, and prospects of

                      RenovaCare; and

               c.     to what extent the members of the Class have sustained

                      damages and the proper measure of damages.

        369. A class action is superior to all other available methods for the fair

  and efficient adjudication of this controversy since joinder of all members is

  impracticable. Furthermore, as the damages suffered by individual Class members

  may be relatively small, the expense and burden of individual litigation makes it

  impossible for members of the Class to individually redress the wrongs done to

  them. There will be no difficulty in the management of this action as a class action.

                       IX.    PRESUMPTION OF RELIANCE:
                              FRAUD-ON-THE-MARKET AND
                             AFFILIATED UTE PRESUMPTIONS
        370. The market for RenovaCare’s securities was open, well-developed

  and efficient at all relevant times. As a result of the materially false and/or

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  misleading statements and/or failures to disclose, RenovaCare’s securities traded at

  artificially inflated prices during the Class Period. On February 21, 2018, the

  Company’s share price closed at a Class Period high of $10.65 per share. Lead

  Plaintiff and other members of the Class purchased or otherwise acquired the

  Company’s securities relying upon the integrity of the market price of

  RenovaCare’s securities and market information relating to RenovaCare, and have

  been damaged thereby.

        371. During the Class Period, the artificial inflation of RenovaCare’s

  shares was caused by the material misrepresentations and/or omissions

  particularized in this Complaint, causing the damages sustained by Lead Plaintiff

  and other members of the Class. As described herein, during the Class Period,

  Defendants made or caused to be made a series of materially false and/or

  misleading statements about RenovaCare’s business, prospects, and operations.

  These material misstatements and/or omissions created an unrealistically positive

  assessment of RenovaCare and its business, operations, and prospects, thus causing

  the price of the Company’s securities to be artificially inflated at all relevant times,

  and when disclosed, negatively affected the value of the Company’s shares.

  Defendants’ materially false and/or misleading statements during the Class Period

  resulted in Lead Plaintiff and other members of the Class purchasing the




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  Company’s securities at such artificially inflated prices, and each of them has been

  damaged as a result.

        372. At all relevant times, the market for RenovaCare’s securities was an

  efficient market for the following reasons, among others:

               a.    RenovaCare shares met the requirements for listing, and were

                     listed and actively traded on the OTC, a highly efficient and

                     automated market;

               b.    As a regulated issuer, RenovaCare filed periodic public reports

                     with the SEC and/or the OTC;

               c.    RenovaCare regularly communicated with public investors via

                     established market communication mechanisms, including

                     through regular dissemination of press releases on the national

                     circuits of major newswire services and through other wide-

                     ranging public disclosures, such as communications with the

                     financial press and other similar reporting services; and/or

               d.    RenovaCare was followed by securities analysts employed by

                     brokerage firms who wrote reports about the Company, and

                     these reports were distributed to the sales force and certain

                     customers of their respective brokerage firms. Each of these




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                      reports was publicly available and entered the public

                      marketplace.

        373. As a result of the foregoing, the market for RenovaCare’s securities

  promptly digested current information regarding RenovaCare from all publicly

  available sources and reflected such information in RenovaCare’s share price.

  Under these circumstances, all purchasers of RenovaCare’s securities during the

  Class Period suffered similar injury through their purchase of RenovaCare’s

  securities at artificially inflated prices and a presumption of reliance applies.

        374. A class-wide presumption of reliance is also appropriate in this action

  under the Supreme Court’s holding in Affiliated Ute Citizens of the State of Utah v.

  United States, 406 U.S. 128 (1972), because the Class’s claims are, in large part,

  grounded on Defendants’ material misstatements and/or omissions. Because this

  action involves Defendants’ failure to disclose material adverse information

  regarding the Company’s business operations and financial prospects—information

  that Defendants were obligated to disclose—positive proof of reliance is not a

  prerequisite to recovery. All that is necessary is that the facts withheld be material

  in the sense that a reasonable investor might have considered them important in

  making investment decisions. Given the importance of the Class Period material

  misstatements and omissions set forth above, that requirement is satisfied here.




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                               X.      NO SAFE HARBOR
        375. The statutory safe harbor provided for forward-looking statements

  under certain circumstances does not apply to any of the allegedly false statements

  pleaded in this Complaint. The statements alleged to be false and misleading herein

  all relate to then-existing facts and conditions. In addition, to the extent certain of

  the statements alleged to be false may be characterized as forward looking, they

  were not identified as “forward-looking statements” when made and there were no

  meaningful cautionary statements identifying important factors that could cause

  actual results to differ materially from those in the purportedly forward-looking

  statements. In the alternative, to the extent that the statutory safe harbor is

  determined to apply to any forward-looking statements pleaded herein, Defendants

  are liable for those false forward-looking statements because at the time each of

  those forward-looking statements was made, the speaker had actual knowledge that

  the forward-looking statement was materially false or misleading, and/or the

  forward-looking statement was authorized or approved by an executive officer of

  RenovaCare who knew that the statement was false when made.

                 XI.    ADDITIONAL SCIENTER ALLEGATIONS
        376. As alleged herein, Defendants acted with scienter since Defendants

  knew that the public documents and statements issued or disseminated in the name

  of the Company were materially false and/or misleading; knew that such

  statements or documents would be issued or disseminated to the investing public;

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  and knowingly and substantially participated or acquiesced in the issuance or

  dissemination of such statements or documents as primary violations of the federal

  securities laws. As set forth elsewhere herein in detail, Defendants Rayat and Bold,

  by virtue of their receipt of information reflecting the true facts regarding

  RenovaCare, their control over, and/or receipt and/or modification of

  RenovaCare’s allegedly materially misleading misstatements and/or their

  associations with the Company which made them privy to confidential proprietary

  information concerning RenovaCare, participated in concert with the other

  Defendants to perpetuate the fraudulent scheme alleged herein.

        377. Lead Plaintiff reincorporates and repeats the above substantive

  allegations relating to Defendants’ scienter in this section.

                               XII. LOSS CAUSATION
        378. The market for RenovaCare’s securities was open, well-developed

  and efficient at all relevant times. As a result of these materially false and/or

  misleading statements, and/or failures to disclose, RenovaCare’s securities traded

  at artificially inflated prices during the Class Period. Lead Plaintiff and other

  members of the Class purchased or otherwise acquired RenovaCare’s securities

  relying upon the integrity of the market price of the Company’s securities and

  market information relating to RenovaCare, and have been damaged thereby.




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        379. During the Class Period, Defendants materially misled the investing

  public, thereby inflating the price of RenovaCare’s securities, by publicly issuing

  false and/or misleading statements and/or omitting to disclose material facts

  necessary to make Defendants’ statements, as set forth herein, not false and/or

  misleading. The statements and omissions were materially false and/or misleading

  because they failed to disclose material adverse information and/or misrepresented

  the truth about RenovaCare’s business, operations, and prospects as alleged herein.

        380. At all relevant times, the material misrepresentations and omissions

  particularized in this Complaint directly or proximately caused or were a

  substantial contributing cause of the damages sustained by Lead Plaintiff and other

  members of the Class. As described herein, during the Class Period, Defendants

  made or caused to be made a series of materially false and/or misleading

  statements about RenovaCare’s financial well-being and prospects. These material

  misstatements and/or omissions had the cause and effect of creating in the market

  an unrealistically positive assessment of the Company and its financial well-being

  and prospects, thus causing the Company’s securities to be overvalued and

  artificially inflated at all relevant times. Defendants’ materially false and/or

  misleading statements during the Class Period resulted in Lead Plaintiff and other

  members of the Class purchasing the Company’s securities at artificially inflated




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  prices, thus causing the damages complained of herein when the truth was

  revealed.

          381. Consequently because of the allegations described herein, on February

  23, 2018, OTC Markets downgraded RenovaCare’s stock to the OTC Pink Open

  Market Tier and placed a “Caveat Emptor” skull and crossbones label on

  RenovaCare’s company profile due to the ongoing promotional activity. The

  company’s stock price simultaneously dropped approximately 30 percent, from $9

  per share to $6.28 per share.

          382. Then, on May 28, 2021, the SEC issued a litigation release stating that

  RenovaCare was being charged with securities fraud because the truth was

  revealed of the Company’s undisclosed promotional campaign with

  StreetAuthority.60 In response to the SEC action, on June 1, 2021, RenovaCare

  issued a press release entitled “RenovaCare Responds to SEC Complaint”61

  broadly stating that “it intends to vigorously defend itself and its stockholders

  against” the SEC’s allegations. The Company’s stock price fell $0.66, or 24.8




     60
       https://www.sec.gov/litigation/litreleases/2021/lr25102.htm (last accessed
  Nov. 11, 2022); see also SEC v. Rayat and RenovaCare, Inc., No. 1:21-cv-04777
  (S.D.N.Y.).
     61
      https://www.renovacareinc.com/2021/06/renovacare_responds_to_sec_
  complaint/ (last accessed Nov. 11, 2022).

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  percent, over three consecutive trading sessions to close at $2.00 per share on

  June 2, 2021.

                                      COUNT I
                   (Violations of Section 9(e) of the Exchange Act
                        Against Bhogal, Sidhu, and Fleming)

        383. Lead Plaintiff repeats and re-alleges each and every allegation

  contained above as if fully set forth herein.

        384. By engaging in the conduct alleged in the Complaint, specifically by

  conducting the manipulative trading in RenovaCare shares alleged in this

  Complaint, Bhogal, Sidhu, and Fleming, directly or indirectly, by use of the mails

  or any means or instrumentality of interstate commerce, or any facility of any

  national securities exchange, or for any member of a national securities exchange,

  with specific intent, effected, alone or with persons, a series of transactions in

  RenovaCare securities that created the actual or apparent trading in such security,

  or raised or depressed the price of such security, for the purpose of inducing the

  purchase or sale of such security by others.

        385. By reason of the foregoing, Bhogal, Sidhu, and Fleming violated, and,

  unless restrained and enjoined, will again violate Section 9(e) of the Exchange Act,

  15 U.S.C. § 78i(a).




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                                     COUNT II
        (Violations of Section 10(b) of the Exchange Act and Rule 10b-5(b)
                 Promulgated Thereunder Against All Defendants)

        386. Lead Plaintiff repeats and re-alleges each and every allegation

  contained above as if fully set forth herein.

        387. During the Class Period, Defendants carried out a plan, scheme, and

  course of conduct which was intended to and, throughout the Class Period, did:

  (i) deceive the investing public, including Lead Plaintiff and other Class members,

  as alleged herein; and (ii) cause Lead Plaintiff and other members of the Class to

  purchase RenovaCare’s securities at artificially inflated prices. In furtherance of

  this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

  took the actions set forth herein.

        388. Defendants (i) employed devices, schemes, and artifices to defraud;

  (ii) made untrue statements of material fact and/or omitted to state material facts

  necessary to make the statements not misleading; and (iii) engaged in acts,

  practices, and a course of business which operated as a fraud and deceit upon the

  purchasers of the Company’s securities in an effort to maintain artificially high

  market prices for RenovaCare’s securities in violation of Section 10(b) of the

  Exchange Act and Rule 10b-5(b). All Defendants are sued either as primary

  participants in the wrongful and illegal conduct charged herein or as controlling

  persons as alleged below.



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        389. Defendants, individually and in concert, directly and indirectly, by the

  use, means or instrumentalities of interstate commerce and/or of the mails, engaged

  and participated in a continuous course of conduct to conceal adverse material

  information about RenovaCare, as specified herein.

        390. As a result of the dissemination of the materially false and/or

  misleading information and/or failure to disclose material facts, as set forth above,

  the market price of RenovaCare’s securities was artificially inflated during the

  Class Period. In ignorance of the fact that market prices of the Company’s

  securities were artificially inflated, and relying directly or indirectly on the false

  and misleading statements made by Defendants, or upon the integrity of the market

  in which the securities trade, and/or in the absence of material adverse information

  that was known to or recklessly disregarded by Defendants, but not disclosed in

  public statements by Defendants during the Class Period, Lead Plaintiff and the

  other members of the Class acquired RenovaCare’s securities during the Class

  Period at artificially high prices and were damaged thereby.

        391. At the time of said misrepresentations and/or omissions, Lead Plaintiff

  and other members of the Class were ignorant of their falsity, and believed them to

  be true. Had Lead Plaintiff and the other members of the Class and the marketplace

  known the truth regarding the problems that RenovaCare was experiencing, which

  were not disclosed by Defendants, Lead Plaintiff and other members of the Class



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  would not have purchased or otherwise acquired their RenovaCare securities, or, if

  they had acquired such securities during the Class Period, they would not have

  done so at the artificially inflated prices which they paid.

        392. By virtue of the foregoing, Defendants violated Section 10(b) of the

  Exchange Act and Rule 10b-5(b) promulgated thereunder.

        393. As a direct and proximate result of Defendants’ wrongful conduct,

  Plaintiff and the other members of the Class suffered damages in connection with

  their respective purchases and sales of the Company’s securities during the Class

  Period.

                                     COUNT III
                   (Violation of Section 10(b) of the Exchange Act
                 and Rule 10b5(a) and (c) Promulgated Thereunder
                               Against All Defendants)

        394. Lead Plaintiff repeats and re-alleges each and every allegation

  contained above as if fully set forth herein.

        395. This Count is brought solely and exclusively under the provisions of

  Rule 10b-5(a) and (c). Accordingly, Plaintiffs need not allege in this Count nor

  prove in this case that each of the Defendants made any misrepresentations or

  omissions of material fact for which they may also be liable under Rule 10b-5(b)

  and/or any other provisions of law. Plaintiffs repeat and re-allege each and every

  allegation contained in the foregoing paragraphs as if fully set forth herein.




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        396. During the Class Period, Defendants carried out a common plan,

  scheme, and unlawful course of conduct that was intended to, and did: (i) deceive

  the investing public, including Plaintiffs and the Class; (ii) artificially inflate the

  market price of RenovaCare securities; and (iii) cause Plaintiffs and the Class to

  purchase RenovaCare securities at artificially inflated prices.

        397. In furtherance of this unlawful plan, scheme and course of conduct,

  Defendants employed devices, schemes and artifices to defraud, and knowingly

  and/or recklessly engaged in acts, transactions, practices, and courses of business

  that operated as a fraud and deceit upon Plaintiffs and the Class in connection with

  their purchases of RenovaCare stock, in violation of Section 10(b) of the Exchange

  Act and Rule 10b-5(a) and (c) promulgated thereunder.

        398. Defendants’ fraudulent devices, schemes, artifices and deceptive acts,

  practices, and course of business included furnishing false and misleading

  statements that were used in stock promotional materials that did not disclose that

  StreetAuthority was being paid to issue these materials to its subscriber base,

  reviewing and approving the reports that were actually disseminated to investors,

  and failing to disclose that the Company was paying stock promoters to create

  stock promotions.

        399. Plaintiffs and the Class reasonably relied upon the integrity of the

  market in which RenovaCare securities traded.



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        400. During the Class Period, Plaintiffs and the Class were unaware of

  Defendants’ fraudulent scheme and unlawful course of conduct. Had Plaintiffs and

  the Class known of Defendants’ unlawful scheme and unlawful course of conduct,

  they would not have purchased RenovaCare securities, or if they had, would not

  have done so at the artificially inflated prices paid for such securities.

        401. As a direct and proximate result of Defendants’ scheme to defraud

  and such unlawful course of conduct, Plaintiffs and the Class suffered damages in

  connection with their purchases of RenovaCare securities during the Class Period.

        402. By reason of the foregoing, Defendants violated Section 10(b) of the

  Exchange Act and Rule 10b-5(a) and (c) promulgated thereunder, and are liable to

  Plaintiffs and the Class for damages suffered in connection with their purchases of

  RenovaCare securities during the Class Period.

                                      COUNT IV
                   (Violations of Section 20(a) of the Exchange Act
                  Against Defendants Rayat, Bold, and Betancourt)

        403. Lead Plaintiff repeats and re-alleges each and every allegation

  contained above as if fully set forth herein.

        404. Defendants Rayat, Bold, and Betancourt acted as controlling persons

  of RenovaCare and/or StreetAuthority within the meaning of Section 20(a) of the

  Exchange Act as alleged herein. By virtue of their high-level positions and their

  ownership and contractual rights, participation in, and/or awareness of the



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  Company and/or StreetAuthority’s operations and intimate knowledge of the false

  financial statements filed by the Company with the SEC and disseminated to the

  investing public, Defendants Rayat, Bold, and Betancourt had the power to

  influence and control and did influence and control, directly or indirectly, the

  decision-making of the Company and/or StreetAuthority, including the content and

  dissemination of the various statements which Lead Plaintiff contends are false and

  misleading. By virtue of their high-level positions, Defendants Rayat, Bold, and

  Betancourt had the power and authority to cause and prevent the Company and/or

  StreetAuthority from engaging in the conduct complained of herein.

        405. In particular, Defendants Rayat, Bold, and Betancourt had direct and

  supervisory involvement in the day-to-day operations of the Company and/or

  StreetAuthority and, therefore, had the power to control or influence the particular

  transactions giving rise to the securities violations as alleged herein, and exercised

  the same.

        406. As set forth above, Defendants Rayat, Bold, and/or Betancourt, along

  with the other Defendants, each violated Section 10(b) of the Exchange Act and

  Rule 10b-5 promulgated thereunder by their acts and omissions as alleged in this

  Complaint. By virtue of their position as controlling persons, Defendants Rayat,

  Bold, and Betancourt are liable pursuant to Section 20(a) of the Exchange Act. As

  a direct and proximate result of these Defendants’ wrongful conduct, Lead Plaintiff



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  and other members of the Class suffered damages in connection with their

  purchases of the Company’s securities during the Class Period.

                                      COUNT V
                   (Violations of Section 20(b) of the Exchange Act
                     Against Rayat, Bhogal, Sidhu, and Fleming)

        407. Lead Plaintiff repeats and re-alleges each and every allegation

  contained above as if fully set forth herein.

        408. Section 20(b) of the Exchange Act, 15 U.S.C. § 78t(b), precludes any

  person, directly or indirectly, from doing any act which would be unlawful under

  the Exchange Act for such person to do, through or by means of any other person.

        409. By engaging in the conduct alleged in this Complaint, specifically by

  knowingly or recklessly using StreetAuthority, a series of investor relations

  consultants, and each other to promote RenovaCare common stock while intending

  to sell and selling, arranging for payments to StreetAuthority to be made through a

  series of third-party investor relations consultants for the fraudulent purpose of

  concealing Rayat’s and the company’s involvement in the StreetAuthority

  promotional campaign, organizing a false promotion of RenovaCare through

  StreetAuthority, enabling Rayat to maintain a financial interest in the Defendants’

  RenovaCare share sales, and concealing Rayat, Bhogal, Sidhu, and Fleming’s

  beneficial ownership, intent to sell, and/or sales of RenovaCare common stock,

  Rayat, Bhogal, Sidhu, and Fleming, directly or indirectly, violated Section 20(b) of



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  the Exchange Act. These acts, done directly and/or indirectly through and by

  means of the third-party promoters, investor relations consultants, and each other,

  violated Section 10(b) of the Exchange Act and Rule 10b-5 thereunder.

        410. By reason of the foregoing, Rayat, Bhogal, Sidhu, and Fleming

  directly or indirectly, singly or in concert, have violated, and unless restrained and

  enjoined will continue to violate Section 20(b) of the Exchange Act, 15 U.S.C.

  § 78t(b).

                            XIII. PRAYER FOR RELIEF
        WHEREFORE, Lead Plaintiff prays for relief and judgment, as follows:

        A.     Determining that this action is a proper class action under Rule 23 of

  the Federal Rules of Civil Procedure;

        B.     Awarding compensatory damages in favor of Plaintiffs and the other

  Class members against all Defendants, jointly and severally, for all damages

  sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

  including interest thereon;

        C.     Awarding Plaintiffs and the Class their reasonable costs and expenses

  incurred in this action, including counsel fees and expert fees; and

        D.     Such other and further relief as the Court may deem just and proper.

                      XIV. DEMAND FOR TRIAL BY JURY
        Lead Plaintiff hereby demands a trial by jury.




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  Dated: December 15, 2022       Respectfully submitted,

                                 LITE DEPALMA GREENBERG &
                                 AFANADOR, LLC

                                  /s/ Bruce D. Greenberg
                                 Bruce D. Greenberg
                                 570 Broad Street, Suite 1201
                                 Newark, New Jersey 07102
                                 Telephone: (973) 623-3000
                                 Facsimile: (973) 623-0858
                                 bgreenberg@litedepalma.com

                                 Liaison Counsel for the Lead Plaintiff Diana
                                 Deidan

                                 HAGENS BERMAN SOBOL
                                 SHAPIRO LLP
                                 Reed R. Kathrein (admitted Pro Hac Vice)
                                 Wesley A. Wong
                                 Lucas E. Gilmore
                                 715 Hearst Ave., Suite 202
                                 Berkeley, CA 94710
                                 Telephone: (510) 725-3000
                                 Facsimile: (510) 725-3001
                                 reed@hbsslaw.com
                                 wesleyw@hbsslaw.com
                                 lucasg@hbsslaw.com

                                 HAGENS BERMAN SOBOL
                                 SHAPIRO LLP
                                 Steve W. Berman (Pro Hac Vice)
                                 1918 Eighth Ave., Suite 3300
                                 Seattle, WA 98101
                                 Telephone: (206) 623-7292
                                 Facsimile: (206) 623-0594
                                 steve@hbsslaw.com

                                 Lead Counsel for Lead Plaintiff Diana Deidan



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                                 POMERANTZ LLP
                                 Thomas H. Przybylowski
                                 Jeremy A. Lieberman
                                 (admitted pro hac vice)
                                 J. Alexander Hood II
                                 (admitted pro hac vice)
                                 600 Third Avenue, 20th Floor
                                 New York, New York 10016
                                 Telephone: (212) 661-1100
                                 Facsimile: (212) 661-8665
                                 tprzybylowski@pomlaw.com
                                 jalieberman@pomlaw.com
                                 ahood@pomlaw.com

                                 Co-Lead Counsel for Lead Plaintiff Diana
                                 Deidan




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